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                   EXHIBITS TO SECOND AMENDED COMPLAINT

Exhibit No.                                      Description
       A.     Poarch Application for Historic Preservation Grant Re U.S. Department of
              Interior (Feb. 1980)

       B.     Letter from W. Perry, Sonosky Chambers, to K. Zebell, NIGC (June 3, 2005)

       C.     Letter from Bernhardt, Interior Solicitor, to Hogen, Chairman of the National
              Indian Gaming Commission (June 13, 2008)

       D.     Letter from NIGC Acting General Counsel to Bernhardt (July 30, 2008)

       E.     Perdido Band Memorandum In Support Of Motion To Intervene (1951)

       F.     Motion To Change Record Name Of One of Movants for Leave to Intervene
              (8/29/1951)

       G.     Creek Nation East of the Mississippi’s Appellate Brief re Intervention in
              Muscogee (Creek) Nation ICC Case (11/6/1951)

       H.     US Appellate Brief Opposing Creek Nation E. of the Mississippi’s Intervention in
              Muscogee (Creek) Nation ICC Case (Jan. 1952)

       I.     The National Park Service’s June 10, 1999 Agreement with Poarch (the “NPS
              Agreement”)

       J.     Poarch Field Methodology Policy (April 1999)

       K.     Letter from Buford Rolin to Mekko George Thompson (April 4, 2012)

       L.     Letter from Principal Chief George Tiger to Buford Rolin (April 13, 2012)

      M.      Letter from Buford Rolin to George Tiger and Mekko Thompson (April 17, 2012)

       N.     Letter from Buford Rolin to Mekko Thompson and Second Chief Alfred Berryhill
              (Nov. 8, 2010)

       O.     Poarch Press Release (Oct. 31, 2012)

       P.     Poarch Tribal Leader Letter and “Fact Sheet” (2013)

       Q.     Letter from ACHP to National Indian Gaming Commission NEPA Compliance
              Officer (Nov. 14, 2006)
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                    EXHIBIT A
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                                                                              /7 () . '




 c   TO:          F. Lawerence Oaks
                  Executive Director
                  Alabama Historical Conunission
                  725 Monroe SL
                  Montgomery, Alabama    36130


     FROM:        Creek Nation East of the Mississippi .Inc.
                  Poarch Band of Creeks
                  Route 3, Box 243-A
                  Atmore, Alabama    36502


     Re:          U. S. Department of Interior (HCRS) letter 712


     Dear Sir;

          Application is hereby made for funds from the Historic Preservation
     Discretionary Fund Grant-in-Aid. program. This application should be
     considered under Category Ill as the proposed undertaking both assists
     in preserving part of a historic district-of Native Americans and results
     in the direct participation of Native American Groups.

          Hickory Ground (l-Ee-89) is      of
                                         major importance in the history
     of the Muscogee (Creek) Nation. It .has supplied many of the important
,(   leaders in Creek history. One of particular note was Alexander McGillvray.
             11
           0-Che-au-po-fau 11 ; from the Mu-s kogean "Oche-ub", a hickory tree,
     and "po-fau", in or among, called by ·the traders "Hickory Ground"(Owen
     1921:1088). Hickory Ground was located on the east bank of the Coosa
     River, south of the present-day Wetumpka approximately two miles above
     the French Fort Toulouse(Pickett 1962:229,343,357; Owen 1921:1088; Hemperly
     1969:224; Brewer 1955:25; Swantoit 19'52:162).

          Hickory Ground was an Upper Creek town and by tradition was originally
     inhabited by the Coosa or Abihkas(Corkran 1967:307; Owen 1921:1088; . Swanton
     1922:242). It was here that Lachland McGillvray married Sehoy Marchand
     in 1745, and established a trading house{Brewer 1955:15; Debo 1967:38;
     Swanton 1922:242). Lachland and Sehoy were the parents of Alexander
     McGillvray aii. important Creek leader having special trade relationships
     with the Panton Leslie and Company trading house in Pensacola.

          With the French established at Ft. Toulouse· McGillvray's residence
     at Hickory Ground ~as the center 9£· Spanish, French, British and American
     intrigue. Don Pedro .Olivier, a frenchman in the Spanish Service~ spent
     many months at Hickory Ground(Debo 1967:52; Pickett 1962:413). Hickory
     Gro~nd was loyal to the British during the revolutionary war, and was
     a place of refuge for many loyalists(Brewer 1955:25-26; Corkran 1967:307-308).
     President .Washington sent Col. Willett to Hickory Ground to encourage

 c   Alexander McGi11vray to come to the capitol at New York for .treaty negotiations
     (Brewer 1955: 27; Pound. l951 :.58). Hickory Ground was visited by Benjamin
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    Hawkins, the first arnerican agent to the Creeks, many times(Pound 1951:111; Hem-
(   perly 1969:224; Owen 1921:1088; Swanton 1952:154).

         During the Creek War of 1813-1814, Otchiapofa was listed as a hostile Creek
    town, and was visited by Tecumseh. Here he was able to enlist more followers
    (Halbert and Ball 1969:68,79,99-100; Pickett 1962:511). As a hostile Creek town
    Hickory Ground was not un-noticed by Andrew Jackson. The Jackson Trace was
    opened primarily so Jackson could move his army to Hickory Ground(Brewer 1955:
    15; Pickett 1962:592).

         From the above it is apparent that Hickory Ground was involved in nearly all
    the major historic events in .the southeast before the . removal of Creeks from
    Alabama in 1836. With the proper techniques and data recovery methods Creek
    involvement in these events can be studied. More importantly the effects of these
    activities upon the Creek Nation can be understood. Hickory Ground has the
    potential of measuring changes in the political, social, and economic structures
    of the Creek people in pre-removal times.

         As outlined by the Secretary of the Interior this project is· designed to
    meet the general and specific standards for acquisition as · applies to this
    particular site.

    THE USE OF THE LAND

         Acquisition of the property is principally a protection measure. Acquisition
    will prevent development on the property. All historic. structures on the site
c   have been destroyed. What is left consists of below surface remains. Through
    proper archaeological methods and techniques these below surface features can
    reveal a tremendous amount of information about the Creek way of life in the
    late 1700's and early 1800's. Upon gaining fee-simple title to the land as
    called for in this proposal plans will be developed to minimize continued destruc-
    tion of the archaeological resources. Prior to any type of development of the
    property a scientifically sound archaeological program will be conducted to
    mitigate or minimize effects upon ·the historic resources.

         The property will serve as valuable resource for cultural enrichment of Creek
    people. The site can serve as · a place where classes of Creek culture may be held.
    The Creek people in Oklahoma pride in heritage and ties to original homeland can
    only be enhanced. There . is still an existing Hickory Ground tribal town in Okla-
    homa. They ~ill. be ·pleased to know their home in Alabama is being preserved. The
    site may serve as an open air classroom where Creek youth can learn of their h~ri­
    tage. Interpretive programs can be developed around the vast array of . history
    connected with Hickory Ground. The Creek. Nation East of the Mississippi, Inc.
    (Poarch Band of Creeks) has already conducted CETA sponsored training in arch-
    aeological methods for Creek youth. .The Hickory Ground site wiil continue to
    enhance their understanding of their history, without excavation.

    SPECIFIC STANDARDS OF PROTECTION

         For most cases land in the hands of Realtors and developers is veiwed from
    the prospective of income producing property. At this iocation in order to have

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    a commercial development the land will have to be cleared and leveled. In order
    to halt the destruction planned for the site and insure against future destruc-
(   tion~ funds for acquisition of fee simple title are requested.

         As the landowner is very much interested in developing the property for
    commercial purposes it -is felt acquisition of fee simple title is necessary
    to prevent destruction of the site. The land was scheduled for commercial
    development. Plans for development called for construction of Recreation
    facilities and multi-family dwellings.

         To the immediate east of the property is existing commerical property.
    These commerical properties include a Hardees a~d local resturant. To the
    immediate south ajoining the land of the site, a contract has been entered into
    with an option to by agreed upon between Aeronov Corporation and the land-
    owner, Mr. W. D. DeBardeleben. This agreement is based upon Aeronov's plans
    for construction/9fKmart store upon the property.

         Mr. Gary Skaret and the landowner have plans for constructing apartments
    for low-income and handicapped persons upon the land to the immediate west of
    the proposed Kmart and to the immediate south of the Hickory Ground site.

         From the forgoing it is evident that the surrounding areaJand indeed the
    land~the site itselfJis prime development land and may very well be bulldozed
    and cleared soon.

         The property is in the process of being nominated to the National Register
    of Historic Places. The Alabama State Historic Perservation Officer has deter-
c   mined the property eligible and the required forms are now being processed by
    the Keeper of the National Register.

         Project does conform to Secretary of Interior Standard for Historic
    preservation projects. Specific .end products of the project is to provide
    protection for a particularly important site in Creek History, while
    providing a foundation for innovative educational programs. Hickory Grounds
    may also be a place where Creeks from Oklahoma may return and visit their
    ancestral home.

         Upon approval of the proposal the site will be maintained almost entirely
    by minority groups. One half the appraised value will be donated to Creek
    Nation Foundation, Inc. in Oklahoma. The grants-in-aid proposal is designed
    to be awarded to Creek Nation East of the Mississippi, Inc. (Poarch Band of
    Creeks). Both are Native American groups. - The Creek Nation Foundation, Inc.
    represents we~tern Creeks that were removed to Oklahoma from Alabama. ~ile
    Creek Nation East of the Mississippi, Inc. _ (Poarch Band of Creeks) represents
    a group of Creeks that were excluded from removal and remained in Alabama in
    the Mobile Region.

         Under this plan the property will be jointly owned by both groups of Creeks.
    They will be equally responsible for the protection and care of the si~e. This
    is an opportunity for the Creek people to enter into cultural resource manage-
    ment by guarding and preserving a site directly connected with their culture
    history.

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         The significant aspect of this project is the protection by acquisition of
    a historic Creek site by Creeks. Archaeological resources,. directly related to
(   Native Americans have for the most part been managed and investigated by non-
    Native Americans. This is an apportunity for Native Americans to manage their
    archaeological records. Presently on staff with the Creek Nation East of the
    Mississippi, Inc. (Poarch Band of Creeks) is Larry D. Haikey who has a Master's
    degree in Anthropology. Mr. Haikey is well trained and aware of the proper
    management of archaeological resources. He will act as advisor to the tribal
    councils on plans for permanent protection of the site.

         Time for complete acquisition of the site is not expected to take longer
    than forty-five days. This time schedule includes time necessary for mailing
    contracts between Oklahoma and Alabama. Both tribal g~oups will have adequate
    time for review by respective lawyers and approvai of council meetings.

         The Creek Nation East of the Mississippi, Inc. (Poarch Band of Creeks)
    agrees to the provisions of covenants and letter of agreements. They are
    also aware of the information needed for an acquisition Project Completion
    Report. A detailed completion report· will be the responsibility of Creek
    Nation East of the Mississippi, Inc., and will be done by Mr. Haikey as a
    part of his normal job activities, at no cost to the Hertiage Conservation
    and Recreation Service (HCRS) Project.

         Consultant and technical assistance will be in the nature of legal services.
    The property deed and other agreements will ne.e d to be legally sound with respects
    to the by-laws and intents of the corporations. Th~se legal services will be
    the responsibilities of the respective tribal groups.
c        Mr. John Charloe, Attorney for Creek Nation Office of Justice, will handle
    legal matters for Creek Nation Foundation, Inc. in Oklahoma.   Mrs. Hollis Geer,
    Legal Services Corporation of Alabama, will handle matters for Creek Nation East
    of the Mississippi, Inc. Technical advice concerning the site as to
    maintaining its archaeological integrity will be handled by Larry Haikey and
    other archaeologists with interest in Creek cultural history.

         Hickory Ground fits in a historic preservation district which includes the
    area of Wetumpka, Alabama. There have been numerous maps of Creek sites
    referenced in histo·r ic documents as being located in this area (Swanton 1922;
    Owen 1921). Swanton (1922) provides numerous maps of Creek Tribal town
    locations at various times in their history. One, (Appendix A) is partially
    reproduced for enclosure with this proposal~ it .shows the location of Hickory
    Ground as concerris this project and in the time period for which the site
    has been dated. As is evidenced by the other toW11 locations on the map the
    area was heavily populated by Creek in the pre-removal period. Some of· the .
    other towns have been located and are on record in . Alabama archaeological
    site files. An item of importance concerning Hickory Ground is the immediacy
    of its near destruction. The others that have been located are not as close
    to destruction at this time.

         A matter of great importance about this project is the involvemerit of Creek
    People through their government in the management and protection of their


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     archaeological resources. It can be safely said that anthropology and archaeology
 (   have had a bad name among Native American groups. This has stemmed from the arch-
     aeologists being more concerned in the research potential of the sites rather than
     the significance as they relate to Native Americans. The excavation and research
     has been carried out without very much returned to the Indian community, causing
     Native Americans to distrust the motives of archaeologists.

          The Creek Nation is attempting to take an active role in management of their
     cultural resources. In the winter of 1978 and 1979 the Creek Nation East of the
     Mississippi cooperated with the University of Alabama in Birmingham on an arch-
     aeological excavation to test an area of burial remains. Attention was called
     to the site after treasure hu~ters removed a couple of burials.

          In the summer of 1979 the Creek Nation East of the Mississippi conducted
     a . CETA Title VI training progrrun in archeaology. The main emphasis of this
     program was to train young Creek people .in the proper techniques of archaeology.
     It was hoped that some of these young people would continue into the field
     and help preserve Creek archaeological resources.

          Destruction of archaeological resources in Alabama adversely effects the
     profession of Archaeology, while . destroying the cultural history of Creek
     people. There is an increased recognition in the field of archaeology of
     the need for Native Americans and archaeologists to work together in the
     cultural resource management area (Lipe 1977:22-23; Schiffer and Gumerman
     1977:586). Creek People feel that this proposed project would do a great deal
     toward bridging the communication gap between archaeology and Native Americans •
.(        Enclosed appendix ·· contairs information documenting the two Creek groups
     as legal entities:
          Appendix A    Map of towns of the Creek confederacy, 1818
          Appendix B    Organizational chart of Creek Nation East of the
                        Mississippi and list of Tribal Council
          Appendix c    Articles of Incorporation of Creek Nation East
                        of the Mississi~pi
          Appendix D    Constitution of the Muscogee (Creek) Nation in
                        Oklahoma
          Appendix E    Minutes of Creek Nation East of the Mississippi, Inc.,
                        (PBC) tribal council ~eeting giving approval to apply
                        for HCRS grant
          Appendix F    Certificate of Assurances & Certifications
          Appendix G    Budget




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                    EXHIBIT C
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                                           United States l)epartn1ent of the Interior
                                                           OFFICE OF THE SOLICITOR
                                                              W ashin p, ton. D .C . 202:10




                                                                     JUN 1 3 2008
                         fonornble Phillip !\. Ho,~cn
                        ·:hairman, , ·ational Irn.lian Gaming Commission
                        1441 L St., NW
                        )uite 9100
                        Nashington. DC 20005

                        )ear Cbainnan Hogen.

                        '. ttrn \vri1ing i.n regard to yow· May 19, 2008 letter to fom1c1 Assistwt Secretary -- Jndian
                        .\ffairs Carl Artman and Deputy Associate Solicitor, Division of Indian Affairs, Edith
                        Blackw1.:l1 enclos ing your May 19, 2008 Ind)an lands opinion for the Poarch Band of
                        :.:1eek ln<lians, which purports to recognize the Band· s light to game on the Tallapoosa
                        Site in Aiabama. In the letter. you infonned Mr. Artman and Ms . Hlackwdl that you
                         were issuing lbc Indian bnJs opinion dtlspite the fact that yonr Office of General Cowl.'\el
                        . OGC) and the Solicitor· s Office Division of Indian Affairs (D1A) had not reached
                        01gree111ent on whether the Tallapoosa Site is restored lands and thus covered by an
                        .~xception to the general µrohibition on gaming on lands acquir<;:d after October 17, 1988 .


                        ;)n January 14, 2008. th.;: Depnty Associate Solicitor prnvided your Acting General
                        Counsel with a letter ofnon-concurren.;c in the Nationa.l ln.dian Garr.ring Commission' s
                        (NIGC's) draft Indian lands opinion. The January 14, 2008 letter provided specific
                        details as to \•;by DIA disagreed with the draft opinion. The non-concurrence focused on
                        tJ1e rcstori:J tribe analysis. Generally, DIA does not believe that the Poarch Creek Ban<l
                        evt:r had a govemment-to-govemment relationship vvith the United States until it was
                        acknowle.<lged through the Part 83 process i..n 1983. The Deputy Associate Solicitor
                        concluded that the reconJ simply <loes not suppon the BanJ ' s existence as a separate
                        tribaJ entity \.'1ith a go,•ernmenta1 relationship "V;ith the united States, nor does it support
                        that the United States terminated this governmental relationship. The Deputy A~sociate
                        Solicitor also questioned the B•md's relationship •v:ith the Creek burial grounds locat¢d at
                        ;:he Tallapoosa Site Your May 19, 2008 opinion does not address any of the cone.ems
                         raised in our January 14, 2008 letter.                                                  ·

                        (iivcn that the legal conchL<>ions reached by OGC are inconsistent with the legal views of
                        the Office of the Solicitor, and t11at, as discussed below, NIGC has no statutory mandate
                        ro issue Indian \;mds opinions independently, the Secretary has directed me to inform you
                        that he is invoking his authority reforenced in 43 C.F .R . § 4 . 5 to review your decision and
                        has asked me to assist him in that review. Accordingly, in accordance ,.,,,-ith 43 C.F.R. §
                        4.S(c). please provide me with the administrnti\'e record supporting your May 19. 2008
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                                                                                                     :~ (11.l .'.l




   decision. Pending this review, you may not t3ke ;my forth<:!r action to implement your
   Vl.~y i 9. 2008 decision.


   [understand that the matter concerning the Poarch Creek Bm1d first arose in Novembe.r
   !.003, vvhcn the Assistant Attorney General for the State of Alabama questioned the
   Band's gaming ac:tivitie!' on three parcels. From what I understand, NICTC revie\ved two
   ofthosc par<:e1s and determined that they met the initial reservation excc:ption in 25
   U.S.C. § nl9(b)O)(B)(ii) TI1e third gaming location, <he Tallapoo sa Site, remained at
   issue, however, because the land was taken into trust in 1995 and is not within th~ Band ' s
   initial reservation. The Band has continued its gaming opc:rntion on the Tallapoosa Site
   during the pendency ofNIGC's review.

   While tbe request from the:.: Assistant Attorney General came to NIGC in November 200"),
   it was not until Januar:,v :!006 that the DlA received OGC's fir::;t dnu''t of its Poarch Creek
   fod ian land3 opi nion. Attorneys in DLA.. expressed their concern with the Poarch draft as
   early as February 2006. OGC attorneys and DIA attorneys met in :Vfay, October, and
   December 2006 to discus:; DIA· s concerns with the drnft opinion. After the December
   12, 2006 meeting, OGC agreed to revise the January 2006 draft opinion. DlA attorneys
   and OGC attorneys met together \Vi.th the Tribe on March 13 , 2007 to discuss the
   unresolved issue::>. On March 26, 2007, the Band' s attorneys provided OGC and DlA
   v.ith tJ1eir response to the restored lands issue:; raised at the March 13 meeting. It was not
   nntil September 24~ 2007 1hat OGC provided DIA with a revised draft dated J uly 18,
   1007.

   After receipt of the July 18, 2007 draft, attorneys in OGC and DL\ tried to reach
   consensus on the legal position. On December 27, 2007. OGC notified DIA ihal il
   wanted DL\ ~ s response. prior to December 31 , 2007. On fanuary 3. 2008, the Deputy
   Associate Solicitor sent OGC a short Jetter expressing DLA."s non-concurrence with the
   Ju1y 18, )007 draft. On January 7, 2008, you, the Deputy Solicitor. and attorneys from
   OGC and DIA met via a conference caJl t.o discuss the tm.resolved issues. At foat time,
   OGC requested a detailed \Vritten non-concurrence

   On January 14, 1008, the Deputy Associate Solicitor provided a six-page letter that
   detailed most of the rationale for the non-concurrence to OGC's Inly 18, 2007 opinion.
   Since its receipt of the January 14, 200 8 letter, OGC has made no efforts to resolve the
   issues raised by DIA. As previously noted, the May 19, 2008 opinion you signe<l made
   no reference to the concerns raised in the January 14, 2008 letter.

   <Jenerally, the Office of the Solicitor and the OGC have worked coopennivdy on lndian
   lands opinions since the inception of yom Office of General Counsel. In March 2000, th!.\
   cooperative process was memorialized in a Memorandum of Understanding signed by the
   Associate Solicitor, DIA and General Counsel, NIGC. In 2006, it became apparent that a
   new Memonmdmn of U nderstanding needed to be negotiated. I signed a Memorandum
   of Agreement (~IOA) on '.\fay 3 1, 2006. for a six.-month period. That agreement was
   renewed in February 2007 for another six-month term. While it expired io August 2007
   and has not been renewed, OGC and DIA have both ex-pressed a \.Villingness to continne



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   to ahi<le by its t~nns . Jnexplicably, the 1'.71GC took no steps after receiving the
   January 14, 2008 non-concune.nce to attempt to follow the .'.vIOA' s process fot reso lution
   of non-concurrence issues. For example, no effort was made to have forther discussions
   with DIA or senior Solicitor' s Office officials, including discu!'~ions whl.'.ther to refer I.he
   matter to the Office of Legal Counsel, as wus 1.!Xprcssly provided i:r: the MOA.

   Generally, when OG C attempts to draft an Indian lanJ.s opinion, it typically writes a
   broad and wide··ranging opinion that touches on issues not unique to gami11g. ~JGC
   Indian lands opinions discuss a tribe's jurisdiction ov er lands, a tribe 's governmental
   authority. the boundaries of a tribe's reservation, and the history of a tribe. Iu N1GC's
   lndjan lands opinion regarding the rest.ored land for a restored tribe exccprion, OGC
   extensively delves into the history ofthe tribe's relationship with the ·u nited State.~,
   especially with the Secretary of the Interior. OGC also looks at the h istory of the tribe's
   occupa1ion of cer1ain lands and communications between the Departmt'.nt of th'"' J_nt.erior
   and tlle tribe. DIA has in the past questioned the need for delving into such issues that
   are not specific to gaming. \\lh1le the Solicitor's Office and OGC have reached
   consensus on all fndian lands opinions prior to the Poarch Creek decision. it has 11ot been
   without controversy. Dl/\. has on several occasions agreed with NIGC's conclusions but
   not with its analysis. For the Poarch Creek decision, as the January 14, 2008 lener sets
   out, my Office did not agree that the Poarch Creek Rand is a restored tribe fo r Indian
   Gaming Regu·latory Act (!URA) purposes.

    As the chieflegal ofncer for the Department of the Interior, it is incumbent on me to
    ensnre that all legal opinions are consistent and sound . Nothing in lGR.A changes my
    role as the principal iegal adviser to the Secretary and the chief legal officer of the
    Department. Congress expressly placed the 1'.TTGC '\vithin the Department of th~
    Interior." 1 It is rny re.sponsibility to supervise the legal work of lhe Department.-

    What is at issue is only the Poarch Creek Band's Indian lands opinion and the p1ospectivc
    drafting, review, an<l approval oflndian lands opiroons. 3 The Department is not seeking
    to review previously issued l1GC lndiaJl lauds opinions through this process. lJi
    addition, DIA and OGC worked together to draft language in I.he 25 C.F.R. Part 292
    regulations that provided that the re gulations do not apply to final agency actions basc.::d
    on legal opinions issued prior to the effective date of the regulations. Nor is the
    Department calling into question the overall good \Vork of the >i! GC. NIGC's role in the
    ro:gulation of Indian gaming has been and will continue to be positive and important. The
    Secrewry has no desire to intrude in NlGC"s statutory role for the regulation ofindian
    gaming.




    1
        ----          -          ---
                             -·--··
      2 5 V S.C. § 2704(a).
    2
      See 109 DM 3 . 1, 1 10 D?v12.2; 209 DM 3.
    > My Office defines Indian lands opinions as kg?.! opinions chat analyze whether gaming is authorized on
    particular lands. These include opinions o·n whether lands meet the defiJ'lition of Indian lands; whether a.
    tribe iq exercising j urisdic-tion and governmental authority over those lands; v:betbe-r earning is aut110rized
    under 25 US.C. § 2719; and a leg<il analysi.~ of25 C.FR. Part 292 .
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                    However, iGKA dot:s not vest all authority for Indian gaming in one entity. lGRA is not
                    an example of a staTUte that transferred all responsibiliry out of the Department. The
                    scope and parameters of the l\.IJGC's p0\ver are established and limited by th~ language of
                    1GRA, the )l'JGC's sole source of statutory authority. In the purpose section of JGR.A,4
                    Congn:ss clearly S[ated its intent to establish the N1GC as a commission to regulate
                    Indian ganung. However, the scope of The power granted to the i'i"IGC is not determined
                    by the ultimate purpose of regulating Indian gaming. Rather, the scope of the NIGC's
                    power is based upon the specific means prescribed by Congress to achieve that ultimate
                    purpose. 5 IGRA sets out in detail the specific means to be employed by the NIGC to
                    carry om its discn;t~ powers to issue orders of temporary closure of gaming activities:
                    levy and co!let":t c ivil fines; approve tribal ordinances or resolutions; approve
                    ma11agemcnt contracts for Class II and Clflss Ill ganung; 6 and monitor, iuspect, and
                    examine Class n gaming acti"ities.;

                    IGRA grunts authority over other aspects of Indian gaming to the Secretary, Indian tribes,
                    tilld the States. Therefore, it is ev1dent from the plain languag~ of lGRA that, although
                    Congress cstabli:-hed the .N1GC aq a commission for the purpose of regulating lndian
                    gaming, it Jid not £,!'::lnt Lhe NTOC the power to regulate_ interpret, or decide all aspects of
                    Jndiw gaming or matters related to Jrnforn gaming.

                    As '-Vi.th the NiGC:, it is ckar that Congress did not grant the Secretary tbe power to
                    regulate, interpret. or decide all aspects of Indian gnming. TI1e Secretary has limited
                    authority over thosi: aspects of gaming that are assigned by IGRA to the NIGC, Indian
                    tribes, or thl.! States. Unlike rhc J\.1GC, the Secretary has authority for lndian gaming
                    matters and matters related to Indian gaming that are not expressly assigned to any entity
                    under IGRA. 'I11is authority is based upon statutes other than IGRA that give tlie
                    Secretary broad authority to manage matters oflndian affairs and implement the laws
                    governing Indians, and specific authority over Indian lands and trihal govemme11ts.
                    Thus, tJie scope of the Secretary's authority is much broader than that of the NIGC and
                    includes many general matters.                 ·

                    The authority of the NTGC is strictly limited to the discrete powers that are expressly
                    assigned to it by Congress in IGRA. \:Vhile it may interpret the statute anJ fill gaps with
                    respect to its :>pecific powcrS, the NIGC has no general authority ov~r the regulation of
                    Indian gaming based on the uhimaie purpose of its authorizing statute. By contrast, the
                    scope of the Secretary' s authority extends broadly to most matters of Indian affairs and
                    includes implementi{!g many of the laws governing relations \'Vith tribes and individual
                    Indians. Moreover. based on loJl}~stanJi.ug and spt>...ci.fic authority under the lndian
                    Rt:organization Act and other generally applicable Indian law, the Secretary has tht:
                    specific authority and subject matter expertise to decide issues concerni ng lnclian lands
                    and tribal jurisdiction. Thus. it is the Secretary, not the NIGC, who has the implicit
                    authority to interpret any ambiguities and fill any gaps in IGR.A, particularly with respect


                    ~ 25  u.s.c. ~ 2702(il).
                     ~See MCI v. AT&T Co , 512 U. S. 218, 231 (1994)
                     5
                       25 U.S.C. § 2705(a).
                     : 25 U.S.C. § 2706(b).
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             to ambiguities or gaps that concern what constitutes Indian lands and the scope of tribal
             jurisdicti on .

             Indian land;; opinions ar;;: by definition legal opinions that analyze whether lands are
             eligible for gaming. Indian lands opinions include issues such as ""'hethcr lands meet the
             definition oflndlan lands; whether a tribe is exercising jurisdiction and governmental
             authority over those lands; whether gaming is authorized under 25 U.S.C. § 27 19~ aml a
             legal analysis of25 c.r.R. Part 292. Resolution of these questions has not been
             delegated to the ~IGC. Mori:over, resolution of these issues relies on the particular
             expertise of tlie Solicitor's Office regarding overall Indian issues and not just Indian
             g amin}~ concerns.


             l am seuding a copy of this lener to all parties copied on your May 19, 2008 opinion.




              cc:      I311ford 1.. Rolin, Tribal Chainnan
                       \Villiain Perry, Sonosky, Chambers, Sachse, Endreson. & Perry
                       Cindy Altimus, Regjon Director
                       Troy King, Attorney General. State of ..~.lahama




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                    EXHIBIT D
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  .luly 30, 2008

  David L. Bernhardt, Solicitor
  United States Depanmen1 of the Jnterior
  Office of the SoJjcitor
  Mail Stop 6352
  Washington, DC 20240

 Dt:ar Mr. Bernhardt:

 \\'e received your June I~. 2008 letter that seeks to review the ?\auonal lndian Gamjng
 Commission (NJGC or Commission) Chainnan · s decision 10 cominue regulating the Poarch
 Bancl of Creek Indians· (Tribe) gaming facility in Tallapoosa, Alabama.\ ou also request a copy
 of lite administrative record on which the Chairman relied. We will provide.. the record tn you m;
 a matter of courtesy under separaie cove1. I respectfully and catego1ical ly r~ject, hov·.'evc1, your
 assertions that the Secretary of the Jmerior (Secretary) has the authorit) to review and approve or
 disapprove the Chairman· s decis10n. J also strongly disagree with yom characterization of the
 respective aurhorilies of the NlGC and the Secretary under the Indian Garn mg Regulatory Act
 (JGRA).

 Back2'round

 This matter began when the State of Alabama v.'Tote to the NJGC expressing concern over the
 eligibility oflhe 1 allapoosa site for gaming. Sec Letter from Jack Park. Assistant Attorney
 General for the State of Alabama to Pe1my Coleman, Acting General Counsel (Nov. 20, 2003 ).
 The Tribe operates a Class IJ gaming facility regulated by th e NIGC. That regulation includes.
 among other things. conducting site visits to determine compliance with IGRA. processing
 fingerprints and reviewing background investigation reports for key employees and primary
 management officials, accepting fees for regulating, accepting and reviewing audit and agreed
 upon procedures reports, and provjding such technical assistance as may be required.

 Upon receipt of the State's inquiry, the Chairman reviewed the Tallapoosa site's status to
 determine its eligibi)jty for gaming and v,rhether an enforcement action might be necessary. T{)
 accomplish this review. NJGC sought records and documentation from the Department of the
 lnlenor (Department). particularly focusing on information the Department had relied on lo
 recognize the Tribe and to acquire the Tallapoosa site imo trust. Unfortunately. the Department
 was not able to timely comply with NIGCs record request. Therefore, the Commission·s review
 was delayed. The factual record, whjc11 was ultimately compiled by NJGC, was extensive and
 included the Dcpanment · s acknowledgement and Jand-into-trnst records~ Bureau of Indian
 Affairs· (Bl.A) land records; historical records. maps. archaeological repons: and other
 documentation from the Tribe.



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        rl'cord n:Oects a long and diffJcuhDocument      159-3
                                               history. It         Filedtha1
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                                                                             the Poarch Band38wasof 11146
                                                                                                       par1 of
 <1 lnn.!l confederacv
      ~               . that was the  his101ic  Creek   Nation,  most  of whict1 was moved   out of   whm   1s
 now the St<.tc. C't Alabama in th;:: firsl l1alf of the nineteenih centur:-.. Before the forced
 resenlemcnt lo the lndian Teniwry, ancestors of the Poarch Band allied with the United States lo
 fight against the other Creeks. Thereafter, they were rewarded with land grants and were
 allowed to remain in Alabama. As a result of the forced resettlement, what \Vas once the Creek
 Nation of Alabama no\v exists as the Poarch Band. the Muskogee (Creek) Nation in Oklahoma
 and certain recognized tribal towns.

 The Tribe\ gov~rnmcnt- 10-govcrnn1ent relationship with the United States ended under the
 terms of an J 832 lreaty. which terminated United States· protection over the Tribes's lands in
 1837. Subsequently, the united States specifically and repeatedly disclaimed any relationship
 with the Poarch Band Ii was not until the Tribe was recognized under the Department of
 lntcrio1 ·s recognition rcgulHtions in J 984 did the Tribe once again enjoy a government-to-
 govcrnment relationship with the United States.

 Becm1sc of the complexi1y of the issues presented hy the Rand's histor:-., the Commission· s
 rrv1c\\ was careful. comprehensive. and included many discussions \\'1th the Office of the
 Solicitor. Division oflndian Affairs (Division). As the review progressed and issues were:
 raised. both the Office of General Counsel (OGC) and the Division asked the Tribe lo provide
 additional documentation and views to address these issues. Given the different views presented
 and the extcnsivc factual record compiled. the OGC exercised great care in ib restored lands
 analvsis

 ln l1H end. thi.: OGC's last draft legal opirnon sent lo the Division supported a conclusion that tlK
 Trihe could conduct gaming on the Tallapoosa s11c. Thal opm1on was hased specifically on a
 theor) recommended by the Department' s attorneys. OGC was dismayed. therefore, when the:
 same attorneys Lhen refused to concur with the draft opinion. OGC' requested the non-
 concurrence m writing.

 In rrv1cwin~ Lhe non-concurrence. we determined that the Division· s analysis failed for several
 reasons. The analysis (1) failed to remain consistem with previous interpretations of the Indian
 Gaming Regulatory Act; (2) failed to take into account the Indian canon of construction, which
 requires that an ambiguous statute must be interpreted in favor of tribes; (3) was inconsistent
 with case law that the NJGC cited in previous detenninations; and (4) was contrary to case law
 because it rec~zed only Congressional tennination and not administrat.ive tennination of the
 government-to-governm.ent relationship. We also realized that there were weaknesses in the
 General Counsel's draft and addressed those issues during the first few months of 2008.
 Regrettably, as we struggled with those weaknesses. we did not continue to collaborate as we
 developed our views.

 During that time. we were advised hy tribal representatives that the Commission's hesitation was
 adversely affecting the Tribe's business dealings. The Department of the Interior also indicated
 its intenl to issue regulations governing the applicability of25 U.S.C. § 2719 when the Secretary
 acquires lands into trust. Those regulations were not immediately effective, and the Chainnan
 r~cognized thm if he relied upon them. he might have to stm1 the rcvie\:v process over again.




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 Therefore. because the Trihe had waited for over four years for the Co1mniss1on · s views and
 because the Chairman believed that he had a thoroughly researched and well-reasoned basis for a
 decision. the Chairman chose 10 issue his decision. Consequent1y. on May 19, 2008. the
 Chai1ma11 concluded that he would not take an enforcement action against the Tribe, and the
 Commission would continue 10 regulate the Tallapoosa Entertainment Center.

 Add1tionally, I note that throughout your June 13. 2008 letter. you refer to the decision as an
 '·opinion," suggesting that it \Vas merely advisory and issued by the OGC. On the contrary, the
 May 19. 2008 letter was a decision by the Chaimrnn pursuant to the enforcement authority
 granted to him under 1GRA. 25 U.S.C. § 2713. As such, his decision is an agency action wi th
 legal cffecl. It is reviewable only by the Commission and the federal courts. Funher, even if his
 May 19 decision had been an opinion of U1e OGC. the opinion would be reviewablc only by the
 Chaimrnn.

 AN~LYSlS


 I.      T he Secrctar\''s authority under IGRA is strict!\' limited.

 Your statements that the "Secretary has auU1ority for Indian matters and matters related to Indian
 gaming that arc not expressly assigned to any entity under JGR4" and that the Secretary has the
 power to ·'fill any gaps in IGRA." ignore the plam and unambiguous language of IGRA. lt is well
 settled that the proper interpretation of an unambiguous statute requires nothing else. Hartford
 Undcn11riters ins. Co. v. Union Flamers Bank, N.A., 530 U.S. 1, 6 (2000) ("when the statute's
 language is plain. the sole function of the courts - at leas1 where the disposition required by the
 text is not absurd - is to enforce it according to its terms··.) (quoting United States 1•. Ron Pair
 Enterprises. inc.. 489 U.S. 235, 241 (1989) (in mm quoting Caminel!i v. United States, 242 U.S.
 470, 485 (1917)). Comrary to your claims, section 2709 of JGRA specifically and
 unambiguous!~ transfers all of the Secretary·s powers over gaming to the NIGC. 25 U.S.C. 9
 2709. Accordingly, the Secretary retains only those powers that he has been specifically
 delegated under JGRA.

Section 2709 states tha1 the Secretary's general authority over gaming was expressly taken from
him and given to the Commission:

        Notwithstanding any other provision of this chapter. the Secretary shall continue to
        exercise those authorities vested in the Secretary on the day before October 17, 1988.
        relating to supervision of lndian gaming until such time as the Commission is organized
        and prescribes regulations ....

111is section is clear and unambiguous. The Secretary was able to exercise his authority over
gaming until the Commission presc1ibed the bulk of its regulations in 1993. Sea 57 Fed. Reg.
1238:? (April 9. I 992) and 58 Fed. Reg. 5802 (January 2, 1993). Consequentl). any authority the
Secretary may have had over gaming vested ':vith the Commission by 1993.

To thL· same effect is section '.?.71 l(h), which removed from the Secretary the power to approve
                                         s
manag~mtnt contract.., undt!r ~5 U.S.C. 81 and vested it Ill the Conunission:




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        The authority of the Secretary under section 81 of this title [25 U.S.C. ~ 81 ],
        relating lo management contracts regulated pursuant to this Act. is hereby
        transferred to the Commission.

25 U.S.C. § 271 I (h l.

Therefore, when Congress granted the Department authority under 25 U.S .C. § 2719(b)(l ), it
\vas not a general grant of authority. Rather, under§ 2719, Congress granted the Secretary
authority to act only in specifically delimited circumstances: to detennine whether gaming on
certain parcels may be in the best interest of an Indian tribe and not detrimental to the
surrounding community, 25 U.S.C. ~ 2719(b)( l)(A); to identify the fonner reserves in Oklahoma
15 U.S.C. § 271 CJ(a)(2)(A)(i); and to determine reservation status, 2002 Dep't of the Interior and
Related Agencies l\ppropriations Act, Pub. L. No. 107-63. ~ 134. 115 Stat. 414. 442-43 (2001).
Jn the balance of IGRA. the Secretary" s authorit) is limited to approving tribal revenue
nllocar ion plans so as 10 allow per capita payments from net gaming revenue. 25 l 1.S.C
~ 2710(h)(:l)(R): apprMal of tribal-state compacts. 25 U.S.C. § 2710(d)(8): and issuance or
procedures in lieu of a tribal-state compact under specified conditions. 25 l.J.S.C §
271 O(d)(7)(8)(,·ii).

Contrary to your claim, it is the NJGC and not the Department that administers JGRA. and it is
the NIGC and not the Department that fills any "gaps" tha1 ex]st in JGRA. This. the coui1~ have
made abundantly clear, is why Congress delegated to the Commission and 1101 to the Department
the authority to "promulgate such regulations and guidelines as it deems appropnate to
implement the provisions,. ofJGRA. 25 U.S.C. § 2706(b)(l 0). 'NIGC is the agenC) express!~
charged h:·; Congress with administering the JGRA'' by virtue of25 U.S.C. 2706(b)(l0). Citizens
.-/gains/ Casino Gambling in Erie Couwy (CACGEC) v. Kempthornc, 471 F. Supp. 2d 295, 321
(W.D.N.Y 2007). See also, Seneca-Cayuga Tribe of Okla. v. Nat 'l J11dia11 Cam mg Com111'11, 327
F.3d I 019, l 023 (I Orn Cir. 2003) ("NJGC s broad powers include inspecting tribes ' books and
recon.ls . .. levying and co ll ecting civil fines, monitoring and sbutting down unauthorized tribal
games. and promulgating regulations and guidelines to implement JGRA."); Shakopee
Aldcwakamo11 Sioux Co1111111111ity v. Hope, 16 F.3d 261, 263 (8 1" Cir. 1994) ("IGRA established
the C'omm]ssion to regulate In dian gaming, and specifically authorized the Commission to
promulgate regulations and guidelines necessary to implement the provisions of the Act.")~
CAC'GEC, 471 F. Supp. 2d at 322 (grant of rulemaking authority carries with it ..the primary
authority to interpret any ambiguous phrases or terms contained in the IGRA.'}

What is more. NlCTC's role as the administrator of IGRA carries with it the ability to make
Indian lands determinations. See, e.g.. Grand Traverse Rand of Ottawa & Chippewa !11d1cws ''·
Umted Stales Auy.• 46 F. Supp. 2d 689, 707 (W.D. Mich. 1999) (the question of restored land is
within the NlGC"s "special competence"); Co1111(\' ofAmador. California v. United States !>OJ,
2007 U.S. Dist. LEXIS 95715 at* 17, n. 7 (E.D. Cal. Dec. 12, 2007) ("[O]utside the context of
the trust application, NJGC retains the authority for determining whether the restored lands
exception app li es.''); CAC~C. 471 F. Supp. 2d m 303 ("the Indian lands determination is one that




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 ( 'ongress placed in the NlGC' s hands... '"). As shown more fully belov. . the language of IGRA
 makes this so. 1

 IL       Con!:!ress s pecifically d elegated to the NI GC th e a uthoritv to determine the statu s of
          Indian lands as part of its oversight ofln diau gaming.

That NlGC is responsible fo r administe1ing lGRA means. under JGRJ\'s plai n terms. that NJGC
has o,·crsigh1 authority over lndian gaming. Kansas 1·. United States, 249 F.3d 12 l 3, 12 I 8 n. l
( l 0111 Cir. 2001) ("Although the NlGC is nominally part of ... Interior. Congress has given the
NIGC exclusive authority to regulate Indian gaming cond ucted pursunnt to JGRA ");For
example, IGRA provides NTGC with the authority to monitor and inspect the premises on which
gaming takes place. 25 U.S.C. § 2706(b)(l )-(2). MorCO\ er, JGRA specifically requires the
Chainnan lo review and approve tribal gam ing ordinances that authorize gaming on lnd ian lands.
25 l".S.C. § 27JO(b){2) and (d)(l)(A). II also requires the Chamnan lo review and approve
munage111~nt contracts for tribal gaming operations. 25 l' .S.C. § 27 11. Further, lGRA permits the
Chaimrnn to take enforcement action against the operators of tribal gaming facili ties that violate
any section oflGRA. 11GC regulations. or appro\'cd tribal gaming ordinances. 2.5 U.S.C'.
~ 2713: 25 C.F.R. parts 573 ro1d 575. Appeals from the Chairman·s actions are heard b) the fu ll
Commission. which is authorized LO hold heari ngs on appeal and to request all witnesses and
documents needed to make its decision. 25 U.S.C. §§ 2715 and 2716: 25 C.F.R. parts 539 and
577: 25 U.S.C. §§ 2706(b)(4), (8), 2713(a)(::!-3). and 2715(a) and (d). Finally. the Chairman's
enforcement actions are reviewable only by the Commission or the courts. 25 U.S.C.
 ~§   2713(c). 2714.

That said. lndian gaming is onl;. pennissible on Jndia11 Lands, which lGRA defines as:

          All lands within the limi ts of an Indian reservation: and any lands title to which is
          either held in trust by the United States for the benefit of any Indian tribe or
          individual subject to restriction by the Umted States against alienation and over
          wh ich an Indian tribe exercises governmental power.

25 U.S.C § 2703 (4). ln other words, JGRA expressly provides for Indian gaming only where
land qual ifies as Indian lands imder the Act. Sec, e.g., State ofRhode Jsla11.d v. Narragansetl
/11dw11 Ji-ihe. 19 F.3d 685, 701 (1st Cir. 1994) (finding that the Act's key provisions are limited
lO an) Indian tribe having jurisdiction over Indian lands and to Indian lands within such tribe·s
jurisdiction). lGRA ·s "on Indian lands" requirement is integrally woven throughout the
regulatory tapestry of the Act. 25 U.S.C. ~ 271 O(a)(l-2). (b)( l ), (d)(l ), (d)(3)(A-B)(pe1m itting
Class 11 and Class JJl gaming 011~1 · on lndian lands). As Congress established NIGC too' crsec


1
  We do not mean lo suggest. however, that the Secretary cannot decide the status oflndian lands
under his own separate authori ty to acq uire lam.I into trust. Co11wr o/Amador, 2007 US Lexis
9:715 at *7-*8 ("'While NIGC regulates gaming. DOl analyzed whether gaming would he
permissible on the land. because, under regulations implementing Section .5 of Lhc IRA. 001
must take into accoun t the purpose for which the land will be used. 25 C'.F.R. ~ 151 . l 1. This is
1101 lO suggest. however. that oors analysis IS subsequently bindmg upon the NJGC. .. )




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 Indian gaming. the regulatory authority of the Cha1m1an and the Commission may on!~ he
 exercised on Indian lands.

 As the agency head specifically tasked under the statute with the duty to monitor gaming.
approve management contracts. approve ordinances, and take enforcement action, the Chairman
must have the power to first determine the extent of his agency's jurisdiction. As that jurisdiction
is nccessaJily coextensive with lndian lands, IGRA necessarily grants the Chairman the authority
to make Indian lands determinations in the process of exercising these powers. lt is beyond
question that administrative agencies have the authority to determine their own jurisdiction prior
to taking action. Federal Power Commission v. Louisiana Power & Light Co., 406 U.S. 621, 647
(1972); Newpon News Shiph11ilding & Dry Dock Co. l '. Schau.ffl.er, 303 U.S. 54, 57 (1938) . SeC'
also Uni1ed Stales 1'. Morton Salz Co., 338 U.S. 632, 641-643 (1950) ("When investigative duties
are delegated hy statute lo an administrative body, it ... may ... infonn itself as to whether there
is a probable ,·iolmion of the law.''); Uni1C'd Tra11Sp. Union-Jl!inois Legislative Bd. v. Surface
Tra nsp. Bd., 169 F.3d 474, 476 (71h Cir. 1999) (agency's detem1ination of its ownjurisdi.ction not
entitled to Chrvron deference upon judicial review).

Put slightly differently. where a statute \'Csts an administrative agency with authority to oversee a
pa11icular industry or subject matter, it necessaril y confers on that agency the authority to
deicm1 ine whether particular activities, actions or entities fa ll within its jurisdiction. See, q,: ..
Endicou Johnson Corp. v. Perkins, 31 7 U.S. 501, 508-509 (1943) (Secretary of Labor
empowered lo determine which employees and government contracts fall within Walsh-Healey
Public Co111racts Act, mandating minimum wages in government contracts and allowing
s.inctions for violations and non-compliance.); Relrahle Auromaric Sprinkler Co.. inc. v.
Consumer l'rod11c:1 Safety Commission, 324 F.3d 726 (D.C. Cir. 2003) (whether sprinkler heads
arc ··consumer products" within s1atut0ry jurisdiction of Consumer Products Safety
Commission).

        A. The NIGC Chairman has exclusive authority to make, and is required to make,
           an Indian lands determination wben presented with a tribal gaming
           management contract.

Congress gave the NIGC Chaimrnn the authority to review and approve gaming management
contracts. ~5 U.S.C. § 2711. which he is required to do before such a contract is valid. Again, in
giYing. the Chairman this power, Congress s1ripped it from rhe Secretary. 25 U.S.C. § 27 I l (h).

Management contTacts have certain submission and content requirements set forth in 1GRA and
NlGC regulations. 25 U.S.C. ~ 271 J(a)-(c). (g); 25 C.F.R. §§ 531.1. 533.1, and 533.3. Among
these requirements is that a management contract must relate to a specific gaming site that
qualifies as Indian lands. To detennine whether to approve a management comract, therefore,
the Chainnnn must detem1inc whether the desired gaming will occur 0n Ind ian lands that meet
IGRA ·s requirements. 25 U.S.C. ~§ 2703(4). 27 I 9. To make this detem1ination, the Chainmm
must conduct an Indian lands analysis prior io contract approval. ln light of this, your suggestion
that the Chaimian must request land opinions from your office when reviewing a management
contract is inconsistent with federal law.




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 In fact. the District Court of Kansas emphasized this point:

        The JGRA created the NIGC to. among other things, review management
        contracts for class JJ gaming.... Part of that responsibility incJudcd detcm1ining
        whether or not a tribe exercises governmental authority o\·er the land on which it
        sel:ks to conduct gaming ... .

Miami 7i'ihC' <f Oklahoma    1·   United Stares. 927 F. Supp. 1414, 1423 (D. Kan. 1996).

TIJL: Nin th CircuJt Court of Appeals echoed this sentiment in AT&T Corp. r. Coeur D 'A 11.:11£:
1/-J/1c 295 r .3d 899, 902 (9th Cir. 2002). when it addressed the Chairman·s apprcn al of a
management contract for a tribal telephone lottery:

        The NJGC is statuto1ily obliged to reject any lottery proposal that does not
        conform 10 lGRA .. . In fact, the NIGC has pre,·iously refused to approve
        management agreements when it believed the proposed gaming activity will nol
        lx· conduc:t~d ..on 1ndian lands.. for JGRA purposes.

295 F.3d ut 909 (citing Mia1111 Tribe of Oklahoma'" U11i1ed States, 5 f. Supp.
2d 121 ~. 1218 (D. Kan. 1998)). Thus. the NIGC Chaim1an has the exclusive authority to
delem1inc Indian lands for the purpose of gaming when he reviews and approves management
contracts.

        B. The NJGC Chairman has exclusive autbority to make, and is required to make,
           an Indian lands determination when presented with a site-specific tribal gaming
           ordinance.

Next. as with management contracts, Congress gave the Chairman the authority to review tribal
gaming ordmances lo detem1ine whether they meet IGRA's requirements. The Chairman must
approve an ordinance before it is valid. 25 U.S.C. ~§ 27l0(b)(2) and (d)(l )(A). Vi'hile IGRA
requires ordinances to include certain provjsions, 25 U.S.C. § 271 O(b)(2)-(4): 2.5 C.1· .R. § 522.4.
and parts 556 and 558, tribes often exercise their sovereign legislative powers and include
additional provisions that are not mandated by IGRA. A common additional provision is a clause
authorizing gaming on a specific parcel ofland creating a so-called si1f'-spec((ic ord;nancC'. To
date, U1e Chairnrnn has reviewed over 23 site-specific ordinances and continues to receive such
requests for approval. The plu in and unambiguous language of IGRA requires the Chairman to
make an Indian lands determination when faced with a site-specific ordinance authorizing Class
11 !!aming:

       The Chairm:rn shall approve any tribal ordinance or resolution concerning the
       conduct or re!!ulation
                      ....                         -
                               of Class 11 ....gaming on the Indian lands v:ithin the tribe·~
       jurisdiction ir such ordinance or resolution provides that .. . .

           *
25 l f.S.C. 271 O(h)(2 ). B) incorporaung this language b: reference for Class 111 gaming. !GR/\
requ ires this same dcterminntion for a site-specific Class IIJ ordinances. 25 ll.S.C.
~ ~ 7 IO( d l( I )(A )( ii )
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 I hat is. IGRA only authorizes the Chairman to approve a site-specific ordinance if it authonzes
gaming on /11dian !onds. as JGRA defines the term. Without confirmation that the site-specific
ordinance authorizes gamjng on indian lands eligible for gaming, the Chairman would have to
disapprove the ordinance. To approve an ordinance that specifically pe1111ittcd gam ing on
inclig1hle lands would authorize a tribe to offer gaming that 1GR.A prohibits. AT&TC01p.. 295
F.Jd at '>08 ("the statutory framework suffices to demonstrate that the NIGC must consider the
legalit~ oCClass Ill gaming before approving compacts, resolutions. ordinances, and
managemcn1 contracts ... '").

Federal courts n.·cognize the NIGC's authori1y to issue land opinions in connection with
ord inance reviews:

       The NIGC is charged with interpreting and applying the IGRA to Indian lands for
       gaming. SeC' Miami TrihC' of Oklahoma v. United States. 927 F. Supp. 1419, 1422
       (0. Kan. 1996) (holding that NIGC had the authority to determine whether
       particular lands were within the tribe's jurisdiction for purpo&es of determining
       whether they consti1uted .. lndian lands'' within the meaning of the statute).

(irand ?i-avC'rsC', 46 F. Supp. 2d at 707. Further, the District Court for the Western Distnc1 of
NL·w York insisted that the Chairman must complete such a determination as part of his dmies:

       I laving fu lly considered the purpose and structure of the IGRA and the authority
       delegated to the NlGC by Congress, this Court rejects Defendants· contention thai
       the NIGC Chaimrnn is not required to make ··1ndian lands'' determinations when
       he acts on a tribal gaming ordinance. To the contrary, whether Indian gaming v. ill
       occur on Indian lands is a threshold jurisdictional question that the NlGC must
       address on ordinance review to establish that: 1) gaming is permitted on the land
       in question under the ]GR.A, and 2) the NJGC will have regulatory and
       enforcement power over the gaming activities occurring on that land.

C1lCOfC. 471 F. Supp. 2d at 303. In fact, the court in CA CGEC vacated the Chainnan's
ordinance approval because the Chairman did not make an Indian lands determination on a sitc-
spccific compact: "Because the Jndian lands determination 1s 011e that Congress placed in
'/\'JGC 's hands, the NIGC's 2002 ordinance approval is vacated .... " Id. at 303 (emphasis
added).

The statutory obligation to review and approve site-specific ordinances grants the NJGC
Chairman the exclusive authorit) in those instances to determine Indian lands for the purpose of
gammg.




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         C. The NJGC C hairman has the excJusive authority to make, and is rec1uired to
            make, an Indian lands determination prior to tile initiation of an enforcement
            action.

 Lastly, Congress gave the Chairman authority to bring enforcement actions against any tribal
 gaming operator or manager that \'iolate~ IGRA 's prov isi on~ . NIGC regulations. or tribal gaming
 ordinances. 25 U.S.C. § 2713. To assist the Chainnan in an enforcement investigation. the
 Commission may use its power lo request witnesses and documents and issue subpoenas. 25
 lJ.S.C. § 27l 5(a). AdditionalJy. the Commission may order depositions with proper notice to tht:
 partie~. 25 L . ~ .C. § 2715( d). For \'iolations of lGRA, the Chainnan may assess ci vii fines of up
 to $~5.000 per da~ or c.;losure of all or pan of a gaming operation. 25 U.S.C. ~ 2713(a)-(h}.

 !GRJ\ 's specific language is:

         The Chairman shall have the authority to levy and collect appropriate civil fines.
         not to exceed £25.000 per violation. against the tribal operator of an Jndian game
         or a management contractor engaged in gaming for any violation of this chapter,
         any regulation prescribed by the Commission pursuant to this chapter. or tribal
         regu lations. ordnunccs, or resolutions approved under section 2710 and 27 J 2 of
         this title.

 25 ll.S.C. § 27131.aJ.

 The Chaill11an may only bring enforcement actions against those operations that come within the
 Commission's jurisdiction, and as explained above. the Commission' s jurisdiction extends onl)
 to Indian lands. Accordingly, the Chainnan must have the ability to detem1ine whether the
 operations are on Indian lands in order to be able lo bring an enforcement action in the first
 place.

 Once again. courts recognize this. The District Court for the Western District of Washington
 r~L:cnll y held that '·tribal gaming under JGRA must occur on · 1ndiru1 lands' and the N JGC is the
 ngcncy charged with ensuring this happens.'· North County Communil)• Allianc<' v. Kempt home,
 No. C07-1098-.lCC. slip op. at 14 (W.D. Wash. Nov. 16, 2007).

Again, then, the Chairman's statutory authority to bring enforcement actions for IGRA violations
necessarily gives him th e exclusive authority in those instances to detcnnine Indian lands for the
puq1ose of assessing his jurisdiction. For the same reasons, the Chainnan also has exclusive
authority to makl.'. an Indian lands detennination as pa11 of investigating whether a tribe is
gaming 011 lndian lands \\'here gaming is prohibited under JGRA. TI1is was the essence of the
Chairman's Poarch Band dctcnnination. He acted under the authority expressly granted to him
Lmdcr lGRA. 25 U.S.C. ~~ ~705(a){ 1 \-(2). 2713(a). and responded to the State of Alabama's
concern tlrnl lht: Tribe was guming on lands in \'iolation of JGRA. The Chairman issued a
decision conclud ing thal no enforcement action was warranted because the Tribe was gaming in
compliance with IGRA. The Chaim1nn·s decision was squarely within this statutory enforccmcnl
authority.




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 111.  Due to it~ status as nn independent regulatory agenc'" the Secretary does not have
       thr authority to order the ~JGC to take actions on whether to re2ulatc gaming

All of that said. the Secretary Jacks the authority to oversee the Chairman·s Poarch decision for
01her. equall y sufficient rcas011s. NJGC's nominal placemeTll "within'· the Department of th<.:
1ntcrior is insufficient to give the Secretary any authority over NIGC decisions. Congress. courts.
and other federal agencies lrnvc all acknowledged NJGC as an independent agency. Your
analysis ignores this. lt also ignores JGRA 's language and legislative history. case law that
specifically addresses the NJGC" s independence, the course of dealing between the Depanm cnt
and l\rJGC that treated the NTGC as independent, and the history of the treatment of the NIGC as
independent by other offices of the ExecutiYe branch and the Congress .

        ..\.The NJGC' Meets All of the Characteristics of Independent Agencies

 .luslict Sutherland described the independent agency:

        [It is] a hod>' t'f experts who shall gain experience by length of service -
        a hody which shall be independent of executive authority, except in its
        selection, and free to exercise its judgment without the leave or hindrance
        of any other official or any department of the. government.

1!11111phrc•1 ·.\ f,\-'r 1•. l '11ired )rares 295 U.S. 602, 624. 625-626 (1935) (internal citations
om illed), cited 111 Breger & Eciles, Es1abltshed hy Practice: The Theory and Opermion of
lndepcndcm lcdcra/ Agencies. 52 ADMIN. L. RF\'. 1112, 1113 (Fall 2000).

Numerous other law rcvie\\ aniclcs and treatises have been written on the subject of independent
agencies and their identifying characteristics. See, e.g., Symposium: The Jndepe11dena o.f
J11depe11dem Agencies, 1988 DllKf L.J. 215; A Symposium on AdminisLrativc law: The Uncmy
Co11sritutio11al Sraws o.f 1he Aclministrat1ve Agencies, 36 AM. U. L. Rev. 277 (1987); Geoffrey P.
Mi 1ler, Independent Agencies, 1986 Sup. CT. REV. 41 ; Peter L. Strauss. The Place of Agc11c1e.\ 111
(l(wemmC'm: Sepamrion o.f Powers a11d the Fourth Branch, 84 COLUM. L. R.Ev. 573 (1984); and
Bernard Schwartz. Administrative law§ 1.10 at 20 (3d ed. 1991). The Breger & Edles article is
noteworthy here. however, not only because it explains those idemifying characteristics but also
because it ana lyzes the NIGC' as part of its survey of 32 independent agencies. Breger & Edles at
1139. 1272-1273.

The following are the fundamental characteristics of agencies ihat are independent of executive
authority:

            •   /\ multi-member commjssion whose members serve fixed tenJlS.

            •   Protection against removal except "for cause ...

                    The defin ing characteris1ic of the 32 agencies discussed in Breger anti Edlcs 's
                    artic le is that al least one member of the agency is appointed by the President
                    to a full-time, fixed tenn positio11 with i hc advice and consent of"thc Senate




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                     and has protection against summar~ removal b) some form of "for cnuse'·
                     restriction on the Presidcm·s authority. id. at l l 13.

                     This ··for causl ·· rcmO\ al feature continues to be a critical criterion by which
                     scholars typically distinguish between '·independent"" and executive branch
                     agencies. See. e.g.. Da\'is & Pierce. Ad111i11ismnive Law§ :!.5 at 46 (3d ed.
                      1994) (''The characteristic that most sharply distinguishes independent
                     agencies is the existence of a statutory limit on the President"s power to
                     remove the head (or members) of an agency.'' Schwartz. §1.J 0 at 20 ('The
                     key to independence is security of tenure."): and Peter L. Strauss, An
                     J111roducTio11 to Administrmive Justice in !he U11i1ed States 15 (1989)
                     ('"Because [independent commission] members arc appointed for fixed term~
                     from which they ca1mot be dismissed without forn1al cause, they are more
                     remote rrom presidential influence and control than the more usual ·executive·
                     agency.").

             •   Possess a combination of rulemaking, enforcement. and adjudication powers and
                 functio ns.

             •   Members generally appointed by the President with the advice and consent of the
                 Senate.

                     This is not always the case as Breger and Ed les noted with the NIGC: '·for
                     example. the chainnan of the National Indian Gaming Commission is
                     appointed by the President with the advice and consent of the Senate, but the.
                     other two members are appointed by the Secretary of the Interior. All
                     members serve three-year tenns and can only be removed from office for
                     good cause:· Breger and Edles at 11 39.

             •   Typically, agency statutes require political balance. i.e. no more than a bare
                 majority of members may come from the same political party.

             •   Agency has specialized mandate directing it to focus either on particular industry
                 or on specific cross-cutting problems.

             •   Agency makes its own submissions to Congress.

             •   Agency chairperson is the chief executive and appoints and supervises staff and
                 prcpnres the agency's budget and expendirnre of funds.

 Id. at I I I 2. I 138-1142. I 115 and 1165.

 The NIGC' possesses all of these hallmarks of an independent agency:

    •    The Commission is 1_1 multi -mcmhcr body whose members serve fixed terms. 25 U.S.C'
        ~ :270-l (b)(~}(A).




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    •   Commission members enjoy secure tenure. Commissioners are rcmovahle only for cause.
                  *
        25 l "... C'. 1704(b){6).

    •   The Commission possesses a combination of ru lemaking, enforcement and adjudication
        powers and functions. Sec, e.g.. 25 U.S.C. § 2706(b)(IO) (the Commission "shall
        promulgate such regulations and guidelines as it deems appropriate to implement the
        provisions of this Acf'); 25 l.i.S.C. § 2706(b)(l )-(4) (Commission to monitor gaming,
        inspect gaming facilities, conduct background investigations and audits): 25 U S.C.
        § 2715(al (subpoena and deposition authority for any matter under investigation); 2)
        ll.S.C. §* 2705(a)(2). 2713(a) (Chainnan has authority to assess civil fines of$25,0CHI
        per day): 25 U.S.C. ~ 2705(a)( 1),27l3(b) (Chaim1an has authority to order temporary
        dosurc of casino): 25 U.S.C. § 2706(b)(8) (Commission ma) hold hearing~ and take
        testimony as necessary): 25 U.S.C. ~ 2713(a)(2) (appeal of Cbairman·s civil fine
        assessment 10 full Commission): and 25 U.S.C. § 2713(b)(2) (appeal of Chairman's
        closure order to ful l Commission).

   •    The Chairman is nppoimcd by the President v. ilh the ad\'icc and consent of the Senate. 2)
        I. i.S.C'. ~ ~704(hH I)(/\).

   •    /\ppo1mments to the Commission arc limited by political party and tribal membership .
        Spcci fic:.tll). no mon. than t\\'O commissioners may he from the same political part) and
        at least two commissioners must he enrolled members of an Indian tribe. 25 U.S.C'
        * 270-t (b)(J).

   •    Congress delegated powers to the Commission in furtherance of a specific mandate,
        namely the oversight and protection of lndian gaming and the promotion of tribal
        oconomic development, tribal self sufficiency, and strong tribal government. 25 U.S.C.
        *~ 2701. 2702

   •    The Commiss10n is required to submit its own repon to Congress with information 011 its
        funding. recommendations for amendments to lGRA. and any other matters considered
        appropriate by the Co1111111ssion. 25 ll.S.C. § 2706(c).

   •    The C'hairman is the chi er executive of the NlGC. He appoints the General Counsel. 25
        li.S.C. § 2707(a). and appoints and supervises other staff of the Commission. 25 U.S.C.
        § 2707(b). /\t the request of the Chairman. "the head of any federal agency is authorizctl
        to d~tail of the personnel of such agency LO the Commission ... : · 25 U.S.C. ~ 2707(<1).
        The Chairman and lhL Commission prepare and adopt the agency·s budget. 25 U.S.C.
        § 2706(a)(l ).

Moreover. other ~xecutiw dc:panmcnt~ haw indc:pentlcnt agencies ·'within" or '·in" them. For
t''rnmplc. the Feder:d Lncrg) Regulator~ Commissio11' s (fERC) enabling leg1slation describes it
as till '·independent rc·gulntor) commission·' \\'ithin the Department of Energy. Notwithstanding
its locution, couns treat FERC' as t111 entity independent of the Department of Energy. Consumer
F.11crgr Council ff.lmcrirn \' FERC. (1iJ F.2d -t25, -t72 (0 C'. C'ir 1982) (identifying FER.(' ns



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 lu11ctiom1l ly indepencle111 of the Executh·e Branch due to tenure of commissioners and finding
that the Supreme Coun ha~ upheld .. the constiturionality of such agenc~ independence·').
Additionally, the legislation creating the Surface Transportation Board states that •·[t]herc: i~
 hereby established withi n the Dcpmimcnt of Transportation the Surface Transportation Hoard:·
..+9 U .S.C. ~ 70 I (a). See also Commo11wealth of Pe1111sylva11ia l'. Swface Tronsponatio11 Board.
290 r. ~d 522. 524 (3rd Cir. 2002) (''The Surface 1 ransponation Board is the independent federal
agency established by Congress wirhin the Department of Transportation and has the
responsibi lity for lhe economic regulation of the country"s railroads."'). Likewise, the legislation
creating the United States Pnrole Commission provides that ·'ftlhcrc is hereby established an
indcpenJent agency in the Depa11ment of Justice ... :· 18 U.S.C. § 4202. Sec also U.S.'" C<~v<'r,
732 F.2d 196, 200 (1984) (describing the Parole Commission as ..an independent agency of the
t.xt:cutivc subject to the supervisory oversight oflhe Congress .. .'").

        B. IGRA 's Statutory Provisions and Legislative His tor~ Show that NJGC is an
        Independent Agcnc~·

Congress explicitly made the NlGC an independent agency. lGRA states. ··the purpose of' this
chapter is ... to declare that the establishment of independent Federal regulatory authority for
gaming on Indian lands ... and the establishment of a National lndian Gaming Commission art
nccessar~ to meet congressional concerns regarding gaming and to protect such gaming as a
1m.:ans of gi.:1H:rming trihal revenue:· 25 U.S.C. § 2702(3)). \.Vhile this language could be
construed lo create authority independent of tribes and states rather tban to create a regulatory
body independent of the Executive, a review of the legislative history dispels this notion.

Again, where ··the resolution of a question of federal law turns on a statute and the intention uf
Congress, we: look first to the statutory language and then to the legislative history if the
statutor~ language: is unclear:· Toibb v. Radloff. 501U.S.157, 162 (1991), citing Blum v.
S1<!1°e11so11, 4<>5 U.S. 886, 896 (1984). Here, the Senate repon accompanying the passage of
lGRA provides Congress·s imemjon clearl) and unambiguously: the bill ·'established a National
Indian Gaming Commission as an independent agency within the Department oflnterior.'· S.
Rep. No. 100-446, at 1 ( 1988). This language clarifies. beyont.l an) doubt, Congress's intention
to create the NlGC as an independent agency. Lest there be any doubt, however, Congress
mterated its intention when it amended IGRA in 2005:

        Additionally. it is to be noted tbat the NlGC is an independent regulatory agency.
        This status has ramifications, including. that the agency is not governed by
        Executive Order 13175, which compels agencies other than independent
        regulatory agencies lo consult tribal officials in the development of regulatory
        policies that have tiibal implications. The Executive Order encourages
        independent agencies to observe its precepts, however, and the Committee notes
        with appro\'a] that the Commission, through its current consultation policy. has
        endeavored to do so.

S. Rep. No. 109-1.::'..2 at 3 (2005).




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      C. Courts RC'cognizt the ~IGC m. :rn Independent Agency

Sl·vcnil courts have held that NJGC 1s an independent agency. ln 1991, shortly after IGRA was
pass<.:c.l and before the NlGC was rully functional. the Tenth Circu it Court of Appeals recognized
that under IGRA. gaming .. is subject to the supervision of a newly created, independent
regulatory authority- the National Indian Gaming Commission - established to meet
congressional concerns regarding gaming and to protect such gaming as a means of generating
tribal revenue." U111ted Keetoowah Band of Cherokee Indians '" Oklahoma, 927 F.2d 1J70, 117(1
(I 0111 Cir. 19')1 ). <jl/Oling 25 u.s.c. §§ 2702(3). 2704. !GRA was described by this C()Urt as "a
comprehensive and pervasive piece of legislation that in many respects preempts other federal
lmvs th~ll might apply to gaming." Id. , quoting Luc clu Flamheau Band of Lakf! Superior
Chippewa J11dia11s 1•. Wisco11si11. 743 F. Supp. 645, 648 (D.Wis. I 990). Likewise. in two separate
cases. the ~cventh Circui1 noted NJoc·s independence. United Swres ex rel. Jin!/'" Trdwl JJe1'.
Corp .. 49 F.3cl 1208 (7111 Cir. J995) (the NlOC is a "three-member inderendent agency within the
O~partment of lnterior."): Unit<!d Stares ex rel. Mosay v. Rujja/o Bros. Ma11agc111cn1, 20 f..3d 7'}.9
   111
(7 Cir. 1994) ("Congress enacted the Indian Gaming Regulntory Act, wh ich estahli shes a threc-
mcmbcr independent agenc:-i within the Department of lntt.:rior. the National Indian Gammg
Commission. to supi.:rvise Indian gambling."')

         D. ThC' Cour-;e of Ocaling Between th e Departme nt and NIG('       Sup po rt~ ~ I GC'
            Jndcpendent A ud10rit~ .

I note that the your current claim stands in stark contrast not 011Jy to the court opin ions discussed
uhnvL.  bur to the Department's own position as stated in Soc and Fox .Nation v. Norton, 240 F.3d
1250. 12(>5 n. 12 ( J 0111 Cir. 2001) ("Although the Commission is nominally part of the
Department of the Interior. the Secretary conceded at ornl argument that the Commission
runctions as an independent entity."').

You cite to the Departmental Manual for support of your new claim that the Department must
supcr\'isc the work of the NlGC. Sec Letter from Bernhardt to l logen of 6113/08. This fails to
acknowledge the true nature of the relationship: the Department is obligated througJ1 contrac1u al
relationship to providt.: NlGC with administrative services. By statute, the N1GC is free to
contract elsewhere for such services, though the Department is obligated to provide them upon
request. 25 u.s.r.
§ 2707{e).

In ranicular. NJGC contracts with the Department for suppon services such as persom1el
Sl'rviccs and hearing officials for administrative appeals before the Commission. The NJGC petys
for :111 services it receives, and the Department provides these services at NIGC's r1,;quest
because it is required to do so under JGRA. 25 Ll.S.C. § 2707(e). If the NJGC were simply pan
of the Department, a Congressional mandate of services wou ld be unnecessary. Thus, despite ti1 is
relationship of contractual service. JGRA indicates that the NlGC 1s mdcpendent from the
Secretary. and 11 stretches the imagination 10 think th is relationship could give thL: Secretary any
authority over the NIGC.




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Further, contrary to your asserlion that the Commission must seek its legal advice from the
Department. IGRA specifically directs the Chainnan to appoint a General Counsel. 25 U.S.C'.
* 2707(a). If Congress had intended the Chairman LO rely on the Department for advice, it wou Jd
not have provided for a separate General Counsel who is answerable only to the Chaim1an. In
fact. Congress underscored the importance of independent legal advice by making the General
Counsel the only staff position specifically designated within IGRA. What is more, given that
IGRA gi,·cs lo the Chairman the authority to appoint a general counsel. the legal advice given by
the gen~ral counsel's office is for the use and approval of the Chairman and the Commission
alone. They, and only they. are OGC s clients. As such. even if the Chairman· s May l 9 Poarch
Band decision was an opinion of the OGC. neither the Secretary nor your office has the ability to
review. approve. or reject it.

Looked at slightly differently. Congress has tasked the NIGC with providing technical assistance
lo the tribc:s. 25 U.S.C. ~ '.2706(<l)(2). ·1t.:<.:hnical assistance encompasses a broad range of
activities. and one panicular way that the Commission meets this obligation is to pro\·idc legal
opinions through the OGC on mauers over which the Commission exercises jurisdiction. These
opi nions may clarify various matters under JGRA from game classifications to Indian lands
status. The Secretary's interpretation oflGRA. however, would deny the Commission's ability Lo
opine on Indian lands gcncrall y. This runs afoul of the requirement to providt! technical
assistance and would improperly prevent NJGC from fulfilling its statmory mandates.

On occasion, the NJGC does require legal advice in matters of general law. Pursuant to a
memorandum of understanding with the Office of the Solicitor, the NJGC fonnally requests
advice and pays for the sen·ice. See Memorandum ofUndersLandjng, from Tadd Johnson,
Chai1111an of NJGC. 10 Robert More, Director of Administration, Department of the Interior
\undated). As wiLb the administrative services, the Department provides occasional legal advice
only through a contractual relationship and the NJGC is free to adopt such advice or obtain it
dsewhere. As such. when the NIGC seeks to do business with the Department ofJnterior, it
frequent!; does so through a memorandum of understanding or other cooperative agreement, not
through any perceived chain of command.

       E. Congress Treats the NIGC' as an Jndepcnden1 Agency

After all these years of functioning as an independent agency, one would thin1'. Con&rress would
let the NJGC knov-.' if it did not intend for it to be one. To the contrary, however, Congress
interacts with the NJGC as an independent agency and recently reiterated its independence.
Again, in 2005. when Congress raised the cap on the amount of fees the J\TJGC can colJect from
tribal gaming revenue, the Senate report accompanying the legislation noted the NIGCs status as
ui1 independent regulatory agency. S.Rcp. No. 109-122 at 3 (2006 ).


Further. NJGC makes its own submissions to Congress. Pursuant lo lGRA, the NJGC issues its
own biannual rcpons Lo Congress. 25 U.S.C. § 2706(c). The Commission has submitled reports
for flscal years 1998, 1999, ~000, 2003 and 2004. Since passage of NlGC fees legislation in
2005. the NJCiC is required lo comply with the Government Perfomrnnce and Results Act of
1993 cGPRA) 31 ll.S.C. ~ 11 I 5 et. seq. Furthermore, the NlGC Chairman testifies directly




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helorc th~ Senatl' Indian Affo1rs Committee and the House Natural Resources Committee when
 it holds NIGC' oversight hc.:anngs.

       F. The Department of Justice and the National Archives and Records
       Administration Treat the NJGC as an Independent Agency

The Department of Justice (DOJ) also recognizes lhe NIGC as an independent agency. The
l\lGC is involved in litigation in its own name. See, e.g., Colo. River Indian Tribes v. Na!'/
Indian Gaming Comm 'n, :2007 U.S. App. LEXJS 1651 (D.C. Cir. .Ian. 23. 2007); Seneca-Cayuga
7i·ih<? o,(Okla. 1•. Nat '/ Indian Gaming Comm 'n, 327 F.3d I019, I 02 1 (I oth Cir. 2003); JP/ti/
C'011.rnlwms. inc 1· \'m '/ 111du111 Ga111illg Comm '11. 1999 U.S. App. LEXIS 11022 (D.C. Cir. Apr.
29, 1999 ); Cahazon Band o.f Missf011 Indians r. JI/ationa/ Indian Gaming Comm ' 11, 304 U.S. App.
D.C'. 335 (D.C. ("ir. 1994); Citi::.e11s for Responsihi/ity & Ethics in Wash. v. Nat'/ Jndian Uamim!,
Comm 'n, 467 f. Supp. 2d 40. 45 (D.D.C. 2006).

Furthem1ore, in the Unified Agenda listing published twice a year by the National Archives and
Records Administration, '"'hich summarizes the rules and proposed rules that each federal agency
expects to issue during the next six months, the NlGC is listed separate]~ from the Departmcm and
with all of the other independcm agencies. See http://www.gpoaccess.gov/ua/browse 1204.hunl.
Congress. the courts, the Department. and other federal agencies have all acknowledged NIOC's
inctependcnce from the Department. Therefore. the Secretary's claims of authority over NJGC are
unfounded.

\'.    The Secretarv cannot grant himself more power through regulation than Congress
       has granted through statute.

Finally. you claim that the Secretary has power to review Commission decisions under the
Department's regulation 43 C.F.R. § 4.5(a). Yet IGRA specifically states that decisions of the
Chairman are reviewable only by the Commission and federal courts. 25 U.S.C. §§ 2713, 2714.
You may nm in terpret 43 C.F.R. ~ 4.5 in a wa) that allows you to usurp the authority that
Conb'Tess expressly granted to the Commission. '·An agency literally has no power to act ..
unless and until Congress confers power upon it. . .. An agency may not confer power upon
itself." La Public 5:erv. Comm 'n 1•. FCC, 476 U.S. 355, 374 (1986).

Section 4 5 gives the Secretary the authority "to reYiew any decision of any employee . . of the
Departmem ... or to direct any such employee ... to reconsider a decision .... " ln carrying out
this autho1ity, the Secretary will issue a written notice, request the administrative record. and
subsequently issue a new written decision on the matter. 43 C.F.R. § ..+.5(c). While this rule
clarifies the Secretary's authority to review decisions made by his subordinate divisions, it docs
not grant him power to review the decisions of those outside hjs chain of command. MCI
Telecom. 1·. AT&T, ) 12 U.S. 2 I 8, 231 ( 1994): sec also Massachusetts 1•. EPA. 127 S.Ct. 14.18.
1462 (2007). ·1 hus. the Department'!' regulation in section 4.5 (or any other regulation) docs not
give the Secretary the authority to revic\\ or oven um decisions of the NlGC Chairn1an.

The Secretary mny only rcvic"' those decisions under section 4.5 that he has the authority to
rl'\'iC\\. The Chainrnm is expressly granted enforcement authority over IGRA violations. 25




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Li.S.C. ~§ 2705. :2713. Th<.: Chairman\ decision in the Poarch maner wa~ not an opinion but n
delcrmi1wtion of !\JGC jurisdiction and a conc lusion that the Tribe was not violating JGRA. To
decide\\ hcther the Tribe was violating IGRA. the Chainnan had to delennine whether the lands
constituted Indian lands on which the Tribe could conduct gaming. The Chairman·s decision was
a pn:cursor to an enforcement action over which the Secretary can claim no authority.

Allowing the SecrGlary to re vie\.-\ the Chairman·s exercise of his statutory powers would directly
contran:ne the express will of Congress. ··To pt:rmit an agency to expand its power in the face of
a congressional limitation on its jurisdiction would be to !,'Tant Lo the agency power to override
Congress. This we are both unwilling and unahk to do.'· /.a. Puh/i(' Sen'. Comm '11 v. FCC 476
U.S. a1 374-375.

CONCLUSlON

After thorough reYie\\ of your leuer, statutes. and case law. I conclude that the Secretary does
 not have the broad authorities you claim. Congress created the NJGC' as an independent agency
to administer JGR.A and thereby vested regulatory authority for Jndian gaming with the
Chaimrnn. The Oepartrnenf s nuthorit~ under !GR.I\ is limited w 1hai express]) authorized by
stawtc. Where JGRA is silent in delegation, that authority must necessarily rest with the
administrator of th<.: statute, the NlGC. Further. JGRA grants NJGC the power to determine its
jurisdiction to monitor lndian gaming and to take action on site-specific ordinances. management
contracts. and enforcement. This necessarily grants the agency the power to issue Lndian lands
decisions in those comexts. The Chairman acted ·within his statutory enforcement authorit1 wl1cn
he investigated the complaint of the State of Alabama and ultimately determined that the Poarch
Band was properly gaming on lands within the definition oflGAA. The Chairman· s decisions
are review able on!} by the Commission and the federal couns. Any re,·iew by the Secretary
would fail to account for NIGCs status as an independent agency and directly contravene
express statutory language transferring the Secretary' s authorily over gaming to the Commission.

For all these reasons, you do not ha\·e the authority lO reviev,' the Chairman· s Poarch Band
decision or to order the Commission not lo act in compliance with that decision. Conseq uentl y,
the Commission will continue to regulate the Tallapoosa si1e as mandated under lGRA.

Sincerely,


~~j~
Penny .l . Coleman
Acting General Counsel

cc: Buford L. Rolin, Poarch Band Tribal Chai rman
   Wilham Perr_\ . Sonosky, Chambers Sachse. Endreson & Perry
   Tro: Kmg. Anorney General, Stale of Alahama




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                    EXHIBIT E
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                                Commission


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                                                                                               )
                               B.l!..'J;'ORE THE INDIAN CLAIMS COM!,'[!SSION



    --
     THE. CREEK NATION,                              )
   /;                     Petitioner,               )
                                                     )   ...   ,.
            vs.                                      )              OOCKET
                                                                      ...  NO, 21
                                                     )
  '\ THE UNITED STATES,                              )
        ~                 Defendant,




             / STATEMENT OF SPECIFIC POINTS OF LAW AND AUTHORITIES
               IN SUPPORT OF MOTION FOR LEAVE TO INTERVENE.




                                                     I,

            nus    COML!IS&'ION CJ\11 AND SHOULD GRANT INTERVEt'TION IN PROCEEDINGS BEFORE

     IT ON A PROPER SHOWING.

            1.    lhe right to intervene is ene well-recognized by federal tribunals as
        I
     a fundamental. right; no express statutory authority is required.

             a.        Whil e in some jurisdictions the authority of courts to al.low

     intervention is not recogni zed in the absence of statute, it has been

     recognized for many years in federal tribunals as a fundamental power of

     courts not dependent on statute.                See Moore, Federal. Practice and Procedure,

     Section     24.
             b.        Rule    24   of the Federal Rules of Civil Procedure now provides for

     inte..-rvention in federal district courts as follows:

                  (a)      Intervention of Right , Upon timely appl.ication anyone
                          11

                           shall be permitted to intervene in an action. (1) \./hen

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                                                                                      MU001254
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                         a statute of the u. S. confers an unconditional
                         right to intervene; or (2) when the representation
                         of the applicant's interest by existing parties is
                         or may be inadequate and the applicant is or may be
                         bound by a judgment in the action; or (3) wben t he
                         applicant is so situated as to be adversely affected
                         by a distribution or other disposition of moneys in
                         the custody of the court or of an officer thereof.

                   (b)     "Permissive Intervention. Upon timely application
                         .anyone may be permitted to intervene in an action:
                           (1) When a statute of the U.S. confers a conditional
                          right to intervene; or (2) when an applicant's claim
                          or defense and the main action have a question of
                          law or fact in common. In exercising its discretion
                          t he court shall consider v1hether the intervention
                          will unduly delay or prej~ce the adjudication of the
                          rights of the original parties.



              c.     ~ile the Federal Rules are not directly applicable to procedure

    before this Commission, Rule 24 is a clear statement of the rule in all.

    federal tribunals, even in t he absence of statute or any specific rule of

    court.     For, as the Committee Note, written at the time of promulgation of

    the Rules, states concerning Rule 24:

                         "This rule amplifies and restates the present federal
                          practice in law and in equity".

         2.        In line with its broad jurisdiction and powers, this Commission has

    the authority to grant intervention.

              a.    The Act creating this Commission gives it an exceedingly broad

    jurisdiction over Indian claims, with the avowed purpose, as shown by the

    language of the Act and by the Committee Reports, of enabling the Commission to

    determine finally all claims of Indian groups.        (Act of August 13, 1946, 60 Stat.

    1049; Report No. 1466 of the Committee on Indian Affairs of the House of

    Representatives, 79th Congress , 2d Session; Report No. 1715 of the Senate

                                           - ?. -




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'( "v
                      b.          Tbe grant of this broad jurisdiction necessarily implies t he grant

               of authority t o perm.it these claims to be brought and adjudicated in the most

               expeditious and just manner .

                         c.       '!lie Act gives the Commission the power to establish its own rules

               of procedure.          (Act of i;ugust 13, 1946, 60 Stat. 1049, Section 9) .    The Commission

               is thus the master and not the servant of its written rules of procedure, which

               were doubtless promulgated by the Commission for its convenience and that of

               claimants, and not to define the limits ~f the procedural authority of the

               Commission.
                    3.        The Commission should grant intervention where it will avoid multipli.city

               of actions or prevent injustice.

                         a.       It is obviously to the interest of the Col!!Jllission as welI as of

               claimants bet.'ore it to apply rules of procedure granting. intervention, everywhere

               recognized by statute or court decision as promoting a just, equitable and

               expeditious handling of causes.



                                                                                ·:· ', :
                                                                               ... ,,

                    APPLICANTS FOR INTERVENTTON HEREIN ARE A TRIBE, BAND OR OTHER IDENTIFIABLE
                              .   ~




               GROUP WITliIN THE MEANING OF THE INDIAN CLAIMS COM!.!ISSION ACT.
                          =
                    1.        Applicants are members of, claiming on the relat ion of, the Perdido

               Band, a band of Creek Indians, duly organized.

                    2.        Applicants claim1lllder the rights of the Creek nation as constituted

               at the time of the injury, prior to the migration of a nUl!l)er of its members.

                                                           - 3-




                                                                                              MU001256
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           3~ While the Perdido Band is but -a newly formed band of desce?'.dants of
    the original Creek nation, the effect of gr.antiz:,.g intervention will be to

    pl.ace before this Commission t he cl'aim of the entire Creek nation ;as it existed

    in 1.814 , and t he right of -all living desceDdants of its members to recovert,

          4. The origi nal Creek nation of I ndi'alls is ,a readily identif iable tribe
    or nation whose aboriginal territor y was in Alabama, Georgia ,and Florida.

    An offi c:l:al. census of its members, known ,as P.arsons• ,and Abbott's census, was

    taken in 1832.



                                                     III.


           APPT.ICANI'S FOR IN'.l'ERVEll'TIQN HAVE SUCH AN INl'EREST IN THE CON'l'ROVERSY THAT

    Tm SHOULD BE ALLOWED TO I NrERVENE.
          l.     Where the interest of a party is of such direct ·and immediate char.acter

    that he will either gain or lose b y the direct l egal. oper ation and effect of

    judgment, he is entitl.ed to intervene,                  (39 Am, Jur 935) •

          .2 .   The injury for which relief i s sought in this proceeding is one inflict ed

    on the Creek nation in 181.4 by the taking of its I-ands.                     (Petition, Paragraphs 4 to

    19, inclusive),

          3.     These lands were held as communal property.                  (U. S, vs. the Cherokee Nation,

     (1.906) ·202   u. s.   101, '.26      s.   ct. 588, 599, ·af'firming (1.905) 40 ct.   m..   '252. ).

          4.     The right of compensat ion f or the taking belonged to ·al.l then member s

    of the nation.          u.    S, v . Cherokee Nation, supr.a, '26    s.   ct. at p 599, ,quoting with
    approval. from the opinion of the Court of Cl'B.ims, -as foll.ows:

                                       "while the United States have ,always, or nearly ·al.ways,
                             '2         treated the members of an Indian tribe -as commun'S.l ewners,
                                        they h·a ve never required that al.l t he communal. owners shall
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                               join in the conveyance of cession of the land.
                               From the necessities of the case, negotiations have
                               been wi tti representatives of the owners. The chiefs
                               and head men have ordinari1y been the persons who
                               carried on the negoti'ations :and who signed the treaty.
                               But they have not formed ·a body politic or a body
                               corporate, .am they have not assumed to hold the title
                               or be entitled to the purchase money. They have simply
                               acted ,·a s representatives of the owners, making the cession
                               on their behalf, but .al.lowing them to receive the considera-
                               tion per c·apita. In the present case the Cherokee Nation
                               takes the place, so far as communal ownership is involved,
                               of the chiefs :and head men of the uncivilized tribes. This,
                               too, is consonant with the usage of nations. The claims of
                               individuals :against -a foreign power :are always presented,
                               not by them individually, but by their government. The
                               claims .are pressed as international., but the money r eceived
                               is received in trust, to be paid over to the persons entitled
                               to it.•

                my recovery was distributable per capita to these members.       (U. S. v.

     Cherokee Nation, supra, "26    s.   ct. ·at P• 600).
           6.   The organization of the Creeks in what is now Oklahoma has never been

    recognized .as the full successor to the original Creek nation.       The fact that

     this organization represents only those Creeks migrating 'Westitard ·anc1 settling

     in the Indian Territory in what, is now Oklahoma is commonly reoognized in treaties

    ,and   Acts of Congress.

                ,a.   In the Treaty of February 14, 1833, _adjusting the boundaries of the

     Creek lands in the west, it ·was recognized that the Creek representatives signing

    the Treaty were ,authorized to :act only for Creeks west of the Mississippi.       The

     contracting Creeks were described as those "west of the Mis sissippi"-and it

     was stated that their Chief s had "full power and .authority t o.act f or their
     people west of the Mississippi".        The parties to the Treaty also recognized that

     t he greater body of the Creek nation :as of that time remained •on t he east side

     of the Mississippi.·"     (7 Stat. /,J.7).
                b.    The description of the organization of the Creeks of the Indi'a.n

     Territory .appearing 'in treaties and statutes has commonly recognized the limited

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    character of petitioner by describing it ·a s the Creek tribe ""est of the

    Mississippi River"    (Treaty of Au.gust 7,   1856,   11. Stat.   699), or as the
     "Creek Nation in the Indian Territory"       (Act of June '28, 1898, JO Stat. 495;

     Act of March l, 1901, 31 stat. 861; Act of' June JO, 1902, 32 Stat. 500).

         7.    This right passed to their descendants r egardless of whether they

    became members of the part of the nation residing in Indian Territory. W.           s.   v.

     Cherokee Nation, supra, 26   s.   Ct • .at p. 600, quoting with appro.-u from the

    opinion of the Court of Claims, as follows :
                   "As to those Cherokees ·..ho remained in Georgia And
                   North Carolina, in Alabama .and Tennessee, they owe
                   no allegiance to t he Cherokee Nation, and the nation
                   owes no political protect ion to them. But they, as
                   collJlllUilal owners of the. lands east of the Mississippi,
                  ·at the tL~e of the treaty of 1835, were equally
                   interested, "1.th the co=unal owners ,mo "ere carried
                   to the West, in the t.,,000,000 fund 1'1hich was the
                   consideration of the cession, so far as it was to be
                   distributed per capita. The Cherokee Nation was not
                   bound to prosecute their claims agai.n st the United
                   States for the unpaid balance of the $5,000,000 fund,
                   but their rights were inextricably interwoven with
                   the rights and equities of the Cherokees who were
     /             citizens of the nation, and the nation properly made
                   no distinction when parting ,vith the Outlet, but
                   demanded justice from the Cherokee point of view for all
                   Cherokees who had been wronged by the nonf'ulfilment of
                   the treaty of New Echota. As to these Eastern nonresident
                   Cherokee aliens the nation acted simply :as an attorney
                   collecting a debt. In its hands the moneys would be an
                   implied trust for the benefit of the equitable owners;"

          s.   Recognition by the United states of the tribal organization.. of the

     migrating Creeks as the po+.itical body of the Creek nation could not constitutiomu1y

     operate to deprive your applicants and others s imilarly situated of their rights .

          9.   These rights were speeific.tlly guaranteed by the Act of February 8,

     1887 and the Act of May 8, 1906 (24 stat. 388, Section 6; 34 stat. 18:?). The

     latter ,a.et amended the earlier act to read in part :as follows,

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                                                                                MU001259
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    lo
                 "Sec. 6. 1hat at the expiration of the trust neriod and

                I
                when the lands have been conveyed t o t he Indiaits by patent



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                in fee, as provided in section five of this act, t hen each
                and every allottee shall have the benefit of and be subject
                to the laws, both civil and criminal, of the State oi'
                Territory in which they 111ay reside; and no Territory shall
                pass or enforce any law deeying = Y such llldian within its
                jurisdiction the equal protection of the law. And every
                Indillll. born within the territorial limits of the United States
                to whom allotments shall have been made and ~o bas received
                a patent in fee simple under t he provisions of t his act, or
                under a:ny l aw or treaty, and every Indian born within the
                territorial llm.its of the trnited States Ylho has voluntarily
                taken up within said limits his residence, separate and apart
                from any tribe of Indians therein, and has adopted t he habits
                of civilized life, is hereby declared to be a citizen of the
                United States, and is entitled to al.l the rights, privileges,
                and 1JDm1m1ties of such citizens; whether said Indian has been
                or not, by birth or otherwise, a member of any tribe of Indians
                within the territorial llm.its of the United states Ylithout in
                any manner impairing or otherwise af'fecting the right of any
                such Indian to tribal or other property: H~n1ornMMM)E·Unun

                "And provided further, That the provisions of this act shall
                not extend to any Indians in the Indian Territory, " n uunn
                (34 ~ t. 137)
         10.      Applicants, as Creek Indians and descendante of members of the original

    Creek nation, are entitled to share per capita in any recovery with -aJ.i others

    similarly sit uated.

         l l.     Applicants therefore have a direct and immediate interest in this

    proceeding.

         12.    1his interest is not being adequately r epresented by Petitioner,

    representing Oklahoma Creeks, which cl.aims exclusive right for its enrolled

    members and their descendants to any recovery obtained,



                                            IV.


            I
          'ffiIS MbTION !OR   LEAVE   TO INTERVENE IS TnlELY,

          1.    39 .Am. Jur. 943 states:

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                                                                            MU001260
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                    "In the absence of statute, if the trial. of a suit
                    will not be delayed thereby, a person mey, with leave
                    of court, intervene at any time before the issues are
                    fully determined between the pl aintiff and the defendant,
                    and it is said to be within the discretion of the court
                    to permit an intervention, even though the defendant is
                    in default, where the application is made at the earliest
                    possible opportunity , 1he tendency of the courts, however,
                    is to exercise their discretion in f avor of the diligent
                    only. 11

         2,   In fact, intervention will be granted even after judgment were it

     in the interest of justice.     (39 Am . Jur . 943).   The defense of laches is

     expressly denied to the United States in cl.aims before this Commissi on (60 Stat .

     1049, Section 2) ,

         3,   1ho claim for which recovery is sought originated in 181.4.
         4.   It is thus the sense of the Congress and the logic of the cl.aim before

     this Court that your applicants should not be penalized for any delay in

     prosecuting their claim.

         5.   No party will be prejudiced by any delay in applicants' having presented

     their claim.

              a.    1he basic issue in the proceeding remains the s11J1e.

              b.    No new trial. of this issue is sought or vd.ll be required,

              c.    Any i ssues presented concerning the interest of applicants in the

     recovery will not require extensive additional. proof .

         6.   Applicants have acted with due diligence to bring this motion upon

     learning of the claim of the Petitioner,



                                          v.

         A SERIOUS INJUSTICE WILL RE.SULT IF INTERVENTION     rs   NOT GRANTED.

         1.   Since the unlined right asserted is one belonging to the entire Creek

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                                                                              MU001261
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          nation, great injustice will result if applicants are not permitted to intervene

          and assert the right of al1 Creeks to participate per capita in the recovery

          which should properly be granted to the original Creek nation ,




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                                                               MU001702
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                            BEFORE THE INDIAN CLAI/$ COMMISSION



  THE CREEK NATION,                            }
                 Petitioner•                   )
                                                                                    I
         vs .                                  I
                                               }
                                                               oocm    NO. 21


                                               ~
  THE UNITED STi..TF.S,
                   Defendant,




                       /    M'.l'l'ION TO CHANGE RECORD NAME OF ONE      -~
                             OF 11ovurrs FOR LEAVE TO INTERVENE -     Fil<! A'4•    J...lf. I t;S" t


                Come now C, W,     w/,yrn, PfBY,   z.   ~THERFORD, Jpl!N V,   PJlI,LI?S   and

  Jfm1 tiltLIAMS, as members of and on th.e relation of The Perdido Friendly
  Creek Indian Band of Alabrune. and Northffst Florida Indians, by their

  attorney, C, LeMoir Thompson, and move this Commission the.t the group on

  the relation of which said individual :m.ovants are appearing before this

 Commission be changed on the records of this Collllllission so as henceforth

 to appear      81l~   Tr   F      Nf ION EAST OiF THE W:SSISSIPPI, end as grounds
  for said motion state that,

                       l,   Prior to August 4, 1951, the group on the relation of

 which the individual move.nts are appearing was known by the name of •The

 Pardi.do Friend)J' Creek Indian Band of' .Alabe:ma and Northwest Florida Indians"

 which name had been du)J' adopted by the members of said group ,

                       2, On August 4, 1951, at a general meeti.Dg of the members
  of s1.1id group, the members of said group, by unanimous resolution du)J' par,sed

  in accordance with the by-law11 of said group, ·changed the nallle of sdd group

 to   •THE ci\EEK NATION E~T ck THE l(tssISSIPPI• ,
                       3,   At this meeting the membership conf'ir!lled, ratified and

  adopte~all actions taken by the gro11p occurring prior to the che.nge of name,



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                                                                                          MU001703
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                   4. A ca."'ti.fied copy of the minutes of said meeting, including
  the two above described resolutions, is attached hereto as Exhibit          •A•   and
   made a part hereof.

                   5. Mo change in the o.rganization or composition or the group
  res•.llt~d t'rom or accompe.nied the cbange in name.

                   6.    A change in the record in this proceeding is necesssry in

   order to reflect th.a above described change or nallle.

                   7.   !lo he~.ring is requested on this Motion for the reason that

  it appears to be one which may be acted upon ex pa.rte under Section 5 {c) of

  the rules or this Colll!llission.

             VIJ!EREFORE, it is prayed th.at this motion be granted.




                                           C. Le~ THOUPSON, '
                                           ATTJ.RNEY FOR C. w. la::GHEE,
                                           RIJBI'.' z.
                                                   WEATHERFORD, JOHN V.
                                           PHILLIPS AND JOHN UILLIJl.'&:l,
                                           AND THE CREE'C NATION EAST OF
                                           THE MISSISSIPPI, FORMERLY THE
                                           PEJWIDO FRIENDLY CREEK lNDIAN
                                           BAND OF ALABAMA A'lD NORTH'/IEST
                                           FLORIDA INDIA.>iS
                                           Bay ili.nette, Alabama




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                                                                                MU001704
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                                          IN THE

                     Wnittb &tatts cttourt of cttlaim~
                                  Appeal Docket No. 14.


               C.   w. MCGHEE, RUBY z. WEATHERFORD, JOHN v. PHIL-
                     LIPS AND JOHN WILLIAMS, as Members     of and on
                     the Relation of the Creek Nation East of the Mis-
                     sissippi, AppellQ/nts,
                                               v.
                    T HE CREEK NATION .AND T HE UNITED STATES,
                                         Appellees.


                            BRIEF FOR APPELLANTS.


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                                                                   IN THE

                                                fflnittb &tatts t:ourt of Claims

                                                            Appeal Docket No. 14.



                                             C. W. McGHEE, RunY Z. WEATHERFORD, JoHN V. PHIIr
                                                 LIPS AND J oHN WILLIAMS, as Members of and on
                                                 the Relation of the Creek Nation East of the Mis-
                                                 sissippi, Appellants,
                                                                       v.
                                                THE CREEK NATION AND THE UNITED STATES,
                                                               A ppeUees.



                                                         BRIEF FOR APPELLANTS.



                                                This proceeding is one of brother against brother.
                                             Creeks in Oklahoma, suing to repair an injury inflicted
                                             u pon t he common ancestor, seek to deny the right of
                                             their brother Creeks elsewhere to share in the r ecov-
                                             ery.
                                               This appeal is from an Order of the Indian Claims
                                             Commission entered June 4, 1951, in its docket number
                                             21, The Creek Nation v. Th e United States, denying
                                             a ppellant Creeks' Amended Motion for Leave to Inter-
                                             vene a s parties plaintiff therein. The proceeding be-




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 130                                                                                                                            131
 low, in which intervention was sought and denied, was                      and in return was guaranteed all its lands within boun-
 one brought against the United States before the In-                       daries defined in that treaty. (R. 89, 7 Stat. 35)
 dian Claims Commission under the Indian Claims                                During the War of 1812, certain of the Creeks were
 Commission Act (60 Stat. 959, 25 U.S. C. 70) by "The                       persuaded to assist the British. Much the greater
 Creek Nation", a political body of Creek Indians in-                       number of the Creeks remained loyal to the United
 ha biting the Creek reservation in Oklahoma, to recover                    States, and in fact, fought against the rebellious
 damages for the wrongful taking of lands in what is                        Creeks, incurring great casualties, much suffering, and
 now Alabama and Georgia in 1814 from the original                          serious losses. Finally, of course, with the assistance
 Creek nation of Indians.                                                   of the United States, the uprising was put down. (R.
                                                                            4, 5, 6)
                  STATEMENT OF FACTS.1                                         In purported retaliation for this incident, the United
                                                                            States sent its emissaries to complete a new treaty
   Appellants, C. W. MoGREE, RUBY Z. WEATHERFORD,
                                                                            with the Creek nation under which, on August 9, 1814,
 JonN V. PHILLIPS, and JonN WILLIAMS, are Creek In-
                                                                            the Creek nation was compelled, by duress and threats
 dians, descendants of Creeks who were members of the
                                                                            of force, to convey to the United States 23,267,600
Creek nation of Indians on August 9, 1814, when by a
                                                                            acres of its domain without receipt of any considera-
certain treaty between the United States aud the Creek
 nation the latter ceded to the United States a vast tract                  tion therefor. (7 Stat. 120) (R. 6, 7, 8, 89)
of land in what is now Alabama and Georgia, and mem-
                                                                               It is the claim of petitioner-appellee 1 'The Creek Na-
                                                                            tion" of Oklahoma, as well a s of appellants, that the
bers themselves by blood of that nation. (R. 88).
                                                                            taking of these lands by the United States under this
   The original Creek nation of Indians, once known as
                                                                            treaty was an unfair imposition by the United States
the Muskogee Confederation was a great and powerful
                                                                            upon the Creek nation and inflicted an injury upon it
confederation of Indian tribes who were the aboriginal
                                                                            for which recover y is authorized under the Indian
inhabitants of a large area in what is now the south-
eastern United States, including nearly all of Alabama                      Claims Commission Act. (R. 13, 93)
and Georgia and parts of Florida and Mississippi. (R.                          Subsequent to this treaty, as the white settlers of
                                                                            the United States desired more and more room for ex-
2, 89) On August 7, 1790, the Creek nation entered
                                                                            pansion, it became the policy of the United States to
into a treaty of friendship with the United States
                                                                            move as many Indians as possible westward. (R. 90)
whereunder it placed itself under the protection of th~
                                                                               As the Commission found: "On January 24, 1826, 7
United States, ceded certain lands to the United States
                                                                        '   Stat. 286, the Creek Nation concluded a treaty with the
  1 Since no findings of fact have been made in this proceeding, no evi-    United States by which it ceded an area of its domain
de~~ taken on ~pp~llants' amended motion, and the eviden~e in the
pnneipal proceed1~g 1s not a _part of the record on appeal, the facts are   located in Georgia and lying on the east side of the
taken from un~e":'ed alle~a~1ons of the pleadings and motions herein,       Chattahoochee river. A portion of the tribe wished to
from the Comnt1sS1on 's opuuon and f rom the United States Statutes-at-
La~ge. Much that i s historical appears a proper subject of judicial        move west of the Mississippi river and the treaty pro-
notice.                                                          ·




                                                                                                                                    MU003653
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 132                                                                                                                  1 33
 vided (Art. 6) for a 'deputation of five persons' to se-       phan children of the Creeks. Article III authorized
lect a country west of the river as a home for that part        the sale of the selections, and Article IV provided :
of the Creek Nation desiring to move west. " (R. 114)
'rhe area, located in what shortly became the Indian                   ' At the end of five year s, all the Cr eeks entitled
Territory and is now part of Oklahoma, was duly se-                  to these selections, and desirous of remaining,
                                                                     shall receive patents therefor in fee simple, from
lected a nd a number of the members of the tribe mi-                 the United States.'
grated.
   The pressure of the Federal Government on the                "Article X IT of this treaty quoted above discloses the
Creeks to move westward continued. As the Commis-               desire of the United States to move all Creeks west of
sion found: '' On March 24, 1832, 7 Stat. 366, by treaty        the Mississippi river, and as an inducement to move,
of that date, the Creeks ceded 'all their land, East of         agreed to pay the expenses of removal, provide sub-
the Mississippi river' to the United States. This treaty        sistence during removal and for a year after their ar-
contained this provision (Art. XII) :                           r ival west. However, such removal was not compul-
                                                                sory as to individual Creeks, for the article, as shown
       ' The United States a re desirous that the Creeks        above, contained the proviso 'that this article shall not
    should remove to tbe country west of the Missis-
    sippi, and join their countrymen there; and for             be construed so as to compel any Cr eek Indian to emi-
     this purpose it is agreed, that as fast as the Cr eeks     grate, but they shall be free to go or stay, as they
    are prepared to emigrate, they shall be r emoved            please.' '' (R. 115, 116)
    at the expense of the United States, and shall re-             On February 14, 1833, the "Muskogee or Creek na-
    ceive subsistence while upon the journey, and for           tion of Indians, west of the Mississippi '' represented
    one year after their arrival at their new homes-            by "chiefs and head-men of the said Muskogee or
    Provided however, that this article shall not be
    con-strued slO as to compel awy Creek Indian to             Creek Indians, having full power and authority to act
    emigrate, biit they shall be free to go or stay as          for their people west of the Mississippi, '' entered into
    they plea-se.' (Italics added.)                    '        a treaty with the United States in which title to the
                                                                territory in Oklahoma was confir med and guaranteed
" Article II thereof required the United States to sur-         by the United States. The treaty provided that these
vey the ceded area and allowed 'ninety principal chiefs         lands '' be taken and considered the property of the
of the Cr eek tribe to select one section each, and every       whole Muskogee or Creek nation, as well as of those
other head of a Creek family to select one half section         now residing upon the land, as the great body of said
each, which tracts shall be r eserved from sale for their       nation who still remain on the east side of the Missis-
use for a term of five years, unless sooner disposed of         sippi." Only those settling in the t erritory have ever
by them.' Provisions were also made for tak:ino-      0
                                                        a       derived any benefit from these lands. Grants of money
census of the persons making selections and for mak-            also agreed upon in the tr eaty were expressly stated
ing selection of twenty sections for the benefit of or-·        to be "intended solely for the use and benefit of that




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 portion of the Creek nation, who are now settled west          mission to the Five Civilized Tribes was created by
 of the Mississippi." (7 Stat. 417)                             Act of March 3, 1893 (27 Stat. 645). By Act of June
    History does not record how many Creeks migrated            10, 1896, this Commission was empowered and directed
 to Oklahoma and how many remained in the South-                to make rolls of the citizens in the Indian Territory of
 east, but it appears that the number staying behind            these tribes to afford the basis of allotment of the
 was so substantial that it might fairly be said that the       tribal lands in the Indian Territory and division of
 Creek nation was divided by the migration. (R. 91, 92)         tribal moneys arising from the sale of lands. (29 Stat.
   The migrating Creeks formed an organization for              321) This allotment was further implemented by the
 the manag·emeut of their affairs in the Indian Terri-          A ct of June 28, 1898, which made additional provisions
 tory and were first called in treaties '' the Creek tribe       for enrollment, and provided that, for the purpose of
 of Indians west of the Mississippi" (Treaty of Au-              this allotment, ''No person shall be enrolled who has
 gust 7, 1856, 11 Stat. 699), sometimes simply "The             not heretofore moved to and in good faith settled in
 Creek Nation" (Treaty of June 14, 1866, 14 Stat. 785)          the nation in which he claims citizenship." (30 Stat.
 and later generally, in treaties and Acts of Congress,         495)
 "The Creek Nation in the Indian Territory" (Act of                A subsequent agreement of March 8, 1900, between
 March 1, 1889, 25 Stat. 757; Act of June 28, 1898, 30          the United States and "The Creek Nation in the In-
 Stat. 495; Act of March 1, 1901, 31 Stat. 861; Act of          dian Territory," confirmed by the Act of March 1,
 June 30, 1902, 32 Stat. 500) . All of these treaties and       1901, prescribing further terms for the allotment of
laws related to affairs of the Creeks in Oklahoma.              Creek lands in the Indian Territory, restricted enroll-
   Commencing in the 1880s, in preparation for the ad-          ment to those persons living in the Creek area in the
mission of Oklahoma to statehood, it became the p olicy         Indian Territory. (31 Stat. 861.)
of the United States to do away with the local self-               By' Act of May 8, 1906, Congress r e-affirmed its
government of the tribes in the Indian Territory, as            guarantee of the rights of Indians who had left their
well as the communal ownership of lands by these                tribes and become citizens of the United States, amend-
tribes. By a series of laws commencing with the Act             ing the Act of February 8, 1887, to provide in part:
of February 8, 1887, Congress provided for eventual
citizenship of the Indians who were members of these                '' Sec. 6. That at the expiration of the trust period
                                                                    and when the lands have been conveyed to the In-
tribes and for the allotment of the tribal lands to the             dians by patent in fee, as provided in section five
individual members. The Act of 1887, in granting citi-              of this act, then each and every allottee shall have
zenship to Indians leaving their tribes, expressly guar-            the benefit of and be subject to the laws, both civil
anteed the existing rights to tribal or other property              and criminal, 0£ the State or Territory in which
of all Indians, including those who had theretofore left            they may r eside; and no Territory shall pass or
their tribes. (24 Stat. 388, Section 6.)                            enforce any law denying any such Indian wi thin
                                                                    its jurisdiction the equal protection of the law.
  In pursuance of the federal policy to extinguish                  And every Indian born within the territorial limits
tribal t·igbts in lands in the Indian Territory, a Com-




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     of the United States to whom allotments shall have
      been made and who has received a patent in fee                  Appellants and the thousands of other Creeks they
      simple under the provisions of this act, or under            r epresent are descended from that portion of the
      any law or treaty, and every Indian born ioithin             Creek nation which remained East of the Mississippi.
     the territorial limits of the United States who has           Because they possessed no territory and were not dealt
     voluntarily taken wp within said limits his resi-             with by the United States as a group, they did not re.
     dence, separate and apart from any tribe of In,..
     dians therein, and has adopted the habits of civi-            tain a general tribal organization, although various
     lized life, is hereby declared to be a citizen of the         groups of them have resided together in small close-
     Uwited States, and is entitled to all the rights,             knit communities and preserved their tribal ties and
     privileges, and immunities of such citizens,                  certain of their customs. (R. 83)
     whether said Indian has been or not, by birth or                 Appellants and other Creeks in the Southeastern
     otherwise, a member of any tribe of Indians within            States have recently joined together for their common
     the territorial limits of the United States without
     in any ma;n,ner impairing or otherwise affecting             benefit in an organization known first as the "Perdido
     th e right of any such Indian to tribal or other             Friendly Creek Indian Band of Alabama and North-
     property: • • •                                              west Florida Indians'' ; its name has now been changed
     "And provided further, That the provisions of                to '' The Creek Nation East of the Mississippi'' as more
     this act shall not extend to any Indians in the In-          appropriate to its scope. The sole requirement for
     dian T erritory. • • • • " (Italics ours.) ( 34-             membership is that one be a lineal descendant of a
     Stat. 137.)
                                                                  member of the original Creek nation and be not en-
    This series of agreements and Acts of Congress pro-           1·olled in petitioner-appellee. (R. 88, 120)
vided for eventual abolition of the jurisdiction of the
Indian tribes over the local affairs of their members,                       STATEMENT OF THE CASE.
and of the tribal title to lands, abolished the enforce-            The Indian Claims Commission is a statutory tri-
ment of tribal laws, did away with the power of the               bunal; proceedings before it are based upon the Indian
 tribes t.o collect money for account of the members or           Claims Commission Act (60 Stat. 959, 25 U.S.C. 70}
for their account and in general diminished and pro-              which authorizes the Commission to hear and de-
vided for eventual abolition of the power and authority           termine all claims of '' any Indian tribe, band, or other
of the tribal organizations. All moneys awarded on                identifiable group of American Indians" against the
claims to be distributed per capita to members or de-             United States for injuries inflicted upon them by the
scendants of members of tribes are distributed directly           United States.
to these membe1·s by the Secretary of the Interior.                 The proceeding below was begun by '' The Creek
(Act of June 28, 1898, 30 Stat. 495) (R. 91, 92)                  Nation" of Oklahoma on January 29, 1948, by the fil-
   "The Creek Nation" of Oklahoma still maintains                 ing of a petition with the Indian Claims Commission,
its tribal organization. (R. 2)                                   claiming damages for the taking of lands of the Creek
                                                                  nation by the United States under the Treaty of Au-




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  gust 9, 1814. (R. 55) A trial of the issues on the                 On September 4, 1951, appellants filed their Notice
  merits was held on October 17 and 19 and November               of Appeal with the Indian Claims Commission and on
  16, 1949, and January 24, 1950, and arguments were              September 6, 1951, the r ecord on appeal was duly filed
  heard on November 29, 1950, and the issues are now              with the Clerk of th is Court. (R. 126, 128)
  awaiting decision by the Commission.                               The grounds upon which appellants sought to inter-
     On January 5, 1951, the "Perdido Friendly Creek              vene as parties petitioner in the proceedings below are
  Indian Band of Alabama and Northwest Florida In-                stated in their Amended Motion, Petition and State-
  dians" filed a "Motion to Intervene", with a " Peti-            ment of Points and Authorities. Appellants' basic
 tion for Leave to Intervene" attached. (R. 65, 67)               premise is that the injury inflicted by the United States
 T hereafter, on January 15, 1951, petitioner-appellee           in 1814 was to the Creek nation as then constituted and
 "The Creek Nation" filed its objections to this motion           that the right to recover therefor belongs to that na-
 and on January 23, 1951, defendant-appellee, the                 tiou, to be enjoyed by all its members. Their position
                                                                  is that petitioner-appellee "The Cr eek Nation" of

                                                                                                                              t
 United States, filed its objections. (R. 72, 81) On
 April 4, 1951, a ppellants, as members of and on the            Oklahoma, whose membership is restricted to Creeks in
 relation of the Perdido Friendly Creek Indian Band of            Oklahoma, is not identical with or the full succ.essor
 Alabama and Northwest Florida Indians, filed an                  of the Creek nation, and that it improperly claims to
 "Amended Motion for Leave to Intervene", attaching               be, 1hus denying rather than representing tbe rights
 a '' P etition of lntervenors'' and a '' Statement of Spe-      of appellants. Appellants brought their amended mo-
 cific Points of Law and Authorities in Support of Mo-            tion to intervene on the r elation of the "Perdido
 tion for Leave to Intervene". (R. 83, 88, 95) Objec-             Friendly Creek Indian Band of Alabama and Nortb-
 tions to said amended motion were duly filed by peti-            west Florida Indians" now "The Cr eek Nation East/
 tioner-appellee, "The Creek Nation" of Oklahoma, on             of the Mississippi ' ', whose rolls arn open to all those
 April 17, 1951. (R. 104) The amended motion was                  who can prove lineal descent from the members of the
 argued on April 18, 1951, before the Indian Claims              orginal Creek nation, as the appropriate way of as-
 Commission. Appellants filed a "Supplement to                   suring ~h.at the.original Creek_ nation be in effect made I
Statement of Specific Points of Law and Authorities              the pehhoncr m the proceeding below, so that judg-j
in Support of Motion for Leave to Intervene" on May              ment may be entered in its favor rather than petition-
14, 1951. On June 4, 1951, the Commission entered its            er's. In appropriating for this judgment and p rovid-
Order denying the amended motion, and filed its per              ing for its distribution, Congress may then appropri-
curia1n opinion. (R. 112, 113)                                   ately direct that rolls be created of all those now mem-
   Thereafter, on appellants' motion, an Order was en-           bers by hlood of the original Creek nation or succeed-
tered noting in the record the change of the name of             ing to the rig·hts of its members.
the " P erdido Friendly Creek Indian Band of Alabama                The position of petitioner-appellee " The Creek Na-
and Northwest Florida Indians" to "The Creek Na-                 tion" of Oklahoma is that it is identical with the orig-
tion East of the Mississippi". (R. 125)




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 inal Creek nation, the successor to its rights, and solely
 entitled to recover for the injury. It further contend-
                                                                   3. I s Petitioner-appellee "The Creek Nation " of
                                                                Oklahoma the proper petitioner solely entitled to as-
                                                                                                                              ,..
 ed below that intervention was procedurally impos-             sert the claim for the injury inflicted upon t he Cr eek
 sible before the Commission, that the motion was not1          nation under the authority of the Treaty of 1814T
 timely, and that appellants are not members of a                  4. Did the Indian Claims Commission bave jurisdic-
 "tribe, band or other identifiable group" entitled             tion to determine whether petitioner-appellee is the
 under the Indian Claims Commission Act to have theit·          party entitled to recover on the claim asserted or
 claims determined by the Commission.                           whether another group should be added or substituted
    The reasons given by the Commission in its per              as petitioner for the purposes of judgmentT
 curia,m opinion for its denial of appellants ' amended                                        \
 motion may be summarized as follows:                                               ARGUMENT.
  1. Appella nts are not members of a '' tribe, band or } /     THE INDIAN CLAIMS COMMISSION COMMITTED
other identifiable group" within the meaning of the               REVERSIBLE ERROR IN DENYING APPEL-
Indian Claims Commission Act in that they do not                   LANTS' AMENDED MOTION FOR LEAVE TO
have a "common claim".                                             INTERVENE.
  2. Petitioner -appellee has the exclusive right to ) /
prosecute the claim for the 1814 injury to the Creek
nation.
                                                           J                              I.
                                                                The Indian Claims Commission Erred in Determining
  3. The jurisdiction of the Commission does not ex-       1/       that "The Petitioner In This Case ['The Creek
                                                                    Nation' of Oklahoma] Has the Exclusive Right to
tend to defining identity of the group entitled to re-
                                                                    Prosecute the Claim Here Asserted."                    /        .,r
cover on any claim placed before it.
   It is appellants' position that the denial of the mo-
tion was error and that a ll of the above grounds for
                                                                .A. The Injury I nfticted by the United States in
                                                                     Exaicting ood Enfo1·cing the Treaty of 1814 was
                                                                                                                         JI~
                                                                                                                               (>~~'II

it a re erroneous.                                                   Suffered by all Creeks, Not Simply Thos e Now in      ~~"'
                                                                     Oklahoma.
             QUESTIONS PRESENTED.
                                                                   One hundred thirty-seven year s ago when a grievous
  1. Are appellants members of a '' tribe, band or              wrong was done to the Creek nation in depriving it of
other identifiable group of American Indians'' within           a large part of its territory in Alabama and Georgia
the meaning of the Indian Claims Commission Act T               without compensation, it was a homogeneous people.
  2. Do appellants have a "common claim" within the             It is doubtful if there was anyone of the Creek blood
meaning of the decisions imposing this requirement              anywhere who was not privileged to call himself a
for jurisdiction of the Commission f                            member of the nation and to share in the enjoyment of
                                                                its common lands and goods. It enjoyed independence




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       and sovereignty. Wbile tbe encroachments of tbe                   Compelling arguments should be required to support
      white settlers had begun, only 24 years bad passed              the denial of relief for this ancestral wrnng to the na-
      since the United States had guaranteed its boundaries           tion as a whole and the granting of relief only to those /
      and promised protection. (7 Stat. 35)                           Creeks who happened to reside on a reservation in
         The burden of the taking of over 23 million acres            Oklahoma on cer tain dates in the early 1900s when a
      fell upon all the Creeks equally, because of their com-         r oll was made of those so residing.
      mon ownership_ It made all of them and all of their                The Commission appears to have r eached this in-
      descendants poorer, by depriving them of their enjoy-          equitable decision as a result of three erroneous con-
      ment of the land and of the fruits of its use or sale          clusions. The first is that "The Creek Nation" of } f,H<.~
      through the suc,ceeding years down to the present gen-         Oklahoma is nothing but the original Creek nation
      eration.                                                       transplanted to Oklahoma. The second is that, because
        The time bas at last come when it appears that the
     United States may make reparation for its mistreat-
     ment of the Creeks, as well as of other Indian groups.
                                                                     it bas maintained a continuous organization, dealt with
                                                                                                                                  1
                                                                     by tbe Federal Government, and because it bear s the le-1"~, tJ-
                                                                     name "The Creek Nation", it is the sole representa-
     There would appear to be no question that the repay-            tive of Creek people qualified to present their claims
     ment must be for the benefit of all Creeks, since all           to the Commission. The third is that, conver sely, be- }
\    Creeks were injured. Yet petitioner-appellee contends           cause appellants have been members of no continuous         ut ,J<,'.J...    ·




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     that it alone is entitled to the reli"ef for the injury to      political organization of Creeks recognized by the gov-
     all, for the benefit of its members, and the Indian             e rnment, they must be denied the right to pr esent
     Claims Commission has agreed that it alone can prose-           c1aims.
     cute the claim.
        Those now members of "The Creek Nation" of                   B. Petitioner-appellee "The Creek Nation" of Okla-
     Oklahoma are not all, or even nearly all, the members               horna I s Not Identical W ith the Original Creek Na-
     by blood of the original Creek nation. They are simply              tion Which Existed at the Tim e of the Asserted
    those whose ancestors decided to migrate to the In-                  Injury.
    dian Te rritory and were there granted new lands and                The Indian Claims Commission was apparently mis-                   · ,   ft
    allotments, and who have since enjoyed the bouuty                led by the identity of the name of the present '' Creek      M i 'r,•' :_µi,.
    and guardianship of the federal government. They                 Nation" of Oklahoma with that of the original Creek
    are, if anything, less injured because of the wrong and          nation into stating in its opinion that appellants, in
    less deserving of r ecompense than the thousands of              effect, concede petitioner-appellees' exclusive right to
    others whose ancestors stayed behind to make their               prosecute the claim in issue by asking that "the mem-
    own way on the small allotments parcelled out to them            bers of the Creek Nation" be granted recovery. (R.
    and accepted the responsibilities of fu ll citizenship.          117). Appellants did and do ask that tbe Creek na-
                                                                     tion be gr anted relief but strongly affirm that petition-




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er-appellee is not the CreeK nation in a generic sense                   it being stated that the signatory chiefs bad "full
nor the Cr eek nation which sustained injury in 1814.                    power and authority to act for their people west of the
    The Creek nation, as a national entity, was disor-                   Mississippi". It was also recited in the treaty that

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ganized and divided as a r esult of events occurring
shortly after the Treaty of 1814. These events are
related in detail in the statement of facts, supra. They
resulted f rom the pressure of the inland movement of
                                                                         the great body of the Creek nation as of that time re-
                                                                         mained " on the east side of the :Mississippi".
                                                                            The political organization of the Cr eeks in the a rea
                                                                         granted to them in the Indian Territory used the name
the whites along the eastern seaboard. In 1814 the                       " The Creek Nation", but this name was almost al-
  'reek nation had ceded land to the United States. I n                  ways accompanied by r estrictive language limiting it
1826 it ceded more land, and a group of its members,                     to those Creeks in the Indian Territory (Tr eaty of
desiring to move westward to avoid the white man, ob-                    August 7, 1856, 11 Stat. 699 ; Act of June 28, 1898, 30
tained permisson to send 5 delegates to the W est to                     Stat. 495; Act of March 1, 1901, 31 Stat. 861 ; Act of
select land, which the United States promised to give                    June 30, 1902, 32 Stat. 500; Act of April 26, 1906, 34
them and to which it promised to move them within 24                     Stat. 137.)
months. (7 Stat. 286) In 1832 the Creek nation ceded                         The rolls of "The Creek Nation" of Oklahoma were
all its land east of the Mississippi, and encouragement                  <'loscd in 1907.
was offered all Creeks to emigrate to the ter ritory west                   The rolls made a t that time were created fo r the e~-
of the Mississippi. At the same time, it was expressly                   press purpose of effecting the allotment of the Creek
ngreed t11at they were not compelled to go, and detailed                 lands iu the Indian Territory in Oklahoma. (Act of
provision was made for a survey, a census and for al-                    June 28, 1898, 30 Stat. 495.) Appellants and other
lotment of sections a nd half-sections of land to those                  Creeks like them cannot now be enrolled. They were
electing to remain. (7 Stat. 366)                                 ft l   neve r entitled to gain enrollment, except by taking up
    As might be expected, many chiefs and heads of fam-',. ,'( '         r esidence in the Creek territory in Oklahoma, for en-
ilics elected to remain in their native surroundings. / >• \ J           r ollment ,vas expressly restricted to those r esiding in
One need only to check Parsons & Abbotts' Census      of{  <J ' .        the Creek reservation or who moved to it prior to a
the Cr eeks in 1832-in the National Archives, subsequent      ·      L   given date. (Act of June 28, 1898, 30 Stat. 495.) Thus
censuses of the Southeastern States and local land and · ,t'\,1 u        the very limitations on membership prove the limita-
hirth records, or the member ship rolls of "The Creek \     g..,.        tions of the organizatiQn, which was for the purpose of
Nat ion East of the Mississippi", to gain an idea of                     g overning affairs of the Creek Indians in Oklahoma,
their great number, alleged in appella nts' original mo-.J               the division of lands located there and the handli.ng of
tion to be approximately 10,000.                                         other administrative and financial matters pertaining
    In the first treaty made by the United States with                   to that group. This, together with the repeated r ec-
those migrating westward, the latter were identified as                  ognition in treaties and Acts of Congress of the re-
'' the Creek nation of Indians west of the Mississippi'',                stricth·e character of petitioner-appellee, conclusively




                                                                                                                                MU003660
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                                                                nor do they claim any, to share in lands or moneys or
proves that "The Creek Nation" of Oklahoma is not               claims arising out of the affairs of petitioner-appellee
the same as the original Creek nation or even a full            in Oklahoma. But appellants have not, simply by not
successor to it, but a restricted organization for the          going to Oklahoma, surrendered their rights to the
government of those Creeks in Oklahoma.                         claim in issue, arising out of an injury to their nation
  To make this restricted organization the successor            in tbe east prior to the migration.. This is made clear
to all rghts of parent nation and membership in it the          in United States v. Cherokee Nation, 202 U. S'. 101, 26
basis of enjoyment of relief granted for the wrong to           S. Ct. 588 (1906) wherein the unorganized eastern
the parent not only will ignore the history of the Creek        Cherokees were claiming to be entitled to share in
nation, but will work a grave injustice upon many of            funds owing by the United States to the Cherokee Na-
those who are blood members of it.                              tion under the Treaty of New Echota of May 23, 1836.
                                                                The Supreme Court said (26 S. Ct. at 599-600), quoting
C. Appellants and Other Creeks Did Not Lose Their               with approval from the opinion of this Court :
    Rights in the Claim in I ssue by Not Emigrating to
    Settle in Oklahoma.                                             "While the United States have always, or nearly
                                                                    always, treated the members of an Indian tribe
   Petitioner-appellee urged very strongly in its ob-               as communal owners, they have never required
jections to appellants' original and amended motions                that all the communal owners shall join in the
that appellants and other similar descendants of mem-               conveyance or cession of the land. From the ne-
bers of the injured Creek nation had forfeited their                cessities of the case, the negotiations have been
                                                                    with representatives of the owners. The chiefs
 rights in the claim by electing not to go west and be-             and head men have ordinarily been the persons
come members of the group there whose descendants                   who carried on the negotiations and who signed
comprise petitioner-appellee. (R. 75-78, 106-110) In                the treaty. But they have not formed a body po-
support of this position it cited and quoted Eastern                litic or a body corporate, and they have not as-
Band of the Cherokee Indians v. United States, 117                  sumed to hold the title or be entitled to the pur- '
U.S. 288 (1886) (R. 77). The language quoted might                  chase money. They have si mply acted as repre-
                                                                    sentatives of the owners, making the cession on
be somewhat persuasive were it not for the fact that                their behalf, but allowing them to receive the con-
the facts there are so easily distinguishable from those            sideration per capita. In the present case the
at issue here. In that case, unorganized Eastern                    Cherokee Nation takes the place, so far as com-
Cherokees who had failed to migrate westward were at-               munal ownership is involved, of the chiefs and
tempting to claim a share in funds arising from the                 head men of the uncivilized tribes. This, too, is
sale of the lands in Oklahoma wbich the migrating                   consonant with the usage of nations. The claims
                                                                    of individuals against a foreign power are always
Cherokees had settled, and from commutation of an-                  presented, not by them individually, but by their
nuities granted in exchange for surrender of those                  government. The claims are pressed as inter-
Oklahoma lands. They were properly denied the right                 national, but the money received is received in
to shar e. Obviously appellants would have no right,                trust, to be paid over to the per sons entitled to it.




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     '' As to those Cherokees who remained in Georgia                voluntarily taken up within said limits his resi-
     and North Carolina, in Alabama and Tennessee,                   dence, separate and apart from any tribe of In-
     they owe no allegiance to the Cherokee Nation, and              dians therein, a nd has adopted the habits of civi-
      the nation owes no political protection to them.               lized life, is hereby decla red to be a citizen of the
     But they, as communal owners of the lands east of               United States, and is entitled to all the rights,
      the Mississippi, at the time of the treaty of 1835,           privileges, and immunities of such citizens,
     were equally interested, with the communal own-                whether said Indian has been or not, by birth or
     er s who were carried to the West, in the $5,000,000           otherwise, a member of any tribe of Indians within
     fund which was the consider ation of the cession,              the territorial liniits of the United S tates without
     so far as it was to be distributed per capita. The
     Cherokee Nation was not bound to prosecute their
     claims against the United States for the unpaid
                                                            •
                                                            1
                                                                    in any manner impairing or otherwise affecting the
                                                                    right of any s'u,eh Indian to tribal or other prop-
                                                                    erty." (Italics ours )
     balance of the $5,000,000 fund, but their rights
    were inextricably interwoven with the rights and                In discussing this statute and the general trend of
     equities of the Cherokees who were citizens of             government policy toward the Indians and Indian
     the nation, and the nation properly made no dis-           t ribes, the Court of Appeals of the District of Colum-
     tinction when parting with the Outlet, but demand-
    ed justice from the Cherokee point of view for all          bia, in United States ex rel. B es{]A,() v. Work, 6 F. 2d
     Cherokees who had been wronged by the nonful-              694, 698 (1925 ), quoting with appr oval from Oakes v.
    fillment of the treaty of New Echota. As to these           United States, 172 F. 305 (C.C.A. 8th, 1909), said:
    Eastern nonresident Cherokee aliens the na tion
    acted simply as an attorney collecting a debt. In               ' ' On this point the court said : 'For many years
    its hands the moneys would be an implied trust                  the treaties and legisla tion rela ting to the Indians
    for the benefit of the equitable owners.                        proceeded largely upon the theory that the welfare
                                                                    of both the Indians and the Whites r equired that
    "After a careful consideration of the circum-                   the form er be kept in tribal communities sepa-
    stances and conditions of these cases, the court is             r ated from the latter, and while that policy pre-
    of the opinion that the moneys awarded should be                vailed, effect was given to tbe original rule r e-
    paid directly to the equitable owners."                         specting the right to share in tribal property; but
  The r ights of those in the position of appellants                Congr ess later adopted the policy of encouraging
were expressly saved and guaranteed by the Act of                   i ndi vidual Indians to abandon their tribal rela-
                                                                    tions and to adopt the customs, habits, and man-
February 8, 1887, 24 Stat. 390, as amended March 3,                 ners of civilized life, and, as an incident to this
1901, 31 Stat. 1447 and May 8, 1906, 34 Stat. 182:                  change in policy, statutes wer e enacted declaring
                                                            j       tha t the right to share in tribal property should
    '' Every Indian born within the territorial limits              not be impaired or affected by such a severance of



                                                            '
    of the United States to whom allotments shall have              tribal r elations, whether occurring theretofore or
    been made and who bas received a patent in fee                  thereafter.'
    simple under the provisions of this Act, or under               '' After citing and quoting from a number of the
    any law or treaty, and every Indian born within                 acts of Congr ess, the court said: 'These acts dis-
    the territorial limits of the United States who baa




                                                                                                                         MU003662
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  close a settled and persistent purpose on the part
  of Congress so to broaden the original rule re-                  Thus neither in fact nor in legal fiction is petitioner-
  specting the right to share in tribal property as to           appellee the full successor to the Creek nation, entitled
  place individual Indians who have abandoned                    to exclude descendants of its members not presently
  tribal relations, once existing, and have adopted              enrolled in petitioner-appellee from participation in
  the customs, habits, and manners of civilized life,            any recovery.
  upon the same footing, in that regard, as though
  they bad maintained their tribal relations. Not
  only this, but these acts, omitting that of 1865, are          D. Petitioner-appellee "The Creek Nation" of Okla-
  general and continuing in their nature, and there-                 homa Is Not Etititled to Represen-t the Entire
  fore are as applicable to the Chippewas in Minne-                  Creek Nation in Prosecutvng Claims Before the
  sota as to other Indians, unless the act of 1889 dis-              Indian Claims Commission.
  closes, either expressly or by necessary implica-
  tion, that Congress intended otherwise. In our                     P etitioner-appellee, the political organization of the
  opinion that act docs not thus disclose such an in-             Creeks in the Creek territory of Oklahoma, is not rep-
  tention.' "                                                     r esentative of all the Creek nation, as demonstrated
  •     •      •      •    •      •     •      •     •           above. It removes any lingering possibility of i ts be-
  '' Confusion seems to have arisen through failure              ing considered the organization entitled to represent
  to d istinguish between membership in an Indian                all by expressly disclaiming the right or obligation. It
  tribe and the mere severance of tribal r elations.             denies, in its "Objections to Amended Motion to Inter-
  T he breaking or severance of tribal relation s oc-
  curs where a member of the tribe abandons the                  vene", that the portion of the Cr eek nation includin"'   b

  tribal life, removes from the tribal habitation, and           appellants is entitled to repreesntation before the Com-
  by marriage, exercise of the homestead right, or               mission, or to participate in any recovery. (R. 104-
  otherwise, establishes a residence elsewhere and               111)
  adopts the habits and customs of civilized life.                   Tho Commis ion appears to have determined that
  But membership in an Indian tribe is based upon               the long-continued existence of petitioner-appellee and
  the firm foundation of right by blood inherited
  from Indian ancestry.                                         its recor d of dealings with the federal government, as
                                                                contrasted with appellants' lack of formal organiza-
  "Nor is the test one of citizenship. In the ab-               tion for many years and lack of treaty dealings, vested
  sence of a treaty or an act of Congress conferring
  citizenship upon Indains, who ah·eady bad, or who             it with the right to represent the nation. In determin-
  would in th e future, abandon tribal life and adopt           i ng that "the petitioner in this case has the exclusive
  the habits and customs of civilized life, expressly           right to prosecute the claim here asser ted, '' the Com-
  reserved to such Indians all their rights in tribal           mission states that after 1833:
  property held in common for the benefit of the
  membership of the tribe. Hence the mere transfer                  '' • • • all dealings of the Federal Government
  of citizenship is not important, so far as the ques-              were made with the Creeks in Oklahoma and we
  tion of the rights in tribal property is con-                     find no treaties, contracts or other tra~sactions
  cerned. • • • "                                                   witb those members of the tribe who remained




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    east or tbat defendant ever recognized those re-            the right to appear and r epresent themselves and that
    mai~ing east as the Creek Nation.                           portion of the nation not repr esented by petitioner-
                                                                appellee. If there existed a recognized organization
      "There are other instances by which the United
    States recognized the tribal government o~ the              representative of the entire Creek nation, it would
    Creeks in Oklahoma, notably the Act of April 26,            doubtless have exclusive right of r epresentation. But
    1906, 34 Stat. 137, section 28, of which ' contiD;ued       certainly the existence of a recognized organization
    in full force and effect for all purposes, authorized       representative of only part of the nation, which, more-
    by law' the Creek tribal government." (R. 117)              over, takes the position that the remaining unorgan-
                                                                ized portion has no claim, cannot preclude the r emain-
  It is interesting that the Commission selected the
                                                                ing unorganized portion of the larger group from
1906 Act as an instance of r ecognition by the United           being represented.
States of petitioner-appellee. For that act is entitled
"An act to provide for the :final disposition of the af-                                    u.
fairs of t he Five Civilized Tribes in the I ndian T erri-
tory, and for other purposes" (Italics ours),. pe~-             The Commission Erred in Determining that Appellants
tioner-appellee is ref erred to as the '' Creek Tribe in            a.re not Members of a. "Tribe, Band, or Other
the I ndian Te'l"ritory" (Italics ours) and the act deals           Identifiable Group of Indians" Entitled to Have
exclusively with matters relating to the Indian Terri-              Their Claim Determined by the Commission.
tory.                                                                The Commission Determined that Appellants Are
   The fact that the Federal Government recognized               Not Members of Any " Tribe, Baind, or Other Identi-
and dealt with t he political organization of the Creeks         :1:iable Group". In doing so, the Commission ruled
in Oklahoma in regard to Oklahoma affairs is of course           that in order to be an identifiable group under the Act,
no indication that it regarded it as representative of          it is necessary that petitioners have "a common
all Creeks. Furthermore, the fact that the F ederal              claim.'' The Commission held that appellants have
Government had no dealings with those east of the                no common claim but present instead "a common suit
Mississippi, as a group, is equally of no significance,          for individual claims. " (R. 118)
since the latter, unlike the Creeks in Oklahoma, had no              The Commission's ruling that the essential for suit
organization, occupied no bounded grant of territory            before the Indian Claims Commission is t hat the In-
and were not under t he guardianship of the Federal             dians suing have a common claim was in accordance
Government.                                                     with its earlier decisions. The Loyal Creek Band or
   The fact that petitioner-appellee is recognized by the        Group of CreekJndian.s, Ind. Cl. Com. Dkt. No. 1, opin-
Federal Government, whereas appellants can point to             ion entered May 6, 1949; L ewis et al. ex rel. the Creek
no organization recognized as representing all Creeks,           Freedmen .Association, Ind. Cl. Com. Dkt. No. 25, opin-
is certainly no basis for granting petitioner-appellee          ion entered August 4, 1949; Thompson, et al. ex rel.
the representation of all Creeks, or denying appellants         I ndiOlfl,S of Californ,ia, Ind. Cl. Com. Dkt. No. 31, opin-




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ion entered December 15, 1950. But it committed clear            The claim presented is one for injury to the Creek na-
error in holding that appellants are not members of a            tion as it existed in 1814 from the taking of its com-
group having a common claim.                                     munal lands. Any judgment of the Indian Claims Com-
  The Commission itself has held an individual claim             mission must therefore be in favor of the Creek nation.
to be one for a dil·ect injury to an individual, sustained        Appellants are thus not asserting individual claims of
in his individual capacity. In The Fort Sill Apaches,             themselves or the other Creeks, but are asserting as
Ind. Cl. Com. Dkt. No. 30, opinion entered May 6, 1949,          descendants of members of the Creek nation the com-
in denying the petitioner the right to sue for the al-            mon claim possessed by the nation which, because of
leged false imprisonment of 450 of its members, the               the lack of present organization, can only be presented
Commission said:                                                 in a representative suit by individuals.
                                                                    It does not matter whether the Creek nation be re-
     '' • • • The rio·hts
                      c     violated were
                                        . those of the in-       garded as still in existence through blood ties or
     dividuals and who in turn experienced the 'harm,            whether, because of the scattering of many of i ts mem-
     suffering and humilia tion' as a r esult of the al-
     leged wrong. Thus i t would seem that a personal            bers, it be regarded as having ceased to exist as a na-
     or individual wrong bas been inflicted on each In-          tion. In one event, appellants and those similarly situ-
     dian which damaged him individually and ev~n                ated whom they represent, who have for common pro-
     though all the individual members sustained tbeir           tection formed "The Creek Nation East of the Missis-
     respective injul'ies by the same common incident            sippi' ', are members of the nation; in the other event
      ( arrest and imprisonment at the same time and             they are members of an identifiable group in that they
     place), the rights of each individ.ual for the inju.ry
     so sustained would be and remam several and m-              prosecute the common claim of the Creek nation de-
     dependent of each other."                                   scended to the present Creeks through lineal descent.
                                                                    One of the Commission's own decis.ions, entered sub-
  On the other hand, a common claim is one for injury            sequent to its decision on appellants' amended motion,
to a group right as distinguished from an individual             demonstra tes this conclusively. In R ed Lake, P em,-
right. The Commission has repeatedly held that a                  bina a;nd White Earth B wnds, Ind. Cl. Com. Dkt. No.
claim for the taking of tribal lands is a common claim.          18-A, opinion entered September 17, 1951, one of the
The Chocta;w Nation, Ind. Cl. Com. Dkt. No. 16, opinion          claims was that of the "Pembina Band" for the taking
entered July 14, 1950; McCauley ex rel. the Kaw T ribe           of lands under an 1863 treaty. The United States de-
of India,ns, Ind. Cl. Com. Dkt. Nos. 33, 34 and 35, opin-        fended on the ground that it was not a "tribe, band or
ion entered September 17, 1951; Pawnee l ndiwn Tribe             other identifiable group" at the time of the suit, al-
of Oklalwma, Ind. CL Com. Dkt. No. 10, opinion en-               though it had been at the time of the injury. The issue,
tered July 14, 1950.                                             the facts and the Commission's decision are best pre-
   On the basis of these cases, there can be no question         sented in its own language:
that the Indian Claims Commission is wrong and that
                                                                     "The defendant takes the position that a tribe,
appellants have a common claim of a group character.                 band or other group must be an existing political




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  entity in order to have its claim determined by this            Commission by any member of an Indian tribe,
  Commission. Counsel for defendant does not deny                 band, or other identifiable group of Indians as the
  the existence of the Pembina Indians as an organ-               r epresentative of all its members. • • • " (Italics
  ized band a nd its r ecognition as such by the United           ours)
  States at the time the treaty of October 2, 1863
  was concluded with said band and the lands in-               Similarly, in the instant case, the Creek nation was
  volved in this claim were ceded by it to the Gov-          organized and r ecognized at the time of the Treaty of
  ernment, but counsel contends that such a band
  of Indians as the Pembina Band no longer exists            1814, it now lacks a comprehensive organization, but
  and has not existed since 1891, at which time its          the descendants of its member s can be identified
  members were merged with either the Red Lake or            through blood lines.
  White Earth Bands of Chippewa Indians, and ar e
  enrolled as members of those bands.                                                   Ill.
  '' A similar contention was made by the defendant          The Commission Erred in Determining that it did not
  in the case of The Loyal Creek Band or Group of
  Creek Indians v. The United States, Docket No. 1,              Have Jurisdiction to Define the Group Entitled
  decided May 6, 1949. In that case this C~mmis-                to Recovery on a Claim Before it.
  sion decided that the three classes of claimants
  who Me permitted to a-ssert claims under the _In-             The Commission appears to have misunderstood the
  dian Claims Commission Act, namely, a 'tnbe,               basic question it was called upon to decide on appel-
  band, or other identifiable group' do not have to          lants' motion. In doing so it abrogated a necessary
  be existing political gro-u,p,s in order to be heard       p art of its jurisdiction, which is part of the jurisdiction
  by the Commission. T he controlling question is            of any tribunal authorized to hear and determine
  whether the claimant group can be identified and           claims. In performing its duty to determine claims of
  have a common claim. We believe that the de-
  cision in that case applies to the contention made        any Indian "tribes, bands or other identifiable group"
  by the defendant in the present suit.                      against the United States, it must determine not only
                                                            whether a claim exists against the United States and in
  '' As the plaintiffs concede that the Pembina In-
  dians are no longer organized as a band, the ques-        favor of someone, but whether the group suing is, in
  tion then is whether members, or descenda,nts of          fact, the injured group or has otherwise acquired title
  members of the P embina B and as it existed and           to the claim. The United States defended petitioner-
  was recognized at the ti1ne of the 1 863 ti·eaty, can     appellee "The Creek Nation's" case on the ground
  be identified. If they can be so identified, then         that no injury had been inflicted on anyone. It could
  any one of their group is authorized by express           as well have asserted the additional defense that ' ' The
  statute to present this claim as a representative
  of all the mem hers, as provided by Section 10 of         Creek Nation" of Oklahoma was not the proper claim-
  the Indian Claims Commission Act (25 U.S.C.               ant, not being the full successor of the original Creek
  70a), which provides that: 'any claim within the          Nation nor entitled to recover full damages for any
  provisions of this Act may be presented to the            injury to it, nor properly repr esentative of the entire




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Creek Nation, the proper claimant. If this had been              t heir interests are those affected. Their amended mo-
done, we doubt that tbe Commission would have ques-              tion and petition raised this question and presented an
t ioned its own power to determine this issue. Cf. The           issue which the Commission should have determined,
K aw Tribe of Indians ex rel. K eena-n Pappan et al.,            probably, in the light of the foregoing decision, by
Ind. CL Com. Dkts. Nos. 33, 34, 35, opinion entered             granting appellants' motion and taking· evidence on the
September 26, 1950.                                             issue presented by its petition and the answers to be
   In T he Fort Sill A paches, Ind. Cl. Com. Dkt. No. 30,       filed to it by the other parties as to "petitioner's right
opinion entered May 6, 1949, this precise question was          to maintain this action for the claim of ' the Creek
presented on motion to dismiss of the United States,            nation'." Yet the Commission appears to have doubted
on the ground t hat necessary parties bad been omitted.         its power to determine whether t he entire Cr eek na-
The Fort Sill ..Apaches, formerly members of the Chi-           tion or only petitioner-appellee and its members were
ricahua and Warm Spring bands of Apaches, were                 entitled to prosecute the claim. For it stated that by its
suing on a claim for the taking of the reservation of           amended motion "the Perdido Band is in reality ask-
the Warm Springs band. The United States contended             ing us to determine the individual Indians who may
that other descendants of the Chiricahua and Warm               participate in any award tba.t may be made.' ' (R.
Spring bands were living at Mescalero r eservation and          118)
were entitled to a portion of the claim. While declin-              Appellants contributed to the Commission's error
ing to determine the question on the United States'             in requesting, in the prayer for relief of the "Amend-
motion because of the issues of fact presented, the            ed Petition of Interveners ", that "Interveners be de-
Commission recognized the materiality of the issue             clared entitled to share in said recovery on a per
and its obligation to determine it, saying :                   capita basis with all others who come before this Com-
    '' • • • This contention of the Respondent may             mission a11d establish that they are descendants of the
    be correct in the event the petitioner fails to estab-     members of the original Creek nation or, in the al-
    lish by its proof that it is the legal succes:sor of        ternative, that a commission be cr eated to determine
    the two bands, but we believe t hat it is only after       and make a roll of the living descendants of members
    proof of a ll the r elevant facts and circumstances
    has been r eceived on this issue that the Commis-          of the original Creek nation, in order to determine
    sion may, in view of the allegations of the peti-          who shall be entitled to share in any recovery." It is
    tion, determine petitioner's right to maintain this        d oubtful that the Commission possesses the power to
    action for the claim of the Warm Spring band of            do this or that it is a part of its function to determine
    Apache Indians."                                           the specific individuals to whom an award is to be dis-
                                                               tributed. This may be left to the Secretary of the In-
Since the United States failed to raise this question in
                                                               terior under the direction of Congress once a judgment
the instant proceeding, it became necessary for appel-
                                                               has been entered making it clear that the claim and
lants to do so. This tlley might appropriately do, ~ince
                                                               consequent judgment ar e the property of the original




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Creek nation to be enj oyed by their descendants. It                 '' 9. The organization of the Oklahoma Creeks, pe-
                                                                     titioner herein, does not purport to r epresent any
will then be a matter for each individual to establish              Creeks other than those of the Indian Territory.
his descent.                                                         It claims that its members and their descendants
  But even if erroneous, this prayer of appellants does              as shown by its rolls, are entitled to recover and
not, under established rules of pleading, deprive them               keep the full damages for the 1814 injury to the
of the right to that relief to which they ar e entitled.             Creek nation. Its interests are thus to this extent
The allegations of appellants' amended motion ten-                  adverse to those of your Applicants for leave to
                                                                    intervene, who claim the right, with all other de-
dered an issue as to the proper petitioner to prosecute             scendants of the original Creek nation, to par-
the claim before the Commission:                                    ticipate in any recovery.
    "5. The injury for which relief is sought in this               "10. The interest of the Perdido Band and its
    proceeding is the taking of lands in Alabama and                members and other Creeks similarly situated, not
    Georgia by the United States from the Creek na-                 enrolled or descendants of those enrolled in the
    tion under the Treaty of August 9, 1814 between                 organization of the Oklahoma Creeks, are thus not
     the United States and the Creek nation.                        presently represented in this proceeding, in which
    '' 6. T he injury was thus one to the Creek nation,             they have a direct and immediate financial in-
                                                                    ter est." • • •
    as then constituted, and the right to recover there-
    for passed to the descendants of all its members,
    who possessed communal rights to its lands, and           Consistent with its own later decision in the Fort Sill
    the right to participate in any recovery for their        Apaches case, supra, the Commission possessed the
    taking.                                                   power to determine the issue presented as to the right
    "7. Because of the division of its members, and           of appellants to representation, and should have done
    the present lack of any formal organization repre-        so.
    senting all members of the Creek nation, it must
    be regarded for the purpose of claims before this                             CONCLUSION.
    Commission under the Act of August 13, 1946,
    arising out of events prior to the westward migra-            The unsatisfied claims of Indians for abuses prac-
    tion of a portion of its members, as an unorgan-           ticed by the United States upon them have been a
    ized tribe or other identifiable group of Indiani-.       source of discontent among Indians ever J7'vhere and a
    '' 8. Even if the organization of the Oklahoma            source of proper shame to our gover nment for many
    Creeks be regarded as the political successor of          years. In cr eating the Indian Claims Commission,
    the earlier Creek nation, and thereby entitled to         Congress' avowed purpose was to provide a forum
    sue in a representative capacity for wrongs in-           for the r emedy of all wrongs done to Indian groups,
    flicted on the Creek nation, any recovery would be        whether legal wrongs or simply those based upon a
    the rightful property of the original Creek nation,
    distributable to the descendants of those who were        breach of principles of "fair and honorable dealings."
    ifa:; members as of the time of the Treaty of 1814.       {60 Stat. 959, 25 U.S.C. 70)




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   Appellants and the claim they assert surely fall                                   APPENDIX.
within this Congressional purpose.                                       BEFORE T HE INDIAN CLAIMS COMMISSION
   They are Creek Indians. They are descendants of
those who were the Creek nation at the time of the                                   Dockets No. 21
unconscionable treaty which took its lands. They are
not a few strao-glers, but thousands. They present not                      THE CREEK NATION,      Petitioner,
a bundle of individual claims, but a claim for injury to
the nation. Theirs is a claim which, but for the ex-                                        v.
istence of petitioner-appellee, the Commission, con-                        THE UNITED STATES,     Defenda;nt.
sistent with its decision in R ed Lake, Pe1nbina a,nd
White Earth B ands, swpra; Loyal Creek B~d or                            Order Denying Motion to Intervene.
Group of Creek Indians, sit,pra, and Snake 0 1· Piut e In-         On the 5th day of January, 1951, a group of Indians,
dians of the Fo-rmer Malheur Reservation in Oregon,             designated as the " P erdido Friendly Cr eek Indian
Ind. Cl. Com. Dkt. No. 17, opinion entered December
                                                                Band of Alabama and Northwest Florida," filed a mo-
29 1950 would certainly have heard.
   'Why, ' then, should the existence of peti~1oner-ap-
                                               ..               tion in the above-entitled cause for leave to intervene
                                                                therein, and thereafter, and on April 4, 1951, the same
 pellee be a bar to appellants ' rights 1 Certamly mem-
                                                                petitioners filed an amended motion accompanied by a
 bership or non-membership in a group in Oklahoma
                                                                changed petition of intervention, and a hearing was
 cannot have been intended by Congress to be a ground           had upon said amended motion and the petition at-
 for distinction among those who are all commonly de-
                                                                tached thereto, on .A.pril 18, 1951, and after argument
scended from the injured group. Certainly petitioner-
                                                                of counsel for the applicant, the petitioner and the de-
a ppellee cannot be held solely entitled to :epresent the
                                                                fendant before the Commission, the same was taken
 Creeks when it disclaims its r epresentation of appel-         under advisement, and the Commission being now fully
 lants and the very existence of their claim.                   advised in the premises adjudges that said ·amended
    The decision of the Commission violates the pur-
                                                                motion for leave to intervene in the above-entitled
 poses of the I ndian Claims Commission Act and its
                                                                cause should be denied.
 own precedents. It should be reversed a nd appellants
                                                                  IT I s THEREFORE ORDERED AND ADJUDGED by the Com-
 permitted to intervene so that the rights of all de-
                                                                mission that the amended motion for leave to inter-
 scendants of members of the injur ed nation not mem-
                                                                vene, filed her ein on the 4th day of A pril, 1951, by said
 ber s of petitioner-appellee can also be represented and
                                                                "Perdido Friendly Creek Indian Band of Alabama
 a determination made of the group entitled to recover.
                                                                and Northwest F lorida," be and the same is hereby
                          CLAUDE PEPPER,                        denied.
                            Cafritz Building,
                            Washington, D. C.,
                              .Attorney for .Appellants.




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  Dated at Washington, D. C., this 4th day of June,             tioner, the Creek Nation, nor defendant denies these
1961.                                                           statements.
                       EDOAB E. Wn:T                               The petition of intervention also states that enroll-
                          Chief Commissioner                    ment in the Perdido Band is limited to those Indians
                       LOUIS J. 0 '~1.ARR                       who are descendants of members of the original Creek
                          Associate Co1mnissioner               Nation, and this allegation is not questioned.
                       WM. M. HOLT                                 The Perdido Band is not asking for an award inde-
                          Associate Commissioner                pendently of that sought in the above case; on the con-
                                                                trary, they are supporting the p ending claim. What
        BEFORE THE INDIAN CLAIMS COMMISSION                     they are demanding is that they and all other descend-
                                                                ants of members of the original Creek Nation be recog-
                    Docket No. 21                              nized as having the right to participate in any award
           THE   Cn.EEK   NATION,   Petitioner,                 that might be made in the above case even though they
                            v.                                 are not enrolled as members of the petitioner, Creek
           THE U NITED STATES,      Defendamt.                 Nation, as now constituted.
                                                                  Without going into the history of the Creek Nation
               Opinion of Commission.
                                                                in much detail, it may be stated that this tribe was one
   PER CURIAM, On J anuary 5, 1951, a group of Creek           of the Jarger Indian tribes and originally occupied a
Indians, designated as the "Perdido Friendly Creek             large territory in Georgia, Alabama and F lorida. On
Indian Band of Alabama and Northwest Florida,"                 January 24, 1826, 7 Stat. 286, the Creek Nation con-
filed a motion in the above-entitled cause for lea.ve to       cluded a treaty with the United States by which it
file a petition of intervention, which accompanied the         ceded an area of its domain located in Georgia and
motion. Thereafter, and on April 4, 1951, the same             lying on the east side of the Chatahoochee river. A
petitioners, who will hereafter be referred to as !he          portion of the tribe wished to move west of the Missis-
P erdido Band, filed an amended motion accompamed              sippi river and the treaty provided (Art. 6) for a
by another, considerably changed petition of interv~n-         "deputation of five persons" to select a country west
tion and a hearing was had on the amended motion               of the river as a home for that part of the Creek
and 'the petition attached thereto, on April 18, 1951.         Nation desiring to move west. The country was
   The Perdido Band, according to the statements con-          selected and the selection confirmed by treaty, as will
tained in the amended motion and the petition accom-           be shown later. Treaty of Febr. 14, 1833, 7 Stat. 417.
panying it, is composed of descendants of members of               On March 24, 1832, 7 Stat. 366, by treaty of that
 the Creek Nation of Indians who remained in Ala-              date, the Creeks ceded "all their land, East of the Mis-
bama, Georgia and North F lorida under the treaties            sissippi river" to the United States. This treaty con-
 of January 4, 1826 and March 24, 1832, between th.e           tained this provision (Ar t. XII) :
United States and the Creek Nation. Neither the peti-




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       "The United States are desirous that the Cr eeks         not be construed so as to compel any Creek Indian to
     should remove to the countr y west of the Missis-          emigrate, but they shall be free to go or stay, as they
     sippi, and join their countrymen there; and for            please."
     this purpose it is agreed, that as fast as th~ Creeks        The treaty of Febr. 14, 1833, 7 Stat. 417, confirmed
     a1·e prepared to emigrate, they shall be r emoved at       the selection of land authorized by the 1826 tr eaty
     the expense of the United States, and shall r eceive
     subsistence while upon the journey, and for one            (Art. VIII), and Article I ll thereof provided for a
     year after their arrival at their new homes-Pro-           patent in fee simple to be issued to the "Creek
     vided however, that this article shall not be con-         Nation." Article IV made it unmistakably clear that
     strued so ais to compel any Creek Indi(]/Yl, to emi-       the land ceded under this treaty in what is now Okla-
     grate, but they shall be free to go or stay, as they       homa was for the benefit and use of the entir e Cr eek
     please." ( Italics added.)                                 people, for it provided:
Article II thereof required the United States to sur-
                                                                       "It is hereby mutually understood and agreed
vey the ceded area and allowed ' ' ninety principal chiefs          between the parties to this treaty, that the land
of the Creek tribe to select one section each, and every            assigned to the Muskogee. Indians, by the second
other head of a Creek family to select one half section             article thereof, shall be taken and considered the
each, which tracts shall be reserved from sale for their            property of the whole Muskogee or Creek nation,
use for a term of five years, unless sooner disposed of             as well of those now residing upon the land, as the
by them.'' Provisions were also made £or taking a                   great body of said nation who still remain on the
                                                                    east side of the Mississippi; and it is also under-
census of the persons making selections and for                     stood and agreed that the Seminole Indians of
making selection of twenty sections for the benefit of              Florida, whose removal to this country is pro-
 orphan children of the Creeks. Article III authorized              vided for by their treaty with the U. S. da,ted May
 the sale of the selections, and Article IV provided:               9th, 1832, shall also have a permanent and com-
                                                                    fortable home on the lands hereby set apart as the
       '' At the end of five years, all the Cr eeks entitled        country of the Creek nation; and they ( the Semi-
     to these selections, and desirous of remaining,                noles) will hereafter be considered a constituent
     shall receive patents ther efor in fee simple, from            part of said nation, but are to be located on some
     the United States."                                            part of the Creek country by themselves-which
Article XII of this treaty quoted above discloses the               location will be selected for them by the commis-
desire of the United States to move all Creeks west of              sioners who have signed these ar ticles of agree-
the Mississippi river, and as an inducement to move,                ment or convention. " (II Kapp. 390.)
agreed to pay the expenses of removal, provide sub-               The 1826 treaty did not, at least by its terms, con-
sistence during removal and for a year after their ar-          template a removal of the entir e tribe west, but the
rival west. However, such removal was not compul-               1832 treaty discloses a purpose to recognize those who
sory as to individual Creeks, for the article, as shown         migrated to the west as the main governing body of
above, contained the proviso '' that this article shall         the tribe since provision was made f or enabling indi-




                                                                                                                          MU003671
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vidual chiefs and heads of families wishing to do so to         create an identifiable group. It is plain from the state-
remain east and select tracts in their aboriginal land          ments in the amended motion and the alleo-ations of
which was reserved for that purpose in said treaty of           the petition accompanying it that the P erdido Band
1832. This purpose was confirmed by the treaty of               bas no common claim, and is therefore not an "iden-
1833, which was made with the Creek Nation at Fort              tifiable group" under said Act.
Gibson in Indian Territory, and in which the territory             Furthermore, the Perdido Band is in r eality asking
ceded by the United States was assigned to the whole            us to determine the individual I ndians who may par-
Muskogee or Creek Nation-those residing east and                ticipate in any award that may be made. They pray in
those residing west of the Mississippi. Thereafter,             their petition that the members of the Perdido Band
all dealings of the Federal Government ,vere made               be declared entitled to share in the recovery or that
with the Creeks in Oklahoma, and we find no treaties,          a Commission be created to make a roll of the livin()'
contracts or other transactions with those members of          descendants of the original Creek Nation in order t~
the tribe who remained east, or that defendant ever            determine who shall be entitled to share in any re-
r ecognized those remaining east as the Creek Nation.          covery. Counsel for applicants mistake the powers of
   There are other instances by which the United States        tl1e Indian Claims Commission. The Act authorizes
recognized the tribal government of the Creeks in              us to determine claims of Indian tribes, bands or iden-
Oklahoma, notably the Act of April 26, 1906, 34 Stat.          tifiable groups. We have no power to detei·mine the
137, section 28 of which "continued in full force and         membership of the groups who may successfully prose-
effect for all p urposes, authorized by law " the Creek        cute their claims, for that is an administrative func-
tribal government. W e are of the opinion the peti-            tion over which we have no control.
tioner in this case has the exclusive right to prosecute          For the reasons stated above, the amended motion
the claim here asser ted. In fact, the Perdido Band           of the P erdido Band must be denied.
does not really question the right of petitioner to main-         The Commission now bas under advisement for de-
tain the action, for, as before stated, it asked that the     cision only the issue of fact and law relating to the
members of th e Creek Nation be awarded the amount            petitioner's right to recove r. (Sec. 22(b) of Rules of
prayed for , insisting, however, that the award be for        Procedure) . Ordinarily, we would postpone the de-
the benefit of all Creek descendants and not confined         termination of the amended motion of the Perdido
to those enrolled under the various agreements with           Band until after we bad determined that issue, but for
the Creek Nation, confirmed by Acts of Congr ess.             fear longer delay might cause embarrassment to the
   This Commis$ion decided in the Loyal Creek case,           Ba~d because of the expiration of the ti.me for filing
Docket No. 1, and the Western Cherokee case, Docket           claims on August 13, 1951, we concluded an earlier de-
No. 24, that an "identifiable group," under the Indian        termination of the amended motion pr oper.
Claims Commission Act, must h ave a common claim,               Dated this 4th day of June, 1951.
and that a common sni t for individual claims does not




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                     EXHIBIT H
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                            Appeals Docket N >, 14


                                           I
             ~n tht fflnittd jtatts ~o rt of Oflaims

             C. w.   MCGHEE, RUBY          z. W E ATHERFORD, JOHN          V.
               PHILLIPS AND      J o:a:N   WILLIAMB AS M EMBERS O:F
               AND ON THE RELATION OF THE C ~lEEK NATION               EAS•r
               OF THE MISSISSIPPI, APPELLA.NTS

                                           v.
               THE. C REEK NATION AN D THE UN IT ED S TA'rES,
                                    APP~LLEES



              BRIE F FOR THE APPELLEE, T H E UNITE D STAT ES



                                       WM. AM O RY u r DERH I LL,
                                             Asmt~ 1i .,Htorney     Gcn~ral.
              RALPH A. BARNEY,
                 Altomey.




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                                                                                         I N D EX
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                                               II. The Issue . . . .                             . . . . . . . . . . . . . . . . . .. . . . . .      4
                                              III. Argument . . .                                                      . . . . . . .. . . . . .      4
                                                       A. E xclusive right to sue . . . . . . . . . . . . . . . . . . . . . . . .                    4
                                                       B. Appellants are not a tribe, band, or other identifi-
                                                             able group of I ndians. . . . . . . . . . . . . . . . . . . . . .                     10
                                                       C. J urisdiction of Commission . . . . . . . . . . . . . . . . . . .                        16
                                              Conclusion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         19

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                                                     Treaty June 13, 1854, 11 Stat. 599 . . . . . . . . . . . . . . . . . . . .        2
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                                                     13 Fletcher Cyclopeclia, Corporations, sec. 5972.                                             14
                                                                                                 (1)




                                                                                                                                              MU003702
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                                              Jn tht fflnittd jtatt5S ~ourt off ~!aims

                                                            Appeals Docket No. 14
                                              C. W. McGHEE, R UBY Z. WEATHERFORD, JOHN V .
                                                PHILLIPS AND JOHN W ILLIAl\fS AS MEMBERS OF
                                                AND ON THE RELATION OF THE CREEK NATION EAST
                                                OF THE MISSISSIPPI, APPELLANTS

                                                                       v.
                               0               T HE CREEK NATION AND T HE UNITED STATES,
                                                               APPELLEES



                                               BRIE F FOR THE APPE LLEE, THE UNI~ED STATE S



                                                                  I. The Facts
                                                Insofar as they relate to this appeal the facts
                                             ar e not in dispute. Prior to 1812 the Cr eek In-
                                             dians were living east of the Mississippi River.
                                                In that year they j oined with Britain for its sec-
                                             ond war with the United States. On August 9,
                                             1814, a treaty of peace, amity, and cession was
                               0             signed at Fort Jackson. It is the land ceded by this
                                             treaty that is the basis of the case now pending be-
                                             fore the Indian Claims Commission in which the
                                             I ntervenors seek to join. As the r esnlt of a series
                                             of treaties thereafter concluded with the Creek,
                                             Nation it ceded all of its lands east of the Missis-
                                             sippi River and acquired a new domain in what is
                                             now Oklahoma.
                                                                      (1)




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                                 2                                                                         3
    The majority of the Creeks went West, but many                            was filed and presented to the Commission and on
 stayed behind and continued to live in or around                            Jmie 4, 1951, an order5 was made by the Commis-
 their old homes. 1 Those who moved West took                                sion denying The P erdido Band the right to inter-
 with them their form of government and were                                 vene. From that order the appellants, now calling
 recognized by the United States as "The Creek                               themselves the ' ' Creek Nation East of t he Missis-
 Nation.'' 2 Those who remained in foe East aban-                            sippi" appeal.
 doned thefr tribal relationships; and they never                               According to their brief O their '' basic premise is
 continued a tribal government recognized by the                             that the injury inflicted by the United States in
 United States and they entered into no treaties or                          1814 was to the Creek nation as then constit uted
 other political arrangements with the United                                and that the right to recover therefor belongs to
 States3 or with other Indian tribes or groups, and                          that nation, to be enjoyed by all its members." No
 only recently organized themselves, appar ently for                         contention is made that the claim filed by "The
the purpose of this suit. 4                                          0       Creek Nation" is improper, nor bas it been sug-
   On January 29, 1948, "The Creek Nation" filed                             gested that the case was improperly fried; in fact,
its claim with the Commission. The evidence is                               it was specifically stated before the Commission
in, the case has been briefed, argued and submitted.                         that there was no desire to reopen the case. In its
It is now awaiting decison. On January 5, 1951,                              opinion 7 the Commission said :
t he appellants, then calling themselves "The Per-                                   The Perdido Band is not asking for an
dido Friendly Creek Indian Band of Alabama and                                   award independently of that sought in the
Northwest Florida Indians'' :filed a motion to inter-                            above case; on the contrary, they are support-
vene which was obj ected to by "The Creek Nation,"                               ing the pending claim. What they are de-
the original petitioner, and by the Government as                                manding is that they and all other descendants
the defendant. An amended motiou to intervene                                    of members of the original Creek Nation be
                                                                                 recognized as having the right to participate
   1
     Provision was made for a reservation for each out of the                    in any award that might be made in the above
lands ceded. Opinion of Commission, appellants' brief, p. 166.                   case even though they are not enr olled as
   2
     See treaties of Augus t 24, 1835, 7 Stat. 474; November 23,                 members of the petitioner , Creek Nation, as
 1838, 7 Stat. 574 ; January 4, 1845, 9 Stat. 821; J une 13, 1854,   0   (       now constitnted.
11 Stat. 599; and .Tune 14, 1866, 14 Stat. 785.
   3
     In their brief they sa.y : "Furthermore, the fact that the                 Thus it appears that appellants actually are
F ederal Government had no dealings wit,h those east of the                  seeking only to have it determined that they are
Mississippi, as a group, is equally of no significance, since the
latter, unlike the Creeks in Oklahoma, had no organization                   entitled to participate in any judgment ultimately
occupied no bounded grant of territory and were not·unrier th~               awarded in this case. This is not the function of the
guardianship of the Federal Government." [Italics supplied.]                 I ndian Claims Commission.
Br. p. 152. See also Br. p. 155.
   4
     Op. Commission, appellants' Br. p. 168. In their brief                   r, Appellants' Br. p. 163.
appellants say they "have recently joined together for their                  6  l d. p. 139.
common benefit * • *." Id. p. 137.                                            ,, Appellants' Br. p. 165.




                                                                                                                              MU003704
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                              4                                                                                5
                        Il. The Issue                                              tative of all its members; but wherever any
  On the foregoing facts this appeal presents to                                   tribal organization exists, recognized by the
                                                                                   Secretary of t he I nterior as having authority
this Cou rt a single but important question of law                                 to represent such tribe, band, or group, such
concerning the adminis1n·ation of the Jndian                                       organization shall be accor ded the exclusive
Claims Commission Act. The issue may be formu-                                     privilege of r epresenting such Indians, unless
lated this way :                                                                   fraud, collusion, or ]aches on the part of such
                                                                                   organization be shown to the satisfaction of
        Where a claim is filed in the name of an                                   the Commission.
     historic Indian tribe by the group commonly
     r ecognized by the United States, may indi-                               To make this statute effective the Commission,
     viduals who claim a right to share with and                             under its "power to establish its own rules of pro-
     participate in any recovery intervene in the                    r
                                                                             cedur e," 0 has provided in Rule 1 as follows :
     action f
                                                                 0       (            (b) Claims by I ndian t ribes, bands, or
  The Government contends that under the law and                                   groups which have tribal organizations r ec-
the Rules of the Commission the intervention                                       ognized by the Secretary of the I nterior as
sought is unauthorized and that the practice ought                                 having authority to represent such tribe, band,
not to be countenanced nor permitted in the inter-                                 or group shall be filed and presented by the
ests of orderly procedur e.8                                                       duly appointed or elected officers of such or-
                                                                                   ganization, except as provided in paragraph
                       JD. Argum ent                                                (c) of this section.
                                                                                      ( c) Where by virtue of fraud, collusion, or
  The appellants present their argument under                                      !aches on the part of a recognized tribal or-
three main contentions. We will follow this ar-                                    ganization a claim bas not been presented ( or
rangement.                                                                         has not been included as par t of a presented
                                                                                   claim), any member of such tribe, band, or
              A. E xclitsive right to su6.                                         group may file claim on behalf of all the other
  Section 10 of the Indian Olaims Commission Act                                   members of such tribe, band, or group upon
                                                                                   complying with the provisions of section 8 (b).
provides as follows:                                             0       (            ( d) Claims on behalf of any unorganized
       Any claim within the provisions of this Act                                 tribe, band, or other identifiable group may
     may be presented to the Commission by any                                     be filed by any member of su ch tribe, band or
     member of an Indian tribe, band, or other                                     identifiable group as the representative of all
     identifiable group of Indians as the r epresen-                               its members.
  8
    In t his connection we think the words of Mr. Justice                             Rule 8 reads as follows:
Frankfurter in the recent case of Cook v. Cook,     U. S.
(decided D ec. 3, 1951) are applicable: "I am not one of those                        Sec. 8. Capacity. (a) Petitions filed by any
who think that procedure is just folderol or noxious moss.                         tribal organization recognized by the Secr e-
Procedure-the fair, orderly and deliberative method by which
claims are to be litigated-goes to the very substance of law."                9   Act Aug. 13, 1946, sec. 9.




                                                                                                                             MU003705
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                          6                                                                    7
     ta1·y of the Interior as having authority to                 Commission Act and it was further alleged that the
     represent a tribe, band, or group need not                   attorney who filed the suit was authorized to do so
     aver the capacity of such organization to sue                by a contract approved by the Secretary of the
     except to the extent required to show the juris-             Interior. The defendant, r ecognizing the historic
     diction of the Commission. When the United
     States desires to raise an issue as to the ca-              fact that a group of Indians known as "The Creek
    pacity of such a recognized tribal organization              Nation'' has existed since the fi.Tst settlement in
     to sue, it shall do so by specific negative aver-           southeastern United States, and still exists today,
    ments, which shall include supporting particu-               took no exception to the filing of the claim.
    lars.                                                           '£be case bad been fully tried, briefed, argued,
        (b) If a petition is filed by one or more
    members of a tribe, band, or other identifiable              and submitted for decision to the Commission when,
    group having a tribal organization which is                  on January 5, 1951, the appellants, calling them-
    recognized by the Secretary of the Interior                  selves "The Perdido Friendly Creek Indian Band
     because the tribal organization has failed or               of Alabama and Northwest Florida," sought to
    r efused to take any action authorized by the                intervene in the case. Admittedly 10 they were not
    act, the petition shall be verified and shall aver           an organized group of Indians recognized by the
    that the petitioner is a member of the tribe,
     band, or group. The petitioner shall also set               Secretary of the Interior; they charged no fraud,
    forth with particularity the efforts of the peti-            collusion, or }aches on the part of the petitioners
    tioner to secure from the duly constituted and               in the filing of the case; they made no complaint
    r ecognized officers of said tribal organization             concerning the manner in which the case was pre-
    such action as be desires and the reasons for                sented to the Commission, and they specifically
    his failure to obtain such action (such as                   denied any desire to reopen the case ;11 apparently
    fraud, collusion, or }aches) or the reasons for
    not making such effort.                                      all they wanted was an adjudication by the Com-
       ( c) Petitions filed by one or more members               mission that the persons who composed the so-
    on behalf of an unorganized tribe, band, or                  called "Perdido Band" had the right to partici-
    other identifiable group shall be verified and               pate in the distribution of any award.
    shall aver ( 1) that the petitioner or petitioners              As between the petitioner-" The Creek Nation"
    are members of the tribe, band, or group (2)         0   (   -and the appellants, there can be no question that
    a description of the unorganized tribe band
    or group of sufficient comprehension t~ iclen~               the former met the requirements of section 10 of the
    tify the tribe, band, or group on whose behalf                 10
    the petition is filed.                                            Appellants' Br. p. 152. In the Amended Motion for Leave
                                                                 to Intervene it is said (p. 2): "Said Perdido Band has not
                                                                 yet been recognized by the Secretary of the Interior."
   On January 29, 1948, "The Creek Nation" filed                   11
                                                                      Amended Motion to Intervene (p. 14): " 13. Applicants
this case before the Indian Claims Commission.                   do not seek to alter or expand in any way in this proceeding
It was alleged that "The Creek Nation" was a                     the claim of the Creeks against the United States * * *. They
                                                                 do not seek to re-open the record for the taking of additional
tribe within the meaning of the Indian Claims                    evidence on these issues * * * ."




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                               8                                                                              9

act. The United States has consistently r ecognized                                 "petitioner's right to maintain this action for
the duly elected or appointed officials of" The Creek                               the claim of 'the Creek nation'."
Nation'' as having authority to represent the Creek                                The purpose of section 10 clearly was to avoid
Indians both prior 12 and subsequent 1 3 to their re-                           such excursions into secondary questions if that
moval west of the Mississippi River. We believe                                 could be done without harm to the tribe. The con-
that in enacting section 10 the Congress intended                               tingencies provided by Congress were where fraud,
to extend the recognition previously accorded to                                collusion, or !aches was shown on the part of the
the existing tribal organization into the field of                              r ecognized organization. None of these conditions
Indian claims.                                                                  have been suggested by the appellants, nor have
  The reasons are both obvious and practical. In                                they complied with the rules of the Commission.
authorizing the recognized tribal organizations to                              Since the case was filed on January 29, 1948, laches
bring the action the Congress had some assurance                                certainly cannot be charged, nor is it suggested that
that tribal claims would be presented and it would                 0        {
                                                                                fraud or collusion exists. It seems clear , therefore,
avoid a multiplicity of suits by a variety of groups                            that both under the statute and the rules of the
each contending that it was the true l'epresentative                            Commission the intervenors are not entitled, as
of the tribe. That is now what bas happened in                                  against the recognized organization of the Creek
this case.                                                                      Nation, to maintain this action.
  Appellants now seek to divert the inquiry of the                                 The question of whether appellants and other
Commission from a determination of whether the                                  Creeks did or did not lose their rights in the claim
Creek Indians have a recognized claim against the                               by not emigrating to Oklahoma 10 was not before
United States to a determination of whether "The                                the Commission and is not before the Court now.
Creek Nation" or the "Creek Nation East of the                                  The Commission has no power to determine the
Mississippi" has the right to present this claim.                               manner in which any award will be disbursed or
They say: 14                                                                    the persons entitled to receive it. Section 22(a) of
       Their amended motion and petition raised this                            the act provides merely that when the report of
       question and presented an issue which the                                the Commission bas been filed with Congress "there
       Commission should have determined, probably,                O·       (   is hereby authorized to be appropriated such sums
       in the light of the foregoing decision, by grant-                        as are necessary to pay the final determination of
       ing appellants' motion and taking evidence on
       the issue p1·esented by its petition and the an-                         the Commission.''
       swer s to be filed to it by the other parties as to                         The contention by appellants that the rights of
                                                                                those Creeks who did not remove to Oklahoma have
  12
      See treaties of August 7, 1790, 7 Stat. 35; June 29, 1796,
7 Stat. 56; June 16, 1802, 7 Stat. 68; November 14, 1805,
                                                                        j       been fully preserved by the Act of February 8,
7 Stat. 96, etc.                                                                1887, 24 Stat. 390, as amended, does not aid appel-
  1
    a See fn. 2, supra.
  14 Br. p. 159.                                                                 '" Appellants' Br. p. 146.




                                                                                                                                MU003707
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                            10                                                                          11
 lants now. On the contrary, assuming the position                        Indians, descendants of Creeks who were member s
 to be legally corr ect-concerning whieh we express                       of the Creek Nation of Indians on August 9, 1814,
 no opinion-it proves that it is wholly unnecessar y                      when the lands were ceded to the United States.
 for them to intervene to protect their rights.                           Thus we have the situation of an aggregation of
    Since the Commission has no authority to de-                          people who sci11 they are Creek Indians seeking to
 termine the names of persons who would be entitled                       enter a lawsuit without an adjudication that any
to participate 10 in any distribution, the mere fact                      of them is, in fact, a Creek Indian. Thus this case
 that the appellants y<;1ere made parties to the pro-                     differs from t he R ed Lake case, No. 18-.A, decided
 ceeding would not determine their right to partici-                      by the Commission on September 17, 1951, and
 pate. This Court has just r ecently pointed out that                     cited in appellants' brief. 17 There the Commission
as long as Indian funds are tribal in character                           found as a fact that the individual petitioners were
 Congress has full power to legislate concerning                          enrolled members of the P embina Band. The Com-
citizenship and to deal with such pr operty without                       mission, therefore, held that they had authority to
infringing on individual rights. Choctaw Natfon                           maintain the action on behalf of an historic band
v. United States, decided Oct. 2, 1951.                                   which no longer maintained a separate tribal exist-
   .And so it is in this case. We do not know, nor do                     ence but whose members were identified. The lan-
we pretend to say, what disposition Congress will                         guage of the decision is :18
make of any judgment which might be rendered in
favor of the Creeks. But we do know that under                                     As heretofore stated, the Pembina Band of
                                                                                Indians was recognized as a separate and dis-
lVallace v. Adams, 204 U. S. 415; Gritts v. F ,islier,                          tinct band of Chippewa Indians and was dealt
224 U.S. 640, and Lowe v. Fisher, 223 U.S. 95, the                              with as such by the Government at the time
Congress is free to make such disposition of any                                the 1863 treaty was negotiated. The record
such judgment as may seem best to it, without in                                shows that some years thereafter the United
any way making the Government liable to appel-                                  States officials moved the members of the band
lants.                                                                          and settled them on a portion of the White
                                                                                Earth Reservation. They were listed sepa-
      B. Appellants are not a tribe, band, 01·                                  rately ou the census r olls at that reservation
                                                              0       (         as Pembina Indians until 1923-the 1922 roll
         other identifiable gi·ouv of I ndians.
                                                                                showing 519 of them. But apparently due to a
  .At the present stage of the proceedings appel-                               change in the method of making the census
lants have no standing before the Commission or                                 rolls, no separate r oll appears to have been


                                                                  I
this Court. .Admittedly they a1·e not enrolled mem-                             maintained of these Indians as Pembina In-
                                                                                dians after 1922. However, regardless of how
bers of the Creek Nation. They are merely an ag-                                these Pembina Indians were listed on the cen-
gI'egation of individuals who claim to be Creek                                 sus rolls after 1922, we believe the evidence
                                                                           17
  JO This is now apparently admitted by appellants. See Br.                     P. 155.
p. 159.                                                                    18
                                                                                1 Ind. Cls. Comrn'n pp. 575, 589.




                                                                                                                          MU003708
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                            12                                                                       13
      shows quite conclusively there is a group of                   the district court and denying the relief sought,
      Pembina Indians now living who are descend-                    held that enrollment was a prerequisite to par tici-
      ants of members of the Pembina Band that                       pation in the distribution, and that the plaintiff
      was a party to the October 2, 1863, treaty out
      of which the present claim arose, and they can                 must fast apply to the Secretary of the Interior
      be identified and have a group claim which                     for enrollment :
      they are entitled to have determined by this                       Then under the J ump case [73 .A.pp. D. C. 14],
      Commission. The existence of such a group                          117 F. 2d 769] if the appellant considers the
      having been established, and our conclusion is                     action of the Secretary arbitrary or capri-
      that it has been, we do not conside1· it necessar y                cious, be may apply to the federal courts for
      for jurisdictional purposes to determine who                       relief. The relief which the appellant re-
      are all the individual members of said group.                      quests here flows as a natural consequence of
      (Indians of California v. United States,                           having her name on the roll, but we cannot
      D ocket No. 31.) The plaintiffs have alleged                       grant the requested relief in a mandamus suit
      in the petition and satisfactorily established                     which itself by-passes the steps which must be
      by the evidence that the named individual                          taken.
      plaintiffs, Rosetti Villebrun and Katherine
      Carl Barrett, are m embers of this group of                      The principle is the same here. In the absence
      Pembina Indians who are descenda11ts of the                   of a previous determination that appellants are
      original members of the Pembina Band and                      Creek Indians they quite obviously have no right
      they are therefore entitled, 1mder Section 10
      of t he Act, to maintain this action in a repre-              to prosecute this action. The Commission does not
      sentative capacity on behalf of themselves and                have jurisdiction to determine the question of
      aJl other members of the claimant group.                      membership in an Indian tribe. This is a questioIJ.
                                                                    which Congress has always reserved to itself.
   This is not the case now under consideration.                      The Congr ess ha s never recognized the Creek
Intervenors have never heen identified as mem-                      Indians, who failed to go West, as an entity. Thus
bers of the Creek Nation, and the Commission is                     the case differ s from that of the Loyal Creeks,2~
without jurisdiction to determine that they are                     who wer e recognized by the Creek Nation and the
members of the Creek Nation entitled to partici-
pate in any judgment. As to this point, a some-
                                                            0   (   United States in the Treaty of June 14, 1866, 14
                                                                    Stat. 785, and the agr eement between the Creek
what analogous situation arose in K ohp(IIIJ v. Ghap-               Nation and the United States of March 8, 1900,
nian, Secretary of the lnterior. 10 Ther e the plain-               ratified by Act of Congress of March 1, 1901, 31
tiff sued for her pro rata distribution of the Osage                Stat. 861, and whose identity was determined by
tribal funds on the ground that she was an Osage                    the roll prepared in accordance with the provisions
Indian although her name did not appear on the                      of the treaty of 1866. In the present case there
approved roll. The court of appeals, in affirming                   has been no recognition by Congress and there has
      190 F. 2d 666.                                                  2
 10                                                                       0   1 Ind. Cls. Comm'n p. 122.




                                                                                                                   MU003709
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                              14                                                                15
been no identification of the persons who compose                     M:r. .Justice Mor r is, in delivering t he opinion or
the group.                                                          the Court, said: 23
   This disposes of the argument that appellants
have a common claim. W e quite agree that a claim                             It is very clear to us that the petitioner
                                                                           White has no standing in this case.... * * I n
for tribal lands under the Indian Claims Commis-                           bis petition filed in this cause, Mr. White al-
sion Act is a common claim, and we have so recog-                          leged that he was a stockholder of the present
nized that fact in this case in the suit filed by "The                     company; but in the stipulation entered into
Creek Nation." The difficulty with appellants'                             with reference to the petition and which served
position is that the persons seeking to intervene                          for an answer to it, this allegation was ex-
have not shown themselves capable of maintaining                           plicitly denied, as well as the other allegations
                                                                           of the petition, and no proof whatever was
the action for that common claim.                                          taken to overcome this denial. On the con-
   The situation is completely analogous to a stock-                       trary, the p r oof adduced on behalf of com-
holders' suit on behalf of a corporation. Admit-                           plainants showed conclusively that be was not
tedly under proper circumstances a stockholder                             a stockholder in fact, whether be was entitled
may sue on behalf of a corporation, but he 1nust be                        so to be or not. And the dismissal of his bill,
Cb stockholder.
                21
                    The case of Scanlon v. Snou·, 2                        as already stated, would seem to indicate that
                                                                           he was not entitled to any interest whatever
App. D.C. 137, is quite analogous to the present                           in the new organization. His petition, there-
sit uation. The com·t in its statement of facts                            fore, in this cause was very properly dismjssed.
said: 22 "In the course of the testimony, or at the
end of it, a petition was filed on behalf of Charles                   With the exception of a previous determination
E. White, asking to be made a party complainant,                    that White had no interest in the corporation the
which was agreed to and allowed. He claimed to                      facts in that case and the present one are t he same.
be a stockholder and adopted the averments of the                   Admittedly the names of ap pellants are not on the
bill. "                                                             rolls of the Cr eek Nation. They are not, theref ore,
                                                                    r ecognized members of t he nation and, hence, a1·e
  21
     See general1y 13 F letcher Cyclopedia, Corporations, sec.      not entitled to prosecute this action.
5972. In the case of Jltlayflower Hotel Stockholders Protective
Committee v. Mayflower Hotel Corp., 73 F. Supp. 721 (1947),            It may be t hat some tribunal of competent juris-
Judge Holtzoff apparently considered the matter so well             diction may determi ne that they ar e legally mem-
settled he did not consider it necessary to cite any authority
for his statement: "In view of the fact that a stockholders'        bers of the Creek Nation and, therefor e, entitled
suit may be brought solely by persons who were stockholders         to participate in an award if there is one. But
of the corporation at tbe time that the cause of action accrued     the Indian Claims Commission has no jurisdiction
and who are still stockholders at the time of the institution
of the suit the plaintiff, Mayflower Hotel Stockholders Pro-        to determine that question. That is a matter for
tective Committee, has no right to bring this action, since         Congress or such tribunal as Congress may
the Committee is not and never has been a stockholder, insofar
as appears from the allegations of the complaint ."                  23
  22 P. 146.                                                              P. 147.




                                                                                                                       MU003710
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                          ]6                                                                17
c1·eate.2 • Since the appellants admittedly are not               Claims Commission Act. Certainly, unless the
recognized by the administrative or legislative                   Commission and this Com·t are to restrict the term
arm of the Government, they cannot, collectively,                "other identifiable group" to those groups which
be said to be a "tribe, band, or other identifiable              have r eceived recognition by some branch of the
group" within tbe meaning of the Indian Claims                   Government or by the Indians themselves,27 t he
Commission Act.                                                  term " identifiable group" is meaningless and
                                                                 amounts to nothing more than an aggregation of
          C. J urisdiction of Commission                         persons voluntarily associating themselves together
   Under this heading appellants say that the Com-               and giving themselves a name. This was not the
mission must determine "not only whether a claim                 intention of the authors of the Indian Claims Com-
exists against the United States and in favor of                 mission Act.
some one, but whether the group suing is, in fact,       {          During the 74th Congress three bills were in-
the injured group or bas otherwise acquired title                troduced to create an Indian Claims Commission,28
to the claim.'' 25                                               all of which authorized the Commission to investi-
   The defendant might be willing to concede that                gate claims "of any Indian tribe, band, or other
this position was correct if there were two recog-               communal group of American Indians." Hear-
nized groups competing with each other for the                   ings were held on both H. R. 7837 and S. 2731.
right to maintain this action. But that is not this              In the hearings on S. 2731 considerable discussion
case.                                                            ensued concerning the meaning of the words "or
   The appellants have not been r ecognized by any-              other communal group." The following colloquy
one. As a matter of fact they do not pretend to                  between Senator Steiwer and the Commissioner of
say just who they are. They say 20 that their "rolls             Indian Affairs makes it clear that the claimants
are open to all those who can prove lineal descent               must not only have a historic identity, but that
from the members of the original Creek nation.''                 their claim must be of the ''common'' or ' 'group''
They thus seek to usm·p the f tmctions of Congress.              type: 20
Congress may, or may not, adopt this criterion for       (             Senator Steiwer. ·:f * ·* While I have inter-
"membership" in a reconstituted Creek Nation;                        rupted, may I ask what is the significance of
but the appellants certainly have no authority to                    the word ''communal'' in line 12.
define membership in the Creek Nation and to                           ¥r· Collier . It simply means a community.
determine that all who come within this definition                   It 1s an attempt to go beyond the limitations of
                                                                     the meaning of ''band'' which has been im-
constitute "The Creek Nation" or even an "iden-                      posed by this single definition, and to take a
tifiable group" within the meaning of the Indian
                                                                 21
                                                                    M onloya v. United States, 180 U.S. 261 265 ·1 Tully v
 24 Wallace v. Adams, 204 U.S. 415.                             United States, 32 C. Cls. 1.                '             •
                                                                 28
 25 Appellants' Br. p. 157.                                         S. 2731; H. R. 6655, and H. R. 7837.
                                                                 29
 20 Br. p. 139.                                                     Hearings on S. 2731, 73d Cong., 1st sess., p. 40.




                                                                                                                     MU003711
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                        18                                                                    19
    simple group of I ndians who have a common                                        CONCLUSION
    interest, who have siiffered a connnon injury,
    but who may not heretofore have been recog-                 For all of these reasons we say that the order
    nized by any branch of the Government.                    of the Commission dated June 4, 1951, denying
                                                              appellants leave to intervene in this case was cor-
          *       *        *      *       *                   rect and should be affirmed.
       Mr. Collier. Yes; because I doubt if there
    is a case anywhere where an Indian has a claim
    that he cannot find another Indian that has
    that kind of claim. We do not want these                                      WM. AMORY UNDERHILL,
    innumerable, heterogenous Indian claims put                                      Assistant Attorney General.
    on the doorstep of the court if we can help
    it. Sonie qualifying word-maybe "com-
    niunal" is not the right wor~hich indi-            (
    cates a historic identity, or an identity of                RALPH   A.   BARNEY,
    habitat, makes the tlving a communal group,                               Attorney
    a group with historic identity, and not just a
    detached group of people who got together                   JANUARY   1952
    amd made out they were a group so as to get
    into this court.
       Senator Steiwer. The essential thing is that
    they have a common claim, is it not1
       Mr. Collier. Yes; a common claim of a
    group character. [Italics supplied.]
  Thus it appears that Commissioner Collier rec-
ognized that the group must have a "historic
identity" and that he did not have in mind "just
a detached group of people who got together
and made out they were a group so as to get into       (
this court.''




                                                                                 *   U. S. GOYUHNl!NT Plil:IMTIJriG OFFICf ; 1UI   H t40S   111




                                                                                                                                        MU003712
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                      EXHIBIT I
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                           AGREEMENT BETWEEN
        THE NATIONAL PARK SERVICE, U.S. DEPARTMENT OF THE INTERIOR
            AND THE POARCH BAND OF CREEK INDIANS OF ALABAMA
        FOR THE ASSUMPTION BY THE TRIBE OF CERTAIN RESPONSIBILITIES
     PURSUANT TO THE NATIONAL HISTORIC PRESERVATION ACT (16 U.S.C. 4 70)


        WHEREAS, sovereign Indian tribes are uniquely suited to make decisions about
historic resources on tribal lands; and

       WHEREAS, enhancing the role of Indian tribes in the national historic preservation
partnership will result in a stronger and better national effort to identify and protect historic
and cultural resources for future generations of all Americans; and

       WHEREAS, Section 101 (d)(2) of the National Historic Preservation Act provides
that, "A tribe may assume all or any part of the functions of a State Historic Preservation
Officer in accordance with subsections (b)(2) and (b)(3), with respect to tribal lands;" and

        WHEREAS, for the purposes of this agreement tribal lands means all lands within
the exterior boundaries of the Poarch Band of Creek Indians Reservation and any
dependent Indian communities formally recognized as such by the Department of the
Interior; and

       WHEREAS, in accordance with Section 1 01 (d)(2)(A), the chief governing authority
of the Poarch Band of Creek Indians has requested approvai to assume certain of those
functions; and

       WHEREAS, in accordance with Section 101 (d)(2)(B), the Poarch Band of Creek
Indians has designated a tribal preservation official to administer the tribal historic
preservation program; and

       WHEREAS, in accordance with Section 101 (d)(2)(C). the Tribe has provided to the
Secretary of the Interior acting through the National Park Service a plan that describes how
the functions the tribes propose to assume will be carried out; and

       WHEREAS, the National Park Service, on behalf of the Secretary, has reviewed the
Tribe's plan for conformance with the following applicable Federal regulations: 36 CFR 60
and 36 CFR 6_1; and has determined that the plan meets the requirements of those
regulations; and

       WHEREAS, the National Park Service, on behalf of the Secretary, has reviewed the
Tribe's plan and has determined in accordance with Section 101 (d)(2)(0)(i) that the Poarch
Band of Creek Indians is fully capable of carrying out the functions specified in the Tribe's
plan; now, therefore,

     THE NATIONAL PARK SERVICE AND THE POARCH BAND OF CREEK INDIANS OF
ALABAMA DO HEREBY AGREE AS FOLLOWS:

        1. The Poarch Band of Creek Indians assumes responsibility on tribal lands for the
following functions set out in Section 101 (b)(3) of the Act:
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'
            A. Direct and conduct a comprehensive, Reservation-wide survey and maintain an
            inventory of historic and culturally significant properties;

            B. Identify and nominate eligible properties to the National Register of Historic
            Places and otherwise administer applications for listing historic properties on the
            National Register;

            C. Develop and implement a comprehensive, Reservation-wide historic preservation
            plan;

            0. Advise and assist, as appropriate, Federal and State agencies and local
            governments in carrying out their historic preservation responsibilities;

            E. Cooperate with the Secretary, the Advisory Council on Histoiic Preservation, and
            other Federal agencies, State agencies, local governments, and organizations and
            individuals to ensure that historic properties are taken into consideration at all levels
            of planning and development;

            F. Provide public information, education and training, and technical assistance in
            historic preservation;

            G. Consult with the appropriate Federal agencies in accordance with Section 106
            of the Act on:

                   i. Federal undertakings that may affect historic and culturally significant
                   properties on tribal lands;

                   ii. the content and sufficiency of any plans to protect, manage, or to reduce
                   or mitigate harm to such properties;

            H. Cooperate with local governments in the development of local historic
            preservation programs and assist local governments in becoming certified pursuant
            to subsection (c) of the Act;

            I. Advise and assist in the evaluation of proposals for rehabilitation projects that
            may qualify for Federal assistance, such as the historic preservation income tax
            credits.


            2. In accordance with the Tribe's plan noted above, the Alabama State Historic
     Preservation Officer (SHPO) retains no responsibility on tribal land for the functions in
     Section 101 (b)(3).

             3. The Poarch Band of Creek Indians will consider nominations to the National
     Register of Historic Places in accordance with 36 CFR 60. The Tribe's process is set out
     in the Tribe's plan and includes review of nominations by the Historic Preservation Office,
     by the Poarch Band of Creek Indians Cultural Resources Board, and by the Tribal Council.
     The Cultural Resources Board will have access to appropriately qualified individuals in
     carrying out its review of nominations.
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        4. Because all Poarch Band of Creek Indians tribal land is under the direct control
of the Tribal Council, the Tribal Historic Preservation Officer, in accordance with 36 CFR
60, will provide written notice to the Tribal Council of his intent to bring a National
Register nomination before the Cultural Resources Board and the Tribal Council f or
consideration~, The notice shall be sent at least 30 but not more than 7 5 days before the
meeting of the Cultural Resources Board, unless the Tribal Council agre es to an expedited
review period. In submitting a nomination to the Keeper of the National Register. the Tr iba l
Historic Preservation Officer shall also forward to the Keeper all comments received by the
Tribe concerning that nomination. Because Poarch Band of Creek Indians tribal land
includes no privately owned property, the provisions of the Act and of 36 CFR 60
concerning private owner objections to nominations are not applicable.

        5. The Tribe will carry out its responsibilities for review of Federal undertakings
pursuant to Section 106 of the Act in accordance with the regulations (36 CFR Part 800)
of the Advisory Council on Historic Preservation . In the event that the Tribe seeks to
substitute its own review procedures for those established by the Council, such
substitution is subject to a separate negotiation with the Council, pursuant to Section
101 (d)(5) of the Act.

        6. As directed by Article 25 of the Poarch Band of Creek Indians Historic
Preservation Code, the Tribal Historic Preservation Office, relying on its special knowledge,
training, and experience, will evaluate the significance of, and impact on, all properties
surveyed within the reservation. This will be done with regard to historic, architectural,
archeo!ogica!, anthropological, religious, and cultural considerations. The Historic
Preservation Office will, as it deems proper and as it deems needed , consult with
recognized authorities meeting the Secretary of the Interior's Professional Qualifications
Standards.

       7. The Tribal Historic Preservation Officer will, in accordance with Section
101 (d)(4)(C), provide for the appropriate participation in the historic preservation program
by the Tribe's traditional cultural authorities, and for consultation with representatives of
any other tribes whose traditional lands may have been within the Poarch Band of Creek
Indians Reservation, and for consultation with the interested public.

          Concerning the involvement of traditional cultural authorities. the Tribe has
officially recognized William Day, William Bailey, and Gayle Thrower as official
spokespersons in matters concerning tribal culture and historic preservation. These three
individuals also serve as staff of the Tribe's Historic Preservation Department. In addition,
the Preservation Officer will periodically solicit and take into account comments on the
program from all those individuals and groups who may be affected by the program's
activities, as the tribe deems appropriate and consistent with the practice of other tribal
programs. In any case where an action arising pursuant to the Act may affect the
traditional lands of another Tribe, the Preservation Officer will, on an as-needed basis, seek
and take into account the views of that Tribe .

        8. As of the date of this Agreement, there is no land within the Reservation
boundaries that is not held in trust for the Tribe or owned by a non-tribal member. In the
event that this condition changes, the Tribal Historic Preservation Officer will, in
accordance with Section 101 (d)(2)(0)(iii), ensure that, for properties neither owned by
tribal members nor held in trust for the Tribe by the Secretary of the Interior, the property
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owners are aware that they may request the participation of the State Historic
Preservation Officer, along with the Tribal Historic Preservation Officer, in decisions
pursuant to the Act that may specifically affect their property.

        9. As directed by the Poarch Band of Creek Indians Historic Preservation Code, the
Tribal Historic Preservation Office shall prepare and submit to the .Tribal Council an annual
report on historic preservation and educational ac1ivities carri.ed out under its authority, a
copy of which will be provided to the National Park Service at the end of each calendar
year. Included in that report, and specifically under the authority of this agreement, the
Tribal Historic Preservation Office will report the number of properties surveyed and added
to the tribe's inventory and the number of Federal undertakings reviewed pursuant to
Section 106 of the National Historic Preservation Act. The National Park Service is
authori:zed to use this information and similar data from other Tribes assuming formal
responsibilities under section 101 (d) of the Act to report annually to the Administration,
the Congress, and other interested parties on the national accomplishments of this
program.

        10. As of the date of this agreement, the Poarch Band of Creek Indians' Tribal
Historic Preservation Officer is William Day. The Tribe will notify the National Park Service
whenever there is a vacancy in the position and whenever a successor is designated by
the Tribe.

        11. The National Park Service will, in accordance with Section 101 (d)(2)(A) of the
Act foster communication, cooperation, and coordination among the Tribe, the State
Historic Preservation Officer, and Federal agencies in the administration of the national
historic preservation program. All such efforts by NPS will be on an as-needed basis and
will be based on consultation with the Tribe to ensure that tribal values are fully respected.

       12. The National Park Service, upon execution of this agreement, will notify all
Federal Preservation Officers, the Advisory Council on Historic Preservation, and the
Alabama State Historic Preservation Officer, that the Poarch Band of Creek Indians has
assumed formal responsibility on tribal lands for all of the functions set out in Item 1
above. In particular, such notice shall make clear that the Tribe has assumed the role of
the State Historic Preservation Officer on tribal lands for the purposes of consultation on
Federal undertakings pursuant to Section 106 of the National Historic Preservation Act.

        13. The National Park Service will consult with the Poarch Band of Creek Indians
to determine what technical assistance the Tribe needs and wants in order to enhance its
participation in the national historic preservation program. Based on that consultation, NPS
will make available to the Tribe such technical assistance as is appropriate and feasible.
Nothing in this Agreement requires the National Park Service to provide financial
assistance to the Tribe to carry out the functions it has assumed under this agreement.
Only a separate grant agreement, cooperative agreement, or contract obligates the
National Park Service to provide funding for tribal activities.

       14. The National Park Service, pursuant to Sections 101 (d)(2) and 101 (b)(2) of the
Act, and in direct consultation with the Tribe, will carry out a periodic review of the Tribe's
program pursuant to the Act, to ensure that the Tribe is carrying out the program
consistent with this agreement. The review will be a collegial process that involves both
NPS and the Tribe in a mutual evaluation and assessment of the program. Generally, such
a review will occur every four years.




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       15. The Poarch Band of Creek Indians may terminate this agreement for any reason
by providing the National Park Service sixty days' written notice of such termination. The
National Park Service may terminate this agreement upon determining that the Tribe has
not carried out its assumed responsibilities in accordance with this agreement, the Act, or
any other applicable Federal statute or regulation. Unless circumstances warrant
immediate act.ion, NPS will not terminate the agreement without first providing the Tribe a
reasonable and appropriate opportunity to correct any deficiencies .

       1 6. This agreement may be amended by the mutual consent of the Poarch Band of
Creek Indians and the National Park Service.

       17. This agreement shall become effective upon signature by the Director of the
National Park Service or his designee, which signature shall not occur until after the
Chairman of the Poarch Band of Creek Indians has signed the agreement.


FOR THE NATIONAL PARK SERVICE :                  FOR THE POARCH BAND OF CREEK
                                                 INDIANS :         ~




Director                Date
                                                  tZL;C?:7d1
                                                 Chairman                  Date S   -2 Lt -19
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                     EXHIBIT J
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                     EXHIBIT K
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                                                £ ';z.._ ~/.c.
                          POARCH BAND OF CREEK IND~
                                      5811 Jack Springs Road• Atmore. Alabama 36502
                             Tribal Offices: (251) 368-9136 •Administrative Fax; (251) 368-4502
                                               www. poarchcreeldndians -nsn .gov



                                                 April4,2012
      George Thompson, Jr.
      Mekko, Hickory Ground
      P.O. Box 903
      Henryetta, OK 74437

             Re:     Rdnterment at Hicko;ry Ground

      Dear Mekko Thompson:

              I write to you to provide additional information reg;ard:ing the re-internment at Hickory
      Grounds. As you know, our tribal Nations have been in good faith discussions regarding the
      issue of re-.interment since May 2006. Over the past five years 1 we have had numerous fonnal
      and informal discussions including large delegation meetings of the principals on at least five
      occasions. Throughout this time, our Tribe has attempted to address your delegation's concerns
      and demonstrated our commitment to finding a mutually agreeable resolution by) among other
      things, amending our original ·plans for a memorial garden and interpretative center in the
      northern half of the property in favor of leaving the area in a. natural state, developing security
      plans for. the area of re-interment, and proposing to fully participate in joint preservatio11 effoN
      throughout this region. Most significantly) both our Nations Hgreed to preserve the Hickory
      O:mund ceremonial site in perpetuity and jointly participated in these critical efforts.

            The last official meeting of our delegations was in ~eptember 2010, and we have
     attempted to coordinate a follow-up meeting on several occasions since that time. You
     responded to our last proposal in March 2011 and expressed a desire to schedule another official
     meeting. Although our Nations' delegations intended to meet la~t August, we were unable to do
     so due to scheduling conflicts. Nonetheless, your delegation Vi!;ited the site in any event, and
     introduced a new member of your delegation, John Beaver, M\1.scogee Nation Museum Director
     and Curator, to Robert Thrower, our Tribal Historic Preservati<'n Officer. Since that time, on
     your behalf, Mr. Beaver has been communicating with Mr. Thrower regarding the final inventory
     and potential follow-up visits.

              Given the :five .and a half years of good faith negoti.a.tion.s and the recent productive
     exchanges between Mr. Beaver and M:r. Thrower regarding the final inventory, we were
     disappointed. to learn tha.t the Muscogee Nation/Hickory Ground delegation sought to introduce: a
     resolution. at the National Congress of American Indians Annual Convention this past November,
     which did not name us but clearly related to our .land. We wert: further dismayed to hear that,
     despite continued communications from your d.elegate Mr. Beaver with our THPO, you appeared
     in front of the Senate Committee on Indian Affairs during a rounc,.table discussion i:n early March
     with the same allegations. You indicated during those comme.n.ts that you wished to take



                                         Seeking Prosperity a1Ul SeU Determination
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     possession of the remains. In all of our discussions, you have never requested that we allow the
     Muscogee Nation or Hickory Ground to take possession of the remains.

            We regret that there appears to have been a breakdown 'In our communications and we
     hope that these recent actions are not indicative of a more advers:uial approach on the part of the
     Muscogee Nation. We continue to stand prepared f:o continue a good faith and cooperative
     approach.

             In furtherance of a good faith approach, we wanted to inform you that we have obtained
     the final inventory and are C\l,U'ently preparing for re-interment. With the hope that we can
     continue to work together regarding re~interme:o.t and restore the relationship between Ol.lr sister
     Nations, we welcome your participation in this process. Please let us know as soon as possib]e if
     you would like to join us.

     Best regards,

      iJ~ /,,E;L_
     Buford L. Rolin
     Tribal Chairman
     Poarch Band of Creek Indians

     cc:      George Tiger, Muscogee Nation Principal Chief
              John Beaver, Muscogee Nation. Museum Director/Curator
           .v1.Vlarcella Giles, Attorney for Muscogee Nation & Hickory Ground
              Poarch Band of Creek Indians Tribal Council
             Robert Thrower Poarch Band of Creek Indians THPO
              Venus McGbee P.ri.nce, Poarch Band of Creek Indians Attorney General
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                                                        Apri.1 13, 201~~

                VU U.S.P.S and Facsimile (251) 3684502

                Buford L. Rolin, Tribal Chairman
                Poarch Band of Creek Indians
                5811 Jack Springs Road.
                Atmore, Alabama 36502

                Re:     Hickory Ground

                Dear Chairman Rolin.:

                I am in receipt of your letter dated April 4, 2012 addressed to Mekko Thompson and
                copied to me and other individuals. I would Uke to thank you for keeping me apprised
                during this sensitive cultural matter.

                In the past, Second Chief, Roger Barnett and J .have met with the Poarch Band of Creek
                Indians as Representatives of the National Council for the Muscogee (Creek) Nation.
                Now~ we would like to meet with you as Cbfof ~Lnd Second Chief to discuss past and
                future negotiations and communications between your del1~gation and the Muscogee
                Nation/Hickory Ground delegation.

                As you. arc aware, we both are newly elected, and we ar.e requesting the opportunity to
                have a discussi.on from Tribal Leader to Tribal Leader. We fll'e awate that time is of the
                essence for this sensitive issue, and we are willing to meet with you in Alabama.

                Please call me to discuss arranging a meeting, and if you would Hke for us to come to
                Alabama or if we could make arrangements fol' you to visit the Muscogee (Creek)
                Nation. I look forward to seeing you and hope that we can mret as soon as possible.

                Sincerely1



                Zr~
                P.rinci.pal Chief


                                        PO Box580 Okmulgee, OK 74447-05801-800-482-1979
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                        PoAAcH BAND OF CREEK 1Jb~
                                   5811 Jack Springs Road• Atm.ore, Alabama 36502
                          Tribal Offices: (251) 368-9136 •Administrative Fax: (251) 368-4502
                                            www.poarchcreekindians-nsn.gov_




                                              April   17~   2012

    · George Tiger                                           George Thompson. Jr.
      Principal Chief                                        Mc~kko, Hickf)ry Ground
      Muscogee Nation                                        P.O. Box903
      P.O. Box 580                                           Henryetta, OK 74437
      Okmulgee, OK 74447--0580



             Re:     Reinterment at Hickory Ground

     Dear Principal Chief Tiger and Mekko Thompson:

             Thank you for your response by letter dated April 13, 2012 regarding Hickory Ground..
     which was brought to my attention this morning. When we did not immediately hear from you
     in response to O\l{ April 41t1 letter, we assumed that you did not wish to participate in the
     reintennent process. Last week we proceeded with the reinterment of our ancestors~ remains and
     associated funerary objects in the manner to which we agreed during our prior discussions. We
     will preserve the area of reintemtent in perpetuity. We welcome you to visit the ceremonial site
     and area of reintennent and hope that we will work together on further preservation efforts.
     Please cont.act me if you would like to visit and/or disc.."USS future communications.


     Best regards,

     /}~ :;C~
     Buford L. Rolin
     Tribal Chairman
     Poarch Band of Creek Indians

     cc:     Roger Barnett, Muscogee Nation Second Chief
             John Beaver, Muscogee Nation Museum Director/Curator
             Marcella GiJes~ Attorney for Muscogee Nation & Hickory Ground
             Poarch Band of Creek Indians Tribal Council
             Roben 'Ibrov.--er, Poarch Band of Creek Indians THPO
             Venus McGhee Prince, Poarch Band of Creek Indians Attorney General




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                                                                     The Poarch Band of Creek
Indians has resumed its development plans for a hotel and casino on land it owns in Wetumpka,
Alabama. This decision comes after suspending construction of the project in a show of good
faith so that leadership from Poarch Creek and the Muscogee Nation in Oklahoma could once
again meet to discuss the concerns of both tribes. Poarch Creek made the decision to resume
construction after meeting in Oklahoma this week with elected leaders of the Muscogee Creek
Nation and traditional leaders of Hickory Ground Town (a traditional Indian town within the
Muscogee Nation). After careful consideration of the Muscogee Nation
believes the decision to move forward with its plans represents a fair and balanced approach to
the development and preservation of the property.


a development that is culturally sensitive while ensuring the economic well-being of our Tribal
members, our community, and our State. It is a balanced, reasonable approach for using land that
we own, which has been met with increased opposition from some in Oklahoma. Now, we are
being faced with demands to remove ancestral remains that have already been reinterred. We
can ensure that no more remains will be excavated. It has been almost eight years since any
remains have been unearthed. We cannot change the fact that remains were found and removed.
Those remains are now reinterred and we cannot support disturbi
The Poarch Band of Creek Indians is the only federally recognized Indian tribe in Alabama. Its
tribal members have lived continuously in the region for centuries, specifically near present day
Atmore, Alabama, since the early 1800 s. As a recognized sovereign nation, Poarch Creek is
under no legal obligation to negotiate with any other government about the use of its own land.
However, out of respect for their shared cultural and familial ties, Poarch Creek leadership began
conversations with the Muscogee Nation about the development of the Wetumpka property in
2006. Discussions continued for several years, but opposition by some members of Hickory
Ground and Muscogee Nation to Poarch                                  the Wetumpka site reached a
crescendo when Poarch Creek announced its plans to build a hotel and casino on the property
this summer.
                                   the outcome of this recent trip to Oklahoma made by
representatives of our Tribal Council, said Buford L. Rolin, Poarch Cree
             , we have reached out to the Muscogee Nation with the hope that they would be open
to understanding the facts about the 21st century conditions of what was once Hickory Ground
Town and would recognize that our development in Wetumpka does not alter that. Unfortunately
we have reached an
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Wetumpka is one of several Alabama communities that originated on the site of Hickory Ground
Town, a historic Creek Indian community that, at one time, covered more than 1000 acres. While
both the Poarch Creek and the Muscogee Nation have cultural ties to the land, it was the Poarch
Creek that purchased approximately 34 acres of the original site in 1980.

At the time of the sale, the land had been used for agricultural purposes and was zoned for
commercial use. The Poarch Creek had limited financial resources and had to apply for a grant to
buy the property. Poarch Creek invited the Muscogee Nation to partner with it on the grant
application, but the Muscogee Nation did not commit before the grant deadline.

 We have taken great effort to make sure the original Hickory Ground ceremonial site is
preserved, and the remains that were removed in earlier years have been reinterred at Hickory
Ground Town in a manner previously agreed to by traditional leaders in Oklahoma. The
remaining acreage located on the northern part of Hickory Ground will be preserved in a pristine,
natural state for posterity, said Robert
Office and is a Poarch Tribal Council Member.

The Tribe is in compliance with applicable federal laws, including historic preservation laws,
pertaining to the property. The expansion, in no way, compromises the site as construction plans
do not call for any further excavation. Despite Muscogee claims to the contrary, there will be no
expansion in other areas at the Hickory Ground site.
The development originally included a cultural center as well as a hotel and casino, but Poarch
Creek modified the plans after Muscogee Nation and Hickory Ground representatives expressed
concerns about the site on which the center would be located. Poarch Creek leadership is now
reviewing those plans and has made a commitment to build a center on a nearby site as it moves
forward with the hotel and casino development.
Poarch           Tribal Council will also set aside appropriate acreage of pristine land that has
never been subject to agricultural use or development that can be used by Poarch Creek, as well
as by other Tribes who may be facing sensitive issues of reinterment. The Tribal Council is
establishing a historical and cultural preservation fund that will be made available to other tribes
to support their preservation efforts.


challenges of the future. This development is a reasonable approach to land use; and no one cares
more about the sanctity of our land and the well-being of our people and our neighbors than we




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                       P0ARcH BAND OF CREEK INDIANS
                                  5811 Jack Springs Road •Aunore,Alabama 36502
                                           Tribal Offices: (251) 368-9136
                                          www.poarchcteekindians-nsn.gov


 Dear Tribal Leader,

 As the leader of one sovereign nation to another, I am writing to make sure that you have accurate
 information concerning the development of the Poarch Band of Creek Indians’ Wetumpka, Alabama
 trust land. Poarch Creek has taken the utmost care to preserve our tribal history and culture while
 undertaking projects that assure the financial stability of our Tribal government and jobs for our
 people.

 Development of Poarch Creek trust lands near Wetumpka is the subject of an increasIngly belligerent
 misinformation campaign run by a handful of individuals from Hickory Ground town and the
 Muskogee Nation in Oklahoma. These men have made violent threats toward our tribal members,
 employees, customers and property. They have also attempted to Intimidate, threaten, and
 humiliate our Tribal leadershIp at national gatherings in Indian Country.

 One of the leaders of this group was arrested on Poarch Creek trust property last year after he
 threatened to burn down our casino. He was subsequently convicted of disorderly conduct and
 trespassing in an Alabama state court. Even after this incident, this individual and other members of
 his group have harassed and accosted Poarch Creek tribal leaden at multiple national Indian
 gatherings. Clearly, these are threats to our reputation and our safety that we take very seriously.

 Attached is a Fact Sheet to help clarify this issue. If you would like to discuss any of these Issues or
 have additional questions, I and other Members of the Poarch Creek Council would be happy to talk
 more with you.

 We think it Is Important to remember that, first and foremost, no one is more aware of the
 importance of preserving Poarch’s history and culture than we are. We remain committed to the
 integrity of our Tribe and are actively involved in ensuring the future of Indian Country. We are
 proud that Chief Calvin McGhee helped craft the Declaration of Indigenous Purpose and that he had
 the honor of presenting this document to President Kennedy. Former Chairmen Buford L. Rolin and
 Eddie Tullis continue to provide leadership roles throughout Indian Country In their worl on
 Healthcare, Aging, and Sovereignty. Our Tribal Council Vice Chairman Robbie McGhee serves on the
 boards of the Native American Right Fund, the Center for Native American Youth, the National
 Indian Child Welfare Association and our entire Tribal Council continuously advocates to strengthen
 national tribal Indian policy on issues related to education, VAWA, health cam, child welfare,
 taxation, trust lands protection and other areas of importance to all Tribes.

 In closing, we remain hopeful that these individuals who are now involved in unproductive and
 divisive activities will come to understand that our strength, as sovereign Indian nations, depends on
 our ability to work together on solving the problems and meeting the challenges that affect us all
 while maintaining the crucial tenets of sovereignty and self-determination. It’s a dangerous road for
 all of Indian country to take when one sovereign seeks to enforce its will on the trust lands of
 another.


                            94      Q,
 Stephanie A. Bryan, Tribal Chair
 Poarch Band of Creek Indians



                                     Seeking Prosperity and Se(fDetennination
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      Fact Sheet: Poarch Band of Creek Indians’ Wind Creek Development In
                             Wetumpka, Alabama

  •   Many years ago the Poarch and Muscogee Creek Tribes were separated by
      historical events. Today, we are separate sovereign nations with completely
      separate lands.

  •   We, the Poarch Band of Creek Indians, have continually lived on our Alabama
      Tribal lands and survived years of poverty.

  •   The Poarch Band’s Wetumpka trust property (approximately 34 acres) is a small
      portion of what had been a large Indian town called Hickory Grounds. The land
      had been farmed and developed by others for decades.

  •   When the property came up for sale, we had no gaming operation and few
      resources. However, we believed that we should make every effort to purchase
      the property because it was an opportunity to regain some of our historical lands,
      protect our ancestors and history, and provide for our people and our
      communities.
          o We asked the Muscogee Nation to jointly apply for a grant to purchase the
             property. They did not respond.
          o The land was in a part of the country that had been farmed and developed
             for well over a century.
          o In fact, the current town of Wetumpka, Alabama is built on what was once
             the Indian town of Hickory Ground.
          o We still believed that the site was historically significant as a center of
             Creek Indian trade, government, and economic development

  •   Unbeknownst to us, a small part of the property we acquired was the site of
      Creek Ceremonial Grounds. The Ceremonial Grounds have never been
      disturbed, remain protected, and we have memorialized and preserved the site to
      this day.
          o Northern 17 acres of our trust property is preserved in perpetuity as a
             memorial to the historical significance of the site.
          o Remains found within the Ceremonial Grounds were never removed.
          o In accordance with Poarch Creek Tribal Law and consistent with the
             Muskogee Tribe’s Constitution, remains found outside the Ceremonial
             Grounds were interred adjacent to the Ceremonial Grounds with prayer
             and ceremony.
          o The previously disturbed and fragmented remains found scattered across
             the other 17 acres have been reintered with dignity and honor.
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  •   In the 1990’s, Alabama archeologists asked to study the site and we agreed. At
      the time:
          o There was no visible evidence of a burial ground.
          o The site was eroding because of farming and lack of maintenance.
          o We had limited finances and limited technology.
          o When evidence was discovered, the archeologists’ work stopped and their
             discoveries were stored for several years. The remains and funerary
             objects were reinterred according to Indian tradition in April of 2013.

  •   The Tribe is in compliance with all applicable federal historic and cultural
      preservation laws pertaining to the property.

  •   Poarch Creek is, and was, under no legal obligation to negotiate with any other
      sovereign Indian nation about the use of our own land. However, out of respect
      for our shared cultural and familial ties, Poarch began discussions with the
      Muscogee about planned development of the Wetumpka property in 2006.


  •   Since 2006, Poarch regularly reached out to the Muscogee Nation in the hopes
      that its leadership would be open to understanding the 21st century conditions of
      the Poarch land in Wetumpka. Negotiations continued for several years, but the
      Muscogee Nation’s opposition to Poarch Creek’s plans to develop the land
      reached a crescendo when plans were announced to expand the existing gaming
      facility into a resort on the property in the summer of 2012.

  •   We have continued to be open to dialogue with the Muscogee elected leadership
      and have expressed our desire for a good relationship between the two nations.

  •   We are encouraged that these efforts are making a difference as evidenced by
      the visit of over 150 Muscogee tribal members to our Wind Creek Wetumpka
      resort. They visited the memorial site, were sewed refreshments, and shared
      pleasant conversation with Poarch tribal members.

  •   The Wind Creek Wetumpka development protects our past and helps provide for
      the future of our tribal members.
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                                                    Preserving America's Herita9e




              November 14, 2006

              Mr. Brad Mehaffy, REM
              NEPA Compliance Officer
              National Indian Gaming Commission
              1441 I Street, N .W .• Suite 9100
              Washington, D.C. 20005

              REF: Proposed App'l'Oval ofa Management Contract far. the Expansion ofExistmg GamitJg
                      Facility by the Poarch Band ofCreek lndiam       ·
                      Wetumpka. Alabama

              Dear Mr. Mehaffy:

              On October 3, 2006. the Ad-visory Council on Historic Preservation (ACHP) received the additional
              documentation regarding the referenced undertaking. ACHP requested this information in response to
              your notification that the National Indian Gaming Commission (NIGC) was 1'8Vieiwing the Poarch Band
              of Creek Indians' (Poarch Band) proposed management<:antract for expansion of the existing gaming
              facility on Hiclcory Ground. a property listed in the National Register of Historic Places. Based upon this
              documentation, it i& apparent that activities undertaken·by ~ Poarch BatKI priar to the completion of the
              review required by Section 106 of the National Historic Preservation Act (Nl1PA) have adversely affected
              the National Register·listed property.

              According to :the documentation provickd, the Poarch Band sponsored extensive investigations and        .
              ultimately data recovery at Hickory Ground between 1988 and the present. Tho investigations included
              archaeological site identification surveys within the approximately 16-acre trust property and the
              approximarely 5--acre tract of fee land. As a result, a multi~mponent archaeological site, HickOfY
              Ground, was delinea~ boundaries expanded, and finally, cxtensiv~ archaeological data l"CQOVCry was
              undertaken. including the removal of ntnnerous human budals. As we understand. the recovered remains,
              artifacts, and sin: documentation ar= in various stages of lnalysis and cur&tion by the Poarch Band's
              consultants.

              Regrettably, the archaeological surveys and data recovery were not canied o~ in compliance with
              Section 106 of the NHPA. Since the Section I 06 process must be initiated by a Federal agency prior to
              the initiation of project activi~ it is unclear why the applicant, a tri~ with a. tribal historic prestsMdion
              office apprcwed by the National Parle Se.vice pursuant to Section 10l(dX2) of the NHPA, p~eded with
              project planning and archeological investigations. As you know, the F~ agency must consult with the
              State Histork Preservation Officer (SHPO), any Indian tn'"bes that attach ~us and cultural
              significance to historic properties llffected by the undertakius, and other appropriate stakeholders, and
              provide adequate notification to the public in carrying out the steps of the Section 10(; review.

                                            ADVISORY COUNCIL ON HISTORIC PRESERV~TION
                                      l 100 Pennsylvania Avenua NW, Suite 809 •Washington, DC 20004
                                  Phone: 202-606-8503 • Fax: 202-606-8647 • achp@achp.gov • www.achp.gov
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           Based on the informatioa provi~ there was no Federal agency review of the archaeological
           investigations carried out by the Poateh Band; no consultation with the Alabama SHPO prior to
           excavation of the portion of the site on fee lands, and no consultation with any other Indian tribe,
           particularly the Muscogee Creek Nation. The initial notitk&tion of the ACHP (see 36 CFR 800.6(aX1))
           did not 00C,1W until after the destruction of the site. Furtbutnore. there is no indicatioa that the public bas
           been notified about the nature ofthe underlJlking and its effects on hmonc properties (36 CFR. 800.3(e)).

           In your corrospondcmce, you indicate that the Poarch BaOO completed more than 909/., of the arcbeological
           data recovery within the area of potential etfe<:t fur the proposed project. In the initial letter to the ACHP
           regarding this project, you invited us to participate in consultation to resolVe the potential adverse eff~
           of tM undertaking.You have also indicated that NIGC intends to invite the Alabama SHPO to participate
           in any further Section l 06 consultation, and have outlined steps NIGC will take to complete the Section
           106 review process for any areas where there bas been no land disturbance. NIGC has indicated that it
           propo9eS to develop a memonmdwn of agreement with all parties following consultation.

           Pleaso note. however, that Section l lO(k) of the NHPA t'dqUires that

                   Each Federal agency shall ensure that the agency will not grant a loan, loan guarantee, permit,
                   lioeosc. or other assistance to an applicant who, with intent to avoid the roquiremcnts of section
                   106 of 1his Act. has intentiooally significantly adversely affected • historic property to which the
                   grant would relate. or having 1epl power to prevent it, allowed such signifteant adverse effect to
                   occur, unless the agency, after consultation with the C<>uncil,'determines that circumstances
                   justify granting such assistance desp~ the adverJC effect cteated or permitted by the applicant
                   (16 u.s.c. 470h~2(k)).

           While NIGC bas provided documentation regarding archoological work conduc~ ~ ~.we have no
           indication·ofNJGC's \ifiws J"e8!!!dfni .tb~~licabiUty vf Secllon 1 lO(k) and no tccord of tho views of
           the Alabama SHPO and others, specificatly the Muscogee Creek Nation regarding this matter. In
           accordance with Section 800.9(cX2) of the ACHP's regulations, NIGC must det.ennine whether or not the
           Poarch Band's actions were u.ndertabn with the intmt to avoid tbe requbements of Section 106. lfNIGC
           <krtermines that thia did occur, NIGC should notify the ACHP and provide documentation specifying the
           circumstances under which the adverse effects to the historic property occurred and the degree of damage
           to the integrity of the historic property. Thi8 documentation must include any views obtained from the
           applicant, SHPO, aod other parties known to be interesb:ld in the undertaking. Within thirty days of
           receiving such infunnation. unless otherwise agreed to by NlGC, the ACfflJ will provide the agency with
           its opinion as to whether eircumstlUlces justity NIGC gntlitinc its appro'Val to the applicant and any
           possible mitigation of the adverse effect. If, after QOllSidering tho views of 1he ACHP, NIGC dotmmines
           to grant its approval, NIGC should consuh fmther with the ACHP and oiber COO$U1ting parties to
           conclude a memorandum of agreement for tmttment offtte remaining effects to historic properties
           resulting from the project.

            Should you havo any questions or wish to discuss this matter further, please contact Valerie Hauser,
             ative American Program Coordinator at 202-606-8530, or by email at vhau&er@achp.gov.




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                ce of Federal Agency Programs
